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                   EXHIBIT 21
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   1                       UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
   2    _______________________________

   3    UNITED STATES OF AMERICA,                CRIMINAL ACTION NUMBER:

   4                                             2:19-cr-00120-KM
        vs.
   5                                             Garrity Motion
        GORDON J. COBURN and                     Volume 1 Pages 1-266
   6    STEVEN SCHWARTZ,

   7              Defendants.
        ________________________________
   8    MARTIN LUTHER KING BUILDING & U.S. COURTHOUSE
        50 Walnut Street, Newark, New Jersey 07101
   9    April 18, 2023
        Commencing at 9:05 a.m.
  10
        B E F O R E:        THE HONORABLE KEVIN MCNULTY
  11                        UNITED STATES DISTRICT JUDGE

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                                Newark, New Jersey
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                          United States District Court
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   1               (PROCEEDINGS held in open court, before The Honorable

   2    Kevin McNulty, United States District Judge, at 9:05 a.m.)

   3               THE COURTROOM DEPUTY:      All rise.

   4               THE COURT:     Good morning, everyone.

   5               I mean everyone.       Be seated.

   6               We are here for a hearing which everyone has, if not

   7    entirely accurately, been calling a Garrity hearing for short

   8    and -- in the case of United States v. Gordon Coburn and Steven

   9    Schwartz, Civil Docket Number 19-120.

  10               All right.     I take it everyone has entered their

  11    appearances.

  12               MR. LUSTBERG:     Yes, Your Honor.

  13               THE COURT:     Yes.    Let's not occupy the morning with

  14    that.

  15               Tell me, we are going -- to avoid chaos, as in the

  16    past, we're going to have one lawyer per client speaking.            If

  17    you want to divide up issues, fine; but one at a time.

  18               So at least initially, who will be speaking for each

  19    party here?

  20               MR. MOODY:     Good morning, Your Honor.      Gerald Moody

  21    for the United States.

  22               MR. LUSTBERG:     Good morning, Judge.      Lawrence S.

  23    Lustberg from Gibbons.      Mr. Finzi and I have divided up the

  24    witnesses, but -- at least initially --

  25               THE COURT:     Yeah.   One at a time.     That's all I'm
                          United States District Court
                                Newark, New Jersey
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   1    asking.

   2                MR. LUSTBERG:    I promise we'll try not to talk over

   3    each other.

   4                MR. LEWIN:    Good morning, Judge.     Nick Lewin for

   5    Mr. Coburn.    I will be speaking on his behalf.

   6                THE COURT:    If I'm not mistaken, we also have counsel

   7    present from Cognizant; is that right?

   8                MS. KRAMER:    We do, Your Honor.     To the extent

   9    there's anything that involves counsel for Cognizant, I will be

  10    the one lodging the objections.

  11                THE COURT:    We've stuck you in the jury box.        Sorry.

  12    But that's all we have room for.

  13                I got a letter requesting a five-minute opening

  14    statement.    That wouldn't be such a bad idea, just give me a

  15    road map.

  16                Who would like -- I'll hear from the defense side

  17    first.    Who would like to go?

  18                MR. LUSTBERG:    Thank you, Your Honor.      May it please

  19    the Court.

  20                There has, as you well know, been a great deal of ink

  21    spilled and argument offered to the Court with regard to the

  22    subject matter of this hearing for months and even years now

  23    and right up until last night or even this morning.

  24                The reason for that is, no matter how much the

  25    government may try to normalize it, this is a truly
                          United States District Court
                                Newark, New Jersey
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   1    extraordinary set of facts and demonstrates, in our view,

   2    incredibly graphically the danger of private parties who are

   3    not bound the way the government is to do the right thing and

   4    by the Constitution.

   5               Instead, what this is about is when private parties

   6    assume those responsibilities and have a responsibility not to

   7    the public, not to doing what is right, but rather to a company

   8    and its shareholders.

   9               Before we start, I would like to step back for just a

  10    minute and talk about what we believe this hearing is about and

  11    what the proofs will show.       Cutting through all the briefing

  12    and all the argument, the question to be decided, although

  13    incredibly important, is really pretty simple.          It is whether,

  14    on the facts Your Honor is about to hear, Cognizant's actions

  15    are, quote, fairly attributable, unquote, to the government for

  16    Constitutional purposes.

  17               That question clearly has a bearing on what has been

  18    called the Garrity or Connolly issue, whether there are grounds

  19    to suppress statements, statements made by the defendants that

  20    were undisputably coerced.       But the government has not taken

  21    issue -- and as the Court has itself said -- the idea is that

  22    the defendants had no choice but to submit to the interviews at

  23    issue; otherwise, they would be fired.

  24               Those statements were made by the defendants to

  25    private counsel engaged by Cognizant who were undertaking an
                          United States District Court
                                Newark, New Jersey
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   1    internal investigation that had as its purpose to earn

   2    Cognizant a tremendous benefit from the government, here, a

   3    declination whereby it would never be prosecuted.

   4               The hearing that will follow will show that to be the

   5    case and will show that Cognizant was throughout and in a sense

   6    acting exactly as an agent of the government and in

   7    coordination with the government.

   8               The issue in this case is one of coerced statements

   9    by a criminal defendant, but the same question is also relevant

  10    to other Constitutional rights like Brady that are implicated

  11    when the actions of private actors are deemed fairly

  12    attributable, as I said, to the government.

  13               The case law -- and I'm talking here about cases like

  14    Connolly itself and Stein and Risha -- provide a framework for

  15    deciding and defining this question.        And it is those -- the

  16    factors from Connolly, Stein, and Risha, which I'm not going to

  17    reiterate -- upon which this hearing focuses.

  18               You have extensive briefing on those issues, and I'm

  19    not going to go over them here; but I am going to focus on the

  20    ones just briefly here that I think are most important.

  21               First, we intend to focus, Your Honor, as I

  22    mentioned, on the extent to which on the facts on this case

  23    Cognizant's conduct was guided by government policies that

  24    influenced their conduct.

  25               We are not saying, as the government has suggested at
                          United States District Court
                                Newark, New Jersey
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   1    times, that every time a company cooperates pursuant to a

   2    government policy, the company's conduct is attributable to the

   3    government.    That is not our position.       Nor of course are we

   4    arguing that the cooperation policies themselves are somehow

   5    per se lawful -- unlawful or wrong or create some agency

   6    relationship between the government and the cooperating company

   7    in every case.

   8                But what you will see here today as we proceed goes,

   9    in our view, way, way beyond that.         It goes way beyond anything

  10    we have ever seen.      And we believe it will go beyond anything

  11    this Court has ever seen.       You will see that at each step and

  12    every step of the process for months, weekly, daily, the

  13    government and Cognizant were in constant communication

  14    coordinating the investigation at the pertinent times.

  15                Those communications -- and we will see them and hear

  16    them in this hearing -- frankly sound a lot like the way AUSAs

  17    talk to their agents, not the way a government talks to a

  18    company it is investigating and potentially prosecuting.

  19                The government, even as it allows Cognizant to

  20    perform an essentially governmental function, directs it

  21    throughout, asks questions, requests information, and provides

  22    instruction.     We will show you that.      As Judge McMahon put it

  23    in Connolly, we believe the proofs will here too show that, for

  24    all intents and purposes, the government's investigation was

  25    Cognizant's investigation.
                           United States District Court
                                 Newark, New Jersey
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   1                Let me just give you a couple of examples.

   2                You'll hear that after Cognizant self-reported to the

   3    government on September 1st, 2016, the government completely

   4    and openly handed the investigation over to Cognizant for a

   5    lengthy and critical period.       Really, Cognizant's lawyers at

   6    DLA conducted dozens, if not hundreds, of interviews before the

   7    government, nearly six months later, spoke to the first

   8    Cognizant witness for the first time.

   9                It is not just that they waited to speak to the

  10    witnesses; it's that they spoke -- "they," the government --

  11    spoke only to those witnesses in each and every case after

  12    Cognizant had downloaded -- and that's the word that's used --

  13    its counsels' interviews to the government.

  14                The result is that the government, for every single

  15    witness save one IT person, conducted their interviews after

  16    their stories had already been told, often several or even

  17    numerous times, to Cognizant.

  18                Judge McMahon cited exactly the same pattern in

  19    Connolly, and she makes the point well.         When this happens,

  20    Cognizant's investigation becomes the government's, for it

  21    irretrievably lays the foundation and creates, as she said, a

  22    road map for what the government ultimately does.

  23                This is particularly true with regard to the

  24    statements of defendants, perhaps among others.           Thus, you are

  25    going to hear, very explicitly and really with very little
                           United States District Court
                                 Newark, New Jersey
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   1    mincing of words, that the company specifically held off on

   2    firing Mr. Coburn and Mr. Schwartz in order to get another

   3    crack at interviewing them.

   4                I don't know whether this is a common tactic in

   5    internal investigations, but it certainly is unusual.            And

   6    what's unusual is that -- in this case is that Cognizant did it

   7    with the government's full knowledge and, really, for the very

   8    purpose of collecting information for the government.

   9                You will hear, Judge, in other words, that

  10    Mr. Schwartz's interviews, and certainly his second interview,

  11    were taken by Cognizant for the purpose of gathering evidence

  12    for trial, that the government knew that and that Cognizant

  13    took advantage of it, even bragged about it when it came time

  14    to apply for leniency.

  15                You will hear other evidence, even after the

  16    government has -- had commenced doing some of its own

  17    investigation, much of which had nothing to do with

  18    Cognizant -- it was of a company called L&T, which I think

  19    you're familiar with.      You will hear of many ways in which

  20    Cognizant continued to act as an agent of the government.

  21                This is evidence that the government would prefer you

  22    not hear.    And it has labored long and hard right up until last

  23    night to keep it out of your earshot.         But you will see, if you

  24    allow that testimony -- and, respectfully, I think you

  25    should -- that Cognizant was delegated tasks that are normally
                           United States District Court
                                 Newark, New Jersey
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   1    those performed by the government, performing forensic

   2    analyses, finding experts, asking questions that went to the

   3    elements of criminal offenses, evaluating evidence for

   4    relevance and, perhaps more alarmingly, for determining whether

   5    evidence is exculpatory, advising on who the best witnesses

   6    would be and even prepping witnesses for trial, refreshing

   7    their recollections, specifically rebutting the defenses that

   8    it believed the defense would proffer all in an effort to, in

   9    its words, Cognizant's words, quote, hold the perpetrators

  10    accountable.

  11                At the same time you also see the government

  12    deferring to Cognizant in revealing ways, not questioning

  13    privilege assertions that are of the sort that the government

  14    or any party would always challenge, instead trusting

  15    Cognizant's judgment with regard to those privilege

  16    determinations and trusting Cognizant's judgment with regard to

  17    the credibility of witnesses, even for witnesses that are

  18    implicated by the facts of the case.

  19                Ultimately, Judge, allowing Cognizant to giftwrap its

  20    version of the case curated in its own interests to the

  21    government, really, in toto, though, again -- and we have to

  22    remind ourselves of this all the time -- Cognizant does not

  23    share the government's obligation to do justice, only to do

  24    what is best for it and its shareholders.

  25                We believe that the evidence that you will hear over
                           United States District Court
                                 Newark, New Jersey
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   1    the next day or so will put meat on the bones of the arguments

   2    we have already made in our papers and will satisfy the

   3    requirements of the cases in which the government has been

   4    deemed responsible for the actions of private parties because

   5    that is what is fair.      And it is what is fair here, and

   6    appropriate relief should be granted.

   7                Before I sit down, I just wanted to very quickly

   8    address the issue about the scope of the hearing.           Again,

   9    there's been a lot written, especially over the last 24 hours

  10    following Your Honor's order yesterday.         And we understand that

  11    the government wants to draw a tight circle around the

  12    appropriate time frame.

  13                But for the reasons that this Court has articulated

  14    before, we are requesting some leeway here for two important

  15    reasons, and then I'll sit down.

  16                First, Your Honor has several times now acknowledged

  17    that what happens on day ten can be relevant to what happened

  18    on day one or day five.       What people say and how people act

  19    after the fact is routinely used to prove what their

  20    relationship was at a prior point in time.

  21                It's really a matter of common sense as well as of

  22    law.   As Connolly shows, there's -- and Connolly itself acts

  23    well after the statements at issue were considered in

  24    determining whether those statements could be -- the taking of

  25    those statements could be fairly attributable to the
                           United States District Court
                                 Newark, New Jersey
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   1    government.

   2                Here, the argument is even simpler.        What Cognizant

   3    and the government did after the defendants' statement shows

   4    why the coercion employed by Cognizant in getting those

   5    interviews is fairly attributed to the government.

   6                For example, the government delegated to Cognizant

   7    the satisfaction of its Brady obligations or declined to pass

   8    on the propriety of Cognizant's privilege invocations tells you

   9    a great deal about their relationship and about whether

  10    Cognizant's actions are, as a matter of fairness, properly

  11    attributed to the government.        We will show respectfully that

  12    they are.

  13                And second and more generally, we should -- we would

  14    also ask Your Honor to allow leeway, and I think that Mr. Lewin

  15    will address this a little bit more fully, because this hearing

  16    is not limited to Garrity.       We have consistently argued, and

  17    the Court held in no uncertain terms -- upon which, by the way,

  18    we relied in selecting the four witnesses that we were

  19    allowed -- that there is a Brady component to this case, a

  20    component that goes to the question of when a company's conduct

  21    is fairly attributable to the government not just for Garrity

  22    purposes but also for Brady purposes as well.

  23                And that story, Your Honor, takes place over a much

  24    longer period of time, not just in the period from April to

  25    October of 2016.
                           United States District Court
                                 Newark, New Jersey
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   1                We ask that Your Honor hear the evidence and stop us

   2    when you think this becomes a fishing expedition.           We're

   3    satisfied and fervently believe that you will not find that.

   4                In any event, I'm happy to answer any questions that

   5    the Court may have as to scope, but that's our opening

   6    statement.

   7                Thank you.

   8                THE COURT:    Mr. Lewin.

   9                MR. LEWIN:    Good morning, Judge, and may it please

  10    the Court.

  11                I will be very brief, which is a trend I think you

  12    will find continues throughout the hearing, especially in light

  13    of following Mr. Lustberg and later Mr. Finzi.

  14                Ultimately, Judge, this hearing is about one thing,

  15    which is fairness.      All the litigation, from the Rule 17

  16    motions and briefings to the oral argument to the privilege

  17    dispute, all of that -- all of that -- is about the fairness of

  18    this proceeding to two men:       my client, Gordon Coburn, and

  19    Steven Schwartz.

  20                Sometimes litigation can obscure the forest.          Here --

  21    for all of us, Judge, here, the forest is fairness, how the

  22    government's approach in this investigation yielded an unfair

  23    playing field.

  24                Judge, we think that the hearing across today and

  25    perhaps tomorrow morning will yield proof of that unfairness,
                           United States District Court
                                 Newark, New Jersey
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   1    proof that highlights how the government's approach to this

   2    investigation renders, as Mr. Lustberg just said, Cognizant's

   3    conduct fairly attributable to the government in a

   4    Constitutional sense.

   5                Here, fair attribution in a Constitutional sense

   6    means, as Your Honor knows, two things.

   7                First, that the coercive interviews that Cognizant

   8    conducted were fairly attributable to the government and thus

   9    the use of those statements and the fruits derived from those

  10    statements would violate Mr. Coburn and Mr. Schwartz's Fifth

  11    Amendment rights.

  12                Second, the extent of the investigative cooperation,

  13    coordination, and direction that the government gave to

  14    Cognizant both directly and via its policies render certain

  15    Cognizant files in DOJ's constructive possession and thus

  16    requires DOJ and not Cognizant to satisfy DOJ's obligations

  17    under United States v. Brady.

  18                Judge, I will pause there simply to briefly address

  19    scope since Mr. Lustberg covered it in detail.           I think the

  20    most important thing that Mr. Lustberg said is that the Court

  21    has already ruled on this.

  22                In the January 10th hearing in the transcript at

  23    page 9, the Court explicitly held that this hearing would

  24    address two things.      It would address the Garrity argument and

  25    the Brady argument.
                           United States District Court
                                 Newark, New Jersey
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   1                As Your Honor said, we have all been sometimes using

   2    shorthand of describing this as a Garrity hearing, but that is

   3    not accurate and it's not what this Court has already held this

   4    hearing would be.

   5                The Court said -- and I'm quoting here from page 9 --

   6    "I might be tempted to just rule on the papers, but I'm not

   7    going to do that.     I will give you the chance to make your

   8    threshold showing here.       And what I'm going to do, I'm going to

   9    give the defense four witnesses.        And I'll leave it to you to

  10    choose the ones you think would get me over the hill toward

  11    seeing it your way."

  12                There's a few other lines.       Then you say, "That's for

  13    the motions having to do with the interviews of the defendants

  14    and also the one having to do with whether the corporation is

  15    inside the Brady circle, if I can put it that way."

  16                That betokens no ambiguity, Judge.        This hearing is

  17    about two things.     And as Mr. Lustberg said, and critically,

  18    we've relied on that ruling in selecting our witnesses who will

  19    cover both the Garrity and Brady aspects of this.

  20                Judge, the characteristics of this investigation that

  21    I'd respectfully ask Your Honor to be on the lookout for today

  22    and tomorrow are threefold.

  23                First, there was a robust company investigation

  24    focused from the very outset, from day one, on getting

  25    cooperation credit from DOJ.       And they did that by following
                           United States District Court
                                 Newark, New Jersey
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   1    specific, explicit DOJ direction regarding its policy.            So

   2    that's the first, Judge, a robust company investigation focused

   3    on cooperation credit per DOJ directives.

   4                Second, for at least six months, the period between

   5    September 2016 and February 2017, there was an absence of a

   6    parallel DOJ investigation.       As Cognizant was investigating and

   7    communicating and reporting and taking feedback, DOJ was doing

   8    nothing -- no interviews, nothing.

   9                As Your Honor knows, Justice McMahon said that's

  10    critical in determining whether or not the conduct of Cognizant

  11    on one hand should be attributed to the Department of Justice

  12    on the other.

  13                Finally and third, I'd ask Your Honor to look to the

  14    extraordinary levels of coordination and cooperation, both the

  15    volume and timing of the communications between DOJ and

  16    Cognizant and the breadth of the coordination and cooperation.

  17                THE COURT:    I'm sorry, but forgive me.       You're saying

  18    so if the DOJ was doing something, that's bad; and if they

  19    weren't doing something, that's bad?

  20                MR. LEWIN:    No, Judge.    I'm saying if the Department

  21    of Justice was truly conducting an independent investigation,

  22    was not sitting back and waiting for the fruits of Cognizant's

  23    investigation before conducting their investigation, that we

  24    would have a different story here.         That's not what was

  25    happening, Judge.
                           United States District Court
                                 Newark, New Jersey
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   1                44 interviews were conducted and downloaded to the

   2    Department of Justice before it conducted even one.            Not one of

   3    the Department of Justice's interviews was conducted without

   4    first getting a download from Cognizant about what that person

   5    said.   Your Honor, I believe there will be substantial evidence

   6    adduced there.     And I believe that that will be a substantial

   7    factor, as it was for Judge McMahon in Connolly.

   8                The government's position, as Your Honor knows well,

   9    is that this type of investigation is routine, and an adverse

  10    decision here by Your Honor would hamper investigative efforts.

  11    But the way that this investigation was handled, especially in

  12    this time period between September of 2016 and February 2017,

  13    show that it's not routine.

  14                So, ultimately, Judge, and here's where I'll close.

  15    Why does it matter?

  16                As I said at the beginning, and as Mr. Lustberg said,

  17    it matters because it has already resulted in substantial

  18    unfairness to Gordon Coburn and Steven Schwartz.           It is unfair

  19    to Gordon Coburn and Steven Schwartz for the government to

  20    deputize and rely on the judgment of a cooperating witness

  21    company that is, to use your words, quote, performing an

  22    investigation for the purpose of exculpating itself, end quote.

  23                It is unfair to Gordon and Steven to take advantage

  24    of interviews conducted under conditions that, if done by the

  25    U.S. government, would be suppressed along with its fruits.
                           United States District Court
                                 Newark, New Jersey
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                                                                                 20

   1                It is unfair to Gordon and Steven for the government,

   2    in a case involving the chief legal officer and the president

   3    of a public company, to defer categorically to the cooperating

   4    company on questions of privilege.

   5                It is unfair to Gordon Coburn and Steven Schwartz for

   6    the government to explicitly delegate -- explicitly delegate --

   7    its Brady obligations to the cooperating company without any

   8    guidance, without any supervision.

   9                It is unfair to Mr. Coburn and Mr. Schwartz for the

  10    government to put its investigation on hold for half a year to

  11    allow the company's lawyers to conduct indisputably coerced

  12    interviews of the defendants and of a stable of Cognizant

  13    employees.

  14                It's unfair to Mr. Coburn and Mr. Schwartz for the

  15    government to sit back and receive highly curated --

  16    Mr. Lustberg's term, curated -- downloads of these interviews.

  17                When I say curated, Judge, which parts of the

  18    interviews should be shared with the government?           Which

  19    interviews should be shared with the government?           The

  20    government ultimately received downloads of 45 of the 450

  21    interviews conducted by Cognizant.

  22                Finally, Judge, it's unfair for the government to

  23    have it both ways, to rely on Cognizant as its investigator

  24    when it suited them and now to be permitted to disclaim that

  25    reliance and prosecute the case that Cognizant's investigators
                           United States District Court
                                 Newark, New Jersey
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                                                                                 21

   1    created, curated, and road-mapped for them.

   2                This litigation, as Your Honor knows, is not about

   3    government misconduct.      We do not allege that any of this

   4    aspect of the investigation was intrinsically improper.

   5                This litigation is also not about a typical

   6    Department of Justice investigation or typical corporate

   7    cooperation.     The evident coordination between the Department

   8    of Justice and Cognizant was radically atypical.           Cognizant

   9    acted at the direction and did, in Cognizant's own words,

  10    everything that the Department of Justice could have asked for

  11    here.

  12                This litigation is not about legal technicalities.

  13    It's not about gotcha moments.        This litigation and this

  14    hearing is about ensuring Gordon Coburn and Steven Schwartz get

  15    a fair shake, ensuring that the evidence and the exculpatory

  16    materials that we know exist are fully and fairly aired because

  17    that's what the Constitution requires, Judge, and that's what

  18    fairness requires.

  19                Thank you, Judge.

  20                THE COURT:    All right.    Government, do you wish to

  21    make a statement?

  22                MR. MOODY:    Thank you, Your Honor.      The legal

  23    equivalent of the Hail Mary pass in football, that's how the

  24    Second Circuit in Gilman v. Marsh & McLennan described the

  25    defendants' argument here, that, quote, acts taken by a private
                           United States District Court
                                 Newark, New Jersey
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                                                                                 22

   1    company in response to government action and that have as one

   2    goal obtaining better treatment from the government amount to

   3    state action, end quote.

   4                That citation is 826 F.3d at 76 to 77.

   5                As I'm sure Your Honor is aware, a Hail Mary pass is

   6    an extraordinary thing to see.        The quarterback knows the game

   7    is lost and, with nothing to lose, seconds on the clock, he

   8    throws the ball across the field --

   9                THE COURT:    Let me tell you you're wasting your time

  10    here.   Not a football fan.

  11                MR. MOODY:    I'll leave some of the rest out,

  12    Your Honor.    Apologies.

  13                But that explains it's a very, very rare event that

  14    very, very rarely succeeds.        And I think that explains the

  15    hyperbole in the preliminary statements in Mr. Schwartz's

  16    opening brief.

  17                THE COURT:    Right.    I know enough to understand your

  18    illustration.     Go ahead.

  19                MR. MOODY:    Okay.    So the point is, in his opening

  20    brief, Mr. Lustberg said this was an unprecedented situation

  21    where we've directed Cognizant's internal investigation.            They

  22    claim the government received information to Cognizant -- and

  23    this is important; this is a direct quote -- to a degree never

  24    seen in criminal prosecutions, end quote.

  25                And today Mr. Lustberg said things like this is
                           United States District Court
                                 Newark, New Jersey
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                                                                                  23

   1    something that's beyond -- beyond what anyone's ever seen.

   2    Mr. Lewin just called it radically atypical.

   3                And that's because, to succeed in this motion, the

   4    defendants need to make the case that this is the

   5    one-in-a-million Hail Mary pass that succeeds.           But it's not.

   6                This was an ordinary course, white collar

   7    investigation that involved a large company that had evidence

   8    of a crime, no different from the many white collar

   9    investigations that are happening today in U.S. attorney's

  10    offices throughout the country.

  11                The defense counsel over there, they all know this.

  12    They or their law firm partners regularly represent large

  13    companies cooperating with and sometimes reporting to the

  14    Department of Justice.

  15                So why are they attempting this Hail Mary pass?

  16    Again, apologies.     I'm going to extend the sports analogy.

  17    It's because it's part of the playbook.         This has become the

  18    playbook for white collar criminal defendants.           These are

  19    massive long-shot motions.       They're likely to fail.       But even

  20    when they fail, the defendants get to put the government on

  21    trial.

  22                Now, the Court is likely to hear a lot about policies

  23    today.    The Foreign Corrupt Practices Act, or FCPA Pilot

  24    Program, the Yates Memo.

  25                Mr. Coburn's attorneys will likely lead the charge
                           United States District Court
                                 Newark, New Jersey
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                                                                                 24

   1    here because the company interviewed Mr. Coburn before the

   2    government even knew anything about the allegations prior to

   3    the company's disclosure.

   4                Mr. Schwartz has conceded in his reply brief at

   5    page 17 that DOJ policies alone can't create state action,

   6    actually said that.

   7                Mr. Coburn, he can't admit that.        His only hope is to

   8    use these policies to get his interview suppressed.            So he's

   9    going to try to press that argument even though his codefendant

  10    concedes it's meritless.

  11                Even though we argued this hearing should not occur,

  12    in part because we know that white collar defense bar is going

  13    to file these motions just to get a hearing in every case

  14    pointing to this one, we're not at all concerned with the facts

  15    here.

  16                As we said in our brief and at oral argument, we did

  17    not direct the company explicitly or implicitly whatsoever to

  18    interview the defendants at any time.         We didn't engineer those

  19    interviews, and our conduct is not attributable, nor did we

  20    outsource our investigation of Cognizant.          And this goes to the

  21    scope question I'll address at the end.

  22                I'll just address it.      The company had independent

  23    reasons for conducting an internal investigation, and they were

  24    not under the government's control.

  25                Now, government, law enforcement agents, and
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 26 of 267 PageID: 25128
                                                                                 25

   1    prosecutors of course received information from Cognizant.

   2    That's unsurprising.      After all, this was an investigation of a

   3    crime that occurred within a company by employees performing

   4    their jobs.    But as you'll hear, no matter what information the

   5    company provided, the government at every step did its own

   6    independent evaluation of that evidence, and the government

   7    conducted a thorough independent investigation, which you're

   8    going to hear about today.

   9                Now, we're not calling any witnesses today; we're not

  10    likely to object too much; and we'll try to keep our

  11    cross-examination short.       That's not because we don't take this

  12    hearing extremely seriously.       It's because this is defendants'

  13    motion; it's their burden.

  14                We did not object when the defendants called a

  15    current member of our prosecution team, David Last, and we

  16    voluntarily produced hundreds of pages of detailed internal

  17    notes of the government's calls and meetings with Cognizant.

  18    We've got nothing to hide.

  19                We do believe, however, that the defendants'

  20    multiyear effort here has to come to an end.          And so we

  21    respectfully ask that this Court ensure the hearing concludes

  22    tomorrow so we can bring this case to trial at long last.

  23                Now, if I may address the scope issue briefly.

  24                THE COURT:    Sure.

  25                MR. MOODY:    The reason we sent that letter last
                           United States District Court
                                 Newark, New Jersey
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                                                                                 26

   1    night, Your Honor, is we read your opinion.          We read your

   2    opinion as basically saying that this hearing was limited to

   3    whether, under Garrity, those three interviews should be

   4    suppressed.

   5                I just want to make clear because our letter was

   6    quite short:     We would not object if the defendants asked

   7    questions about things that happened later in time so long as

   8    it's tied to the narrow question of whether we engineered those

   9    interviews.

  10                Our concern is in having received the defendants'

  11    exhibit list in the middle of the night, their updated

  12    version -- we received an original version yesterday morning,

  13    and then we received an updated last night.          There's 137

  14    exhibits on it.     And we think, based on what we know about how

  15    this case has been litigated so far, that this hearing could

  16    conceivably go into every single day and minute of our

  17    investigation over multiple years.

  18                They have deliberately called government prosecutors

  19    spanning the entire time of our investigation.           We have no

  20    problem with, as Mr. Lustberg indicated, some leeway.            We trust

  21    the Court will, of course, police this, but we at least wanted

  22    to make our position clear that we hope this will be narrowly

  23    targeted to those interviews so that we don't go off into areas

  24    that have nothing to do with it whatsoever.

  25                THE COURT:    Okay.   Let me give everybody a little
                           United States District Court
                                 Newark, New Jersey
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                                                                                  27

   1    insight into the scope question.

   2                I'm sorry.    Were you finished?

   3                MR. MOODY:    I'm finished, Your Honor.       Thank you.

   4                THE COURT:    The scope issue.

   5                There's two things going on.       Okay?    One is the

   6    privilege issue and waiver of the privilege issue, which has

   7    everything to do -- well, not everything but a lot to do with

   8    what the company shared with the government.           That gives rise

   9    to a waiver.

  10                And there's the substantive issue which has a lot to

  11    do with what the government was saying to the company.            Those

  12    two are kind of on a parallel track though going in separate

  13    directions.

  14                The case for a waiver is far weaker with respect to

  15    the later material, but the case for relevance may still be

  16    there.    As everyone knows, of course, if people sit down and

  17    reminisce about some action they took last week, that can be

  18    relevant; but if they're just sitting around, the attorney and

  19    the client reminiscing, whether it's relevant or not, that may

  20    not have been waived because it comes after any disclosure to

  21    the government.

  22                So those two things are in a lot of tension.          I'm

  23    going to try to balance them as we go along.           Yes, I'll give

  24    you some leeway, to use Mr. Lustberg's term, and the government

  25    does not object.     I'm not going to let it go on and on and on,
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 29 of 267 PageID: 25131
                                                                                  28

   1    but I will hear nonprivileged information, assuming there is

   2    any, that postdates the actual interviews, for example.            But

   3    the waiver is still limited in scope; so you might find you're

   4    tied up a little bit there.

   5                But that's all I can really say until I hear what it

   6    is you've got to offer.       I'll be frank and tell you I think

   7    your main issue, defense, your main issue and strongest issue

   8    has to do with the interviews and not the more nebulous idea

   9    that Cognizant, in some broader sense, was the government for

  10    all purposes here.      But take that as you will.

  11                But let's get started.      Let's hear from -- who will

  12    be your first witness?

  13                MR. FINZI:    Your Honor, can I just -- two small

  14    housekeeping points.      One, as indicated, one of the government

  15    witnesses is in the courtroom and at counsel table.            We don't

  16    have a problem with that, but I just wanted Your Honor to be

  17    aware of that.

  18                THE COURT:    Sure.   That horse left the barn a long

  19    time ago.

  20                MR. FINZI:    Okay.   Second, Your Honor, just again for

  21    the record, the exhibits were delivered to the government at

  22    the government's request at 10:00 a.m. on Monday morning, and

  23    we added less than ten or around ten last night.           So I just

  24    wanted to sort of be clear on the timing of that.

  25                THE COURT:    Nevertheless, 137 exhibits, or whatever
                           United States District Court
                                 Newark, New Jersey
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                                                                                 29

   1    it is, is a lot of exhibits.       Think about that.

   2                MR. LUSTBERG:     Judge, look, we've tried to be

   3    overbroad in providing them --

   4                THE COURT:    Of course you did.      Of course.     Of

   5    course.    Of course.    You don't even need to finish that

   6    sentence.    You don't need to finish that sentence.         I know what

   7    you do when you designate exhibits.         You want to make sure

   8    you're not boxing yourself out.        I get that.    All I'm saying is

   9    to think about the number of exhibits as you're putting them

  10    on.

  11                But I'll hear from your first witness.

  12                MR. MOODY:    Your Honor, may I make one brief point?

  13                THE COURT:    Sure.

  14                MR. MOODY:    We want to make the point.       So,

  15    obviously, we feel very comfortable having our current

  16    prosecutor testify and former prosecutor.          We think it's

  17    appropriate to do this.       We're not fighting it in any way, and

  18    we don't know exactly what the defense is going to ask them.

  19    We'd just like to make the point that, to the extent that the

  20    government attorneys testify today and are asked questions that

  21    may reveal their mental impressions or internal DOJ

  22    communications, our position is we're not waiving -- making a

  23    broader waiver of any privilege beyond the narrow confines of

  24    this hearing.

  25                So we just want to make -- be on the record there.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               30

   1    We just want to protect any argument later that there's been

   2    some sort of broad waiver.

   3                THE COURT:    Yes.   And, look, I think I understand the

   4    reasons why the defense is calling such a witness, and I take

   5    your cooperation, small C "cooperation," with that as being

   6    designed to move things along.        But I get it that that doesn't

   7    open up everything that attorney ever did.

   8                Obviously, it's somewhat extraordinary to have a

   9    prosecutor called as a witness, not unheard of but unusual.

  10    And I get it that you're not waiving anything by agreeing to

  11    that.

  12                MR. MOODY:    Thank you.

  13                MR. LUSTBERG:     So the first witness that we requested

  14    was Kevin Gingras.

  15                MR. FINZI:    Could he be outside?

  16                THE COURT:    By the way, everyone, there's no jury

  17    here.   Find a place to stand that's comfortable for you.

  18    That's fine.     Near a microphone, however, is a good idea.

  19                THE COURTROOM DEPUTY:      Remain standing, raise your

  20    right hand.

  21                       KEVIN GINGRAS, DEFENSE WITNESS,

  22             having been duly affirmed, testifies as follows:

  23                THE WITNESS:    I do.

  24                THE COURTROOM DEPUTY:      Keep the microphone close to

  25    you.    State your name for the record and spell it, please.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               31

   1                 THE WITNESS:   Kevin Gingras, K-E-V-I-N,

   2    G-I-N-G-R-A-S.

   3                 THE COURTROOM DEPUTY:     Thank you.

   4                             (DIRECT EXAMINATION)

   5    BY MR. LUSTBERG:

   6    Q.    Good morning, Mr. Gingras.       My name is Larry Lustberg.

   7    We've never met before I don't think, have we?

   8    A.    I don't believe so.

   9    Q.    So thank you for coming today.

  10                 How are you employed, sir?

  11    A.    Currently?

  12    Q.    Yes.

  13    A.    I am an in-house attorney at Lockheed Martin Corporation.

  14    Q.    Before that where were you employed?

  15    A.    I was with the Department of Justice in various capacities

  16    for about 13 years.

  17    Q.    If you would, just briefly walk us through what those

  18    various capacities were.

  19    A.    So I joined the Department of Justice in 2005 after I did

  20    a couple clerkships after law school.         I joined in the civil

  21    rights division criminal section and also went on a detail to

  22    the Eastern District of Virginia as a special assistant United

  23    States attorney.

  24                 I transitioned to the criminal division's appellate

  25    section at main justice.       So I was an appellate attorney for
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               32

   1    about five years, working on various cases throughout the

   2    country in criminal appeals.

   3                After that, I went to the FBI where I was special

   4    counsel to director -- FBI Director Mueller and served as a

   5    sort of national security advisor.         And after a period of time,

   6    I became his deputy chief of staff.         So I did that for, I

   7    think, a couple of years.

   8                Then after that I went back to the Justice Department

   9    as a line attorney in the fraud section focusing on Foreign

  10    Corrupt Practices Acts and other white collar investigations.

  11    Q.    Okay.   In that capacity in particular, but really in any

  12    of those capacities, are you familiar with the incentives that

  13    companies have to investigate and cooperate with the government

  14    with regard to, in particular, FCPA violations?

  15    A.    Well, I'm certainly aware of the Yates Memo and the FCPA

  16    Pilot Program that later became the corporate enforcement

  17    principles and the sentencing guidelines but also incentivized

  18    to cooperate.

  19    Q.    We'll come back to those lists a little bit later.

  20                So in this case, Mr. Schwartz and Mr. Coburn's case,

  21    how did you -- what was your very first involvement in the

  22    case?

  23    A.    My very first involvement in the case would have been in

  24    2016 in September.      I can't remember exactly when, but some of

  25    my supervisors assigned me to a case where Cognizant
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               33

   1    technologies had apparently made a disclosure.           And so they

   2    assigned me to that case.

   3    Q.    Had you had any involvement prior to that with Cognizant?

   4    A.    No, I'd never heard of it before.

   5    Q.    And had you worked in the past with the U.S. Attorney's

   6    Office for the District of New Jersey?

   7    A.    I don't -- I might have as an appellate attorney, but I

   8    don't remember.     Not in a trial attorney capacity.

   9    Q.    And prior to that time had you had any interaction with

  10    the DLA Piper law firm that had self-reported matter?

  11    A.    No.

  12    Q.    Did you know, when you first became involved, that DLA had

  13    reported the matter?

  14    A.    I think I learned pretty quickly which law firm was

  15    representing Cognizant and reported it.

  16    Q.    Okay.    So how long did you remain involved on the

  17    Cognizant matter?

  18    A.    So I remained on it until I left the Justice Department in

  19    June of 2018.

  20    Q.    2018 you said?

  21    A.    2018.

  22    Q.    Right.   And what was your role in that investigation?

  23    A.    So I was a prosecutor on the case, and I worked it in

  24    partnership with AUSAs from the District of New Jersey and with

  25    the FBI.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               34

   1    Q.    If you could, tell us what the DOJ team was for the

   2    Cognizant investigation.

   3    A.    So, again, I think it had various iterations over a period

   4    of time.    So in the beginning I believe Oz Benvenuto, who is

   5    the AUSA from the District of New Jersey, was assigned to it.

   6    So it was the two of us, and there was FBI agents.           And then we

   7    all had our supervisors, lots of supervisors.

   8    Q.    Okay.   When you say lots of supervisors, at the beginning

   9    of the case who was your supervisor?

  10    A.    So I think my direct supervisor at the time of the case

  11    was Leo Tsao, and he reported to the chief of the unit, who was

  12    Dan Kahn.

  13    Q.    Who was who?

  14    A.    Daniel Kahn.

  15    Q.    Who did you -- during the time that you've discussed from

  16    2014 -- I'm sorry -- 2016 to 2018, with whom did you primarily

  17    interact on behalf of Cognizant?

  18    A.    With whom did I primarily act on behalf of Cognizant?

  19    Q.    No, on behalf of.

  20                So you interacted with counsel for Cognizant,

  21    correct?

  22    A.    Correct.

  23    Q.    Okay.   And who was that?

  24    A.    That would have been Karl Buch from DLA, Grayson Stratton

  25    from DLA, and I can't remember -- I can't recall specifically
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               35

   1    who else, but I think there were a couple other attorneys.

   2    Q.    And when I say "interact," I just want to make sure we

   3    have it all.     That included phone calls, right?

   4    A.    Yes.

   5    Q.    And in-person meetings?

   6    A.    Yes.

   7    Q.    And emails?

   8    A.    Correct.

   9    Q.    And were there also text exchanges?

  10    A.    No.

  11    Q.    No texting?

  12    A.    No.

  13    Q.    And I take it that all throughout the period that you were

  14    there, you had periodically interactions with those people,

  15    correct?

  16    A.    Yes.

  17    Q.    I assume it's more at some time, less at others; but

  18    throughout the time period, right up until you left in June of

  19    2018, you were interacting with that DLA team with regard to

  20    this matter, right?

  21    A.    That's correct.

  22    Q.    And sometimes in the course of that interaction --

  23    actually, let me focus on the initial few weeks.           And in

  24    particular I'm focusing on the time period between the time you

  25    got involved -- which, if I understand correctly, was
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               36

   1    September 2nd, 2016.      Does that sound right to you?

   2    A.    I'd have to look back.      That seems a little bit early.

   3    Q.    Okay.   So if we could just show -- let's show our

   4    Exhibit 1.    See -- can you see that on your screen?

   5    A.    Yes.

   6                 MR. LUSTBERG:    Scroll down.

   7    BY MR. LUSTBERG:

   8    Q.    Friday, September 2nd, 2016, I see an email from Daniel

   9    Kahn to Zach Intrater, Paul Murphy, and Oz Benvenuto.

  10                 Those are all people from the U.S. Attorney's Office

  11    in New Jersey, right?

  12    A.    Correct.

  13    Q.    It says, "Great.     Thanks.    I'm looping in Leo Tsao, who

  14    will be supervising the case.        I believe we are giving it to

  15    Kevin Gingras, but Leo hasn't had a chance to talk to him yet.

  16    Once he has, he will put" -- I can't see -- "Oz and Kevin in

  17    touch."

  18                 So are you saying that, as of the 2nd, you were not

  19    yet aware of the case?

  20    A.    I could have been.      I don't remember whether it was that

  21    day or some time after that.       I know, reviewing some of the

  22    other emails, that I was traveling at the time; so I don't know

  23    when exactly I had a chance to speak with them.

  24    Q.    But focusing on the time period in early September through

  25    the 23rd -- which you know that that's the date that
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               37

   1    Mr. Schwartz was reinterviewed?

   2    A.    Yes.

   3    Q.    Okay.   I really want to focus on that time period --

   4    A.    Okay.

   5    Q.    -- and on the government's actions during that time

   6    period.    So we're going to look at some of those early

   7    communications.

   8                 And in particular, if we could look at our Exhibit 2.

   9                 MR. LUSTBERG:    Judge, just for the record, we're

  10    showing these exhibits right now.        I'm not going to take the

  11    time to formally move them in, unless the Court wants me to, on

  12    a document-by-document basis.

  13                 THE COURT:   I don't think that's necessary.        If

  14    anybody has an objection, certainly speak up.

  15                 MR. MOODY:   No objection.

  16                 THE COURT:   It's a hearing; it's not a trial.        We'll

  17    see what you have for us.

  18    BY MR. LUSTBERG:

  19    Q.    So the top email on Exhibit 2, if you could look at that,

  20    this is an email to Leo Tsao from Jonathan Haray.

  21                 Is Jonathan Haray one of the people you interacted

  22    with at DLA?

  23    A.    The name sounds familiar, yes.

  24    Q.    That refers to a request in Dan's -- from Dan during our

  25    call last week.
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 39 of 267 PageID: 25141
                           Gingras-Direct-Lustberg                               38

   1                Do you know what that refers to?        When I say "that,"

   2    what request we're talking about.

   3    A.    Well, based on this email, it seems to be that he had

   4    requested to get personal email addresses.

   5    Q.    So what's going on here is that the government is

   6    requesting information from Cognizant, correct?

   7    A.    Correct.

   8    Q.    Was that unusual for the government to request information

   9    from Cognizant during that period?

  10    A.    I don't think it was unusual at the beginning of any of

  11    these corporate investigations to ask for this kind of

  12    information.

  13                MR. LUSTBERG:     I misplaced my papers.

  14    BY MR. LUSTBERG:

  15    Q.    Let me direct your attention now to -- quickly to

  16    Exhibit 3, again with regard to government requests.

  17                So on the second page of that there's an email on

  18    September 9th from Karl Buch to Leo and you.

  19                Leo again is who?

  20    A.    Leo was my supervisor at the time.

  21    Q.    It says, "It was great catching up with you yesterday.            As

  22    you requested, I write to let you know that we intend to

  23    interview Lakshmi Narayanan, Cognizant's vice chairman of the

  24    board, on Monday.     Please let me know if you have any

  25    questions."
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 40 of 267 PageID: 25142
                           Gingras-Direct-Lustberg                               39

   1                I wanted to ask you about the phrase "as you

   2    requested."

   3                Do you know what the government had requested of

   4    Cognizant on September 8th, which was the day before?

   5    A.    I don't recall the conversation, but looking at this email

   6    it seems like we had made a request and that this was a

   7    response to it.     I don't know the specifics of what we actually

   8    requested, though.

   9    Q.    So you can't tell from here, it says, "As you requested, I

  10    write to let you know that we intend to interview" -- this

  11    person, Lakshmi.

  12                Do you know, does that refresh your recollection at

  13    all that the government may have made a request to know who

  14    Cognizant was interviewing?

  15    A.    I mean, based on this email it seems that that's likely

  16    what the request was, but I don't have a specific recollection

  17    of it.

  18    Q.    So as of September 9th, you knew that Cognizant was going

  19    to interview -- I'll call him Lakshmi.         Correct?

  20    A.    Based on this email, yes.

  21    Q.    Did you do anything to participate in such an interview?

  22    A.    No.

  23    Q.    Did you give Cognizant counsel any guidance as to what the

  24    subject of that interview should be?

  25    A.    No.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               40

   1    Q.     Was there any further discussion about the interview with

   2    Lakshmi between you and Mr. Buch or anybody else from DLA at

   3    that time?

   4    A.     I don't recall anything like that.

   5    Q.     So why did the government -- if you don't specifically

   6    recall -- let me ask you this way.

   7                Why did the government request to know who was being

   8    interviewed?

   9    A.     Well, I mean, I think early on in an investigation like

  10    this, I mean, I think there's a number of things that

  11    prosecutors -- number of questions prosecutors are going to

  12    ask.   I think primarily, you know, is there an ongoing crime?

  13    Is there a chance that evidence is going to be destroyed?             Are

  14    there people that are going to flee that we would want access

  15    to?    So are there personal email addresses and other steps that

  16    we can take proactively?

  17                So, again, I don't recall specifically what the

  18    request was in relation to this.        I'm not denying that we made

  19    a request, but I can't recall exactly why we would have asked

  20    about this particular individual.

  21    Q.     Let me tell you what's puzzling me.        Maybe you can help

  22    me.

  23    A.     Sure.

  24    Q.     The government has asked, you think, based on this, to

  25    know when Cognizant was going to interview certain people or
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 42 of 267 PageID: 25144
                           Gingras-Direct-Lustberg                               41

   1    what interviews Cognizant was going to do.          That was the

   2    inference that you drew, right?

   3    A.    Correct.

   4    Q.    Right.   And so my question is -- but you answered that no

   5    direction was given, no questions were asked about it, no --

   6    the government didn't participate.         And I'm trying to

   7    understand how that could be.

   8    A.    Trying to understand how what could be?

   9    Q.    I'm trying to understand why you would want to know who

  10    was being interviewed but not provide any information or

  11    direction or questions or guidance.         And you said, if I'm

  12    right, that there's certain things that the government wants to

  13    know early on in an investigation -- is the crime continuing?

  14    That sort of thing.      But you didn't give any guidance to

  15    Cognizant with regard to what to ask this witness.           Is that

  16    right?

  17    A.    That's right.

  18    Q.    So if that's the case, why did you even want to know who

  19    was being interviewed?

  20    A.    Well, I think wanting to know who the company's

  21    interviewing so that we can potentially deconflict our own

  22    investigation is not unusual in these corporate criminal cases.

  23    So to the extent we were asking things that they were doing in

  24    the moment, I think we might have been trying to understand

  25    what was happening in their investigation so that we could
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 43 of 267 PageID: 25145
                           Gingras-Direct-Lustberg                                 42

   1    deconflict it from whatever steps we would eventually decide we

   2    were going to take.

   3    Q.    And in order for you to know what was going on in their

   4    investigation, was it enough to just understand who they were

   5    interviewing?     Is that what you're saying?

   6    A.    I think so.    I mean, I think we'd have to have some

   7    background.    But, again, this is very early on.         I think I got

   8    pulled into this case literally days before this.           So I think

   9    we were also just trying to understand the universe of what the

  10    facts were and what was happening since things were happening

  11    very quickly.

  12    Q.    And in order to do that, just to make sure I understand,

  13    your testimony is that you didn't request any -- that any

  14    particular information be gathered from this witness?

  15    A.    Definitely not.

  16    Q.    Pardon me?

  17    A.    Definitely not.

  18    Q.    So this was one where you just -- Cognizant was going

  19    ahead and they were going to do this interview without any

  20    guidance from the government, right?

  21    A.    Again, I think that was true with all the interviews they

  22    were doing.

  23    Q.    If I can just go to the first page of this document.            On

  24    the bottom of it there's an email from Mr. Buch to you and Leo

  25    where it says, "Please let me know if you are available for a
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               43

   1    call with John, Gray, and me between 2:00 and 4:00 p.m. today."

   2                 This is now September 14th.

   3                 "We would like to raise some recent developments with

   4    you."

   5                 Was it part of the process in these early days --

   6    this is now September 14 -- that Cognizant would raise recent

   7    developments with you?

   8    A.    I'm sorry.    The first part of your question was it part of

   9    the --

  10    Q.    What you did during this period in early September.

  11    A.    I mean, in reviewing some of the emails, yes.          DLA reached

  12    out to us to update us throughout the course of their

  13    investigation.

  14    Q.    And I just want to make sure I understand.          As they were

  15    updating you, were you providing any guidance to them as to how

  16    to go about their work?

  17    A.    Definitely not.

  18    Q.    Absolutely no guidance?

  19    A.    No.

  20    Q.    Do you have a recollection about what the recent

  21    development was that Cognizant brought to your attention on

  22    September 14, 2016?

  23    A.    Yes.   I believe it was about notes that they discovered

  24    that belonged to Mr. Schwartz.

  25    Q.    All right.    And they had just discovered those notes right
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 45 of 267 PageID: 25147
                           Gingras-Direct-Lustberg                               44

   1    around that time, right?

   2    A.    That's my recollection.

   3    Q.    And so they were updating you, essentially in real time,

   4    as to what their investigation was uncovering, correct?

   5    A.    I mean, assuming they found them that day, I suppose real

   6    time is not a stretch.      But they let us know pretty quickly

   7    after they found them.

   8    Q.    Okay.   Well, I don't mean real time like that moment, but

   9    I will represent to you that they found the notes on

  10    September 9th.     It's pretty -- as you said, pretty promptly,

  11    right?

  12    A.    If they found them on the 9th, yeah, that's still

  13    promptly.     Sure.

  14    Q.    Now, are you aware that they obtained these notes from

  15    Mr. Schwartz's laptop computer?

  16    A.    Yes.    I knew it was from one of his devices.

  17    Q.    Do you remember whether it was from his laptop computer?

  18    A.    I don't recall which of the devices it was.

  19    Q.    Do you remember a dispute, though, between Cognizant and

  20    Mr. Schwartz with regard to his laptop computer?

  21    A.    I don't.

  22    Q.    You have no recollection of that?

  23    A.    I don't believe I was ever told about one.

  24    Q.    Okay.   In any event, do you have a recollection of a phone

  25    call on September 14, 2016, with regard to this matter?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 46 of 267 PageID: 25148
                           Gingras-Direct-Lustberg                               45

   1    A.    I know that there was a phone call; I don't recall the

   2    specifics of it.

   3    Q.    Let's see if we can help refresh your recollection on

   4    that.

   5                 MR. LUSTBERG:    If we could turn to Defendant

   6    Exhibit 4.

   7    A.    Yes.

   8    BY MR. LUSTBERG:

   9    Q.    You can also -- Mr. Gingras, all of the exhibits are in

  10    front of you in that binder if it's easier for you to look at

  11    paper.

  12    A.    Okay.

  13    Q.    It's a two-page exhibit.       If you prefer to see it that

  14    way, that's fine.

  15    A.    Which tab is this?

  16    Q.    Exhibit 4.

  17    A.    Okay.

  18    Q.    So at the end of that exhibit it says, "We intend to

  19    interview Lakshmi.      Conduct some additional interviews on

  20    Monday and Tuesday, Mani and B. Gosh (head of procurement).

  21    Wednesday, intend to meet with Schwartz (and his lawyer, Josh

  22    Rievman, NY).     Coburn" -- it says Corburn, but -- "Coburn in

  23    the afternoon."

  24                 And my question is, once again here, your testimony

  25    is that you provided absolutely no guidance as to what any of
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 47 of 267 PageID: 25149
                           Gingras-Direct-Lustberg                               46

   1    the questions that should be asked to any of those people; is

   2    that right?

   3    A.    That's correct.

   4    Q.    They are, however -- they, Cognizant through DLA -- is

   5    telling you who they're going to be interviewing next.            And

   6    that was per the government's request that they do so.            Is that

   7    right?

   8    A.    I don't know that this was per the government's request

   9    that they do so.     I mean, the previous exhibit that you were

  10    showing about Lakshmi, I mean, that could have been Leo asking

  11    that question about him specifically.         I'm not sure I knew

  12    enough on September 8th to ask any intelligent questions about

  13    any specific person; so I don't know whether this is in

  14    response to a request that we made or if they're just letting

  15    us know.

  16    Q.    So you don't know?

  17    A.    So I don't know.

  18    Q.    Was this email the first time that you learned that

  19    Mr. Coburn and Mr. Schwartz had previously been interviewed?

  20    A.    I think -- I mean, if there's a reference on here, I think

  21    so.

  22    Q.    In the middle of the first page it says, "DLA interviewed

  23    Coburn and Schwartz and they both denied."

  24    A.    Right.

  25    Q.    Do you see that?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 48 of 267 PageID: 25150
                           Gingras-Direct-Lustberg                               47

   1    A.    Yes.

   2    Q.    Before that time had you known that?

   3    A.    I don't believe so.

   4    Q.    Did DLA at the time, Mr. Gingras, explain to you what the

   5    rules were that they imposed upon interviews with people like

   6    Mr. Schwartz and Mr. Coburn?

   7    A.    No.

   8    Q.    Did there ever come a time when you became aware of the

   9    rules that were imposed by DLA with respect to interviews they

  10    were doing of people?

  11    A.    Yes.

  12    Q.    Okay.   When did you become aware of that?

  13    A.    When I read your briefing in advance of this hearing.

  14    Q.    Okay.   So up until the briefing here, you had no idea that

  15    DLA's policy was to have only one lawyer in the room who could

  16    not speak or take notes?

  17    A.    Well, I should say I may have learned that that happened

  18    after the fact at some point.        I don't -- when I read it in the

  19    briefing, it didn't sound familiar to me.          But I'm not

  20    precluding the possibility of at some point I learned about it

  21    later.    But certainly during this time we weren't having

  22    conversations about exactly how they were conducting their

  23    interviews.

  24    Q.    And you don't know when you found that out?

  25    A.    I can't recall.     Maybe it was -- it could have been during
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 49 of 267 PageID: 25151
                           Gingras-Direct-Lustberg                               48

   1    an interview download or something.         I don't know.

   2    Q.     Well, do you remember how you responded when you found out

   3    that that -- those were the rules of engagement for interviews

   4    by Cognizant?

   5    A.     No.   I don't know how I responded.

   6    Q.     But you would admit that those types of rules are not

   7    rules that the government could use in interviewing witnesses,

   8    could they?

   9    A.     No, those are not rules -- the rules for the government

  10    would certainly be different than they would be for a company.

  11    Q.     Looks like --

  12                 THE COURT:   Could I just interrupt for one moment

  13    just to clarify?

  14                 MR. LUSTBERG:    Sure.

  15                 THE COURT:   This email, Mr. Gingras, is you telling

  16    Mr. Benvenuto what Buch and Sharratt had told you?

  17                 THE WITNESS:    That's correct, Your Honor, except

  18    Mr. Sharratt was with the SEC.        So I had taken notes apparently

  19    of the September 14th call with Mr. Buch from DLA.           And this

  20    was the information he conveyed to us.

  21                 And then I sent it on to Oz Benvenuto, who wasn't

  22    able to make the call.

  23                 THE COURT:   Got it.     Thank you.

  24                 MR. LUSTBERG:    That's exactly what I was going to

  25    ask.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               49

   1    BY MR. LUSTBERG:

   2    Q.     And why did you do that?

   3                  Why did you send this on to Oz?

   4    A.     Well, because we were partnering on this together.          And

   5    for whatever reason, he wasn't able to make the call that we

   6    had.

   7    Q.     Was -- at the time you at DOJ were not doing your own

   8    investigation of Cognizant, correct?

   9    A.     Well, I wouldn't say that's correct.

  10    Q.     Fair enough.   I mean, at the time DLA was interviewing

  11    witnesses, right?

  12    A.     Yes.

  13    Q.     You were not interviewing witnesses?        You being DOJ were

  14    not interviewing witnesses; is that right?

  15    A.     No.

  16    Q.     Was the District of New Jersey, was Oz or anybody there,

  17    interviewing witnesses, gathering documents, doing the kinds of

  18    things that DLA was doing at the time?

  19    A.     No.

  20    Q.     Now, earlier you said that you were aware that

  21    Mr. Schwartz was reinterviewed on September 23rd, right?

  22    A.     Correct.

  23    Q.     And right after -- and he was interviewed by DLA and by

  24    Cognizant -- which was Cognizant's counsel at the time, right?

  25    A.     I believe that's correct.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               50

   1    Q.    And did they update you with regard to what had occurred

   2    at that interview?

   3                Withdrawn.

   4                That day on September 23rd, the day of the interview,

   5    did they tell you what had occurred?

   6    A.    I can't recall whether it was that day or shortly

   7    thereafter.

   8    Q.    When you say shortly thereafter, any sense of the

   9    timeframe of that?

  10    A.    I don't.    I think they're reflected in some of the emails

  11    if you want to direct me to some that may refresh my

  12    recollection.

  13    Q.    Let me show you -- I'll just move on.

  14                There was a phone call, I am going to represent to

  15    you, on September 23rd.

  16    A.    Okay.

  17    Q.    I know you've reviewed all the documents and so forth in

  18    preparation for this testimony today, right?

  19    A.    I've reviewed some of them.

  20    Q.    Okay.   Do you know what that phone call on the 23rd, the

  21    same day as Mr. Schwartz's interview, was about?

  22    A.    Well, I apologize.      Which phone call are we talking about?

  23    Q.    Let me quote to you.      In the government's brief they say

  24    that the subject of the -- withdrawn.

  25                That there was a call on September 23rd.         And at the
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               51

   1    time of that call on the 23rd, the company had asked to push

   2    back a meeting that had been scheduled with DOJ for

   3    September 27th.

   4    A.    That sounds familiar.

   5    Q.    And my question for you is do you know whether, when you

   6    spoke to Cognizant for that purpose on September 23rd, they

   7    briefed you as to what had occurred with regard to

   8    Mr. Schwartz's interview on that day?

   9    A.    I don't recall if that happened or not.         It may have.

  10    Q.    They said that they had asked to push back the meeting

  11    because there were complications in their fact finding.

  12                 Does that ring a bell?

  13    A.    Yes.   I mean -- yes.

  14    Q.    Well, do you know what the complications in DLA's fact

  15    finding were as of September 23rd?

  16    A.    I don't recall.

  17    Q.    But in any event, you don't recall -- there was a call on

  18    the 23rd, the date of Mr. Schwartz's interview, and you don't

  19    recall whether on that day you were updated as to what had

  20    occurred in that interview?

  21    A.    If the call occurred after the interview, I'd find it

  22    surprising if they wouldn't have at least told us generally

  23    what happened; but I don't recall specifically.

  24    Q.    You know that that interview is really a very important

  25    interview in this case, right?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 53 of 267 PageID: 25155
                           Gingras-Direct-Lustberg                               52

   1    A.    Yes.

   2    Q.    I mean, there's numerous communications where you talk

   3    about how that is critical and there's questions about who's

   4    going to testify with regard to that interview --

   5    A.    Sure.

   6    Q.    -- and that sort of thing because it was an important part

   7    of the government's -- of the case that Cognizant at least was

   8    building as of that time, right?

   9    A.    Well, I'm certainly aware that that interview was

  10    important for a number of reasons, including to the

  11    government's case, yes.

  12    Q.    And given the importance of that interview and what had

  13    occurred, don't you think they would likely have briefed you on

  14    it on the very same day it happened?

  15    A.    I believe I said that it's certainly possible that they

  16    did so, and perhaps it's likely that they did so if it happened

  17    after that.    I just -- I don't have a specific recollection of

  18    it.

  19    Q.    Were you aware that, as of the time of that second

  20    interview of Mr. Schwartz on September 23rd, that Cognizant had

  21    already decided to terminate his employment?

  22    A.    I was not.

  23    Q.    When did you become aware that that was the case?

  24    A.    When did I become aware --

  25    Q.    When did you become aware that, as of September 23rd, that
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 54 of 267 PageID: 25156
                           Gingras-Direct-Lustberg                               53

   1    Cognizant had already made a decision to terminate

   2    Mr. Schwartz?

   3    A.    When I read the briefing that -- your briefs in advance of

   4    this hearing.

   5    Q.    So up until you read the briefing in this case, you had no

   6    idea that that was the case?

   7    A.    Correct.

   8    Q.    Okay.   So were you aware that Cognizant was holding off on

   9    effecting any termination so that they could get additional

  10    information from Mr. Schwartz and reinterview him?

  11    A.    No.

  12    Q.    So let me show you -- take a look at Exhibit 14.

  13                 Do you recognize Exhibit 14?

  14    A.    Sort of.    These look like possibly my notes.

  15    Q.    Can you tell from this when those notes were from?

  16    A.    I mean, they seem fairly early on.        I wouldn't remember

  17    exactly what the date was.

  18    Q.    Pardon me?

  19    A.    They seem to be from fairly early on in the case, but I

  20    don't remember exactly what day these would have been.

  21    Q.    So the meeting that we talked about before was supposed to

  22    take place on September 27th and, in fact, took place on

  23    October 6, 2016.

  24                 Do you recall that?

  25    A.    Yes.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               54

   1    Q.    Do these look like notes from the October 6, 2016,

   2    meeting?

   3    A.    Yes.    Looks like they could be, yes.

   4    Q.    If you look at the bottom of the second page.

   5    A.    Okay.

   6    Q.    You'll see a section called "Remediation."

   7                 Do you see that?

   8    A.    Yes.

   9    Q.    And it says, "Schwartz:      On Garden leave."

  10                 What does that mean?

  11    A.    I think that just means on paid leave.

  12    Q.    Then it says, "Trying to get as much as we can."

  13                 Do you see that?

  14    A.    Yes.

  15    Q.    These are your notes.      What did you mean by that?

  16    A.    I think I'm noting here what DLA is telling me and Oz and

  17    the team that Cognizant is doing and is doing with certain

  18    personnel, including Mr. Schwartz.

  19    Q.    And I get that.     I mean, my question is were you aware

  20    that what Cognizant was doing was, instead of terminating him,

  21    keeping him on so that he could continue to be questioned?

  22    A.    I mean, I don't know that I would say I was aware that

  23    they were keeping him on just so he could be questioned.            I

  24    think they were trying to conduct their investigation, and he

  25    had information that they were trying to elicit from him.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                                55

   1    Q.    Right.   And if he had been terminated, it would be much

   2    harder to get that information, wouldn't it?

   3    A.    Most likely.

   4    Q.    You said most likely?

   5    A.    Correct.

   6    Q.    That's based on your experience that if you terminate

   7    somebody, it's much harder to get an interview with them.

   8    Isn't that true?

   9    A.    I think that's usually true.

  10                 THE COURT:   Sorry.   Help me out.     Who's RW?

  11                 MR. LUSTBERG:    Pardon me?

  12                 THE COURT:   RW?   Who is that?

  13                 THE WITNESS:    RW.   I can't recall, Your Honor.      I'm

  14    sorry.

  15                 THE COURT:   Fine.

  16    BY MR. LUSTBERG:

  17    Q.    Just to clarify and to go back to this subject, I want to

  18    show you another exhibit dated -- which is Exhibit 15.            These

  19    are notes dated December 16th, 2016 [sic].          I recognize this

  20    was after the period, but it's going to refer back to the very

  21    subject we talked about before.

  22                 Do you see that exhibit?

  23    A.    Yes.

  24    BY MR. LUSTBERG:

  25    Q.    I'd like to walk you through that if you could.           So it
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               56

   1    starts off by saying, "Interviews last week.          Thought we could

   2    do better."

   3                Any idea of what that's a reference to?

   4    A.    I don't -- I'm sorry.      Are these my notes?

   5    Q.    You tell me.    I thought they were based on the type and so

   6    forth; but if you don't know, you don't know.

   7                MS. PATEL:    I think we can just represent those are

   8    his notes.

   9                THE COURT:    That was not very audible.       You're

  10    saying, Ms. Patel, that you can help us out?

  11                MS. PATEL:    We can represent that those are

  12    Mr. Gingras's notes if that makes this easier.

  13                THE COURT:    You believe they are.      Okay.

  14                Not evidence, obviously.       But if that helps, go

  15    ahead.

  16    BY MR. LUSTBERG:

  17    Q.    So my question is, taking a look at those, any idea what

  18    you meant when you wrote "thought we could do better"?

  19    A.    Yeah, I think I'm quoting what -- this appears to be a

  20    conversation with Mr. Buch.       I believe I'm summarizing what

  21    Mr. Buch told me.

  22    Q.    Okay.   Then it goes on to talk about "coming up with a

  23    rehab program and represent to people that we are more

  24    interested in finding out what the facts are and if we're

  25    comfortable you're being straight up, then you won't lose your
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               57

   1    position."

   2                 So the idea is that if you -- if people will speak,

   3    then they won't get fired; is that right?

   4    A.    That could be.     That seems like a fair summary of this.

   5    Q.    And Karl says -- at the end it says, "Karl:          We are going

   6    to terminate a lot of people, but there are lots of line people

   7    that have info but are holding back."

   8                 Do you see that?

   9    A.    Yes.

  10    Q.    And you say right before that, "Devil is in the details, I

  11    said," meaning you.

  12                 What did you mean by "devil is in the details"?

  13    A.    I think I was just responding to his comment that the

  14    people he's talking about are not supervisors and could have

  15    been people just following orders.

  16    Q.    Here's my question -- I'm sorry.

  17                 When you said devil is in the details, what is it

  18    that you think you meant?

  19    A.    Well, based on this, it seems like my response is to him

  20    saying that the people he's talking about were not supervisors

  21    and could have just been following orders.

  22    Q.    Okay.   Got it.

  23                 So when you say devil is in the details, what are you

  24    saying there?

  25    A.    Of whether people were actually just following orders, I
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               58

   1    suppose.

   2    Q.    Got it.    Okay.

   3                 This email, would you agree that it essentially

   4    confirms what you have said before, that people are more likely

   5    to talk if they haven't been fired?

   6    A.    Sure.   Yes.

   7    Q.    And, likewise, just a little bit -- like, a few days

   8    earlier than that -- let me show you Exhibit 16.

   9    A.    Okay.

  10    Q.    This is a lengthy exhibit; so let me direct you to a

  11    particular page, which is page -- at the bottom it will say

  12    page 13 of 18, Bates Number 135.

  13    A.    Okay.

  14    Q.    There's a section there called "Individual Remediation."

  15                 Do you see that?

  16    A.    Yes.

  17    Q.    Among the things it says, it says, "SEC:         Can you give us

  18    a list of the people being terminated and another of the

  19    people."

  20                 And DLA says, "Sure.     The only people I think are

  21    important to you are Mani and Sridhar."

  22                 Do you see that?

  23    A.    Yes.

  24    Q.    Okay.   And then if you skip to the next page, it says

  25    "AB."
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               59

   1                Do you know who AB was?

   2    A.    That would have been -- I believe that's a reference to --

   3    when is this?     December 2017?     So that would have been Andrew

   4    Bruck, who was the AUSA from New Jersey.

   5    Q.    And Mr. Bruck says, "And you guys are proposing

   6    separation?    Let me get back to you on that one.         At the end of

   7    the day, it's your decision."

   8                Why was the government interested in whether

   9    separation was being proposed?

  10    A.    Well, I think we were trying to understand -- and I think

  11    what Mr. Bruck is trying to understand here -- is our ability

  12    to have access to witnesses who are overseas.

  13                You know, in these international investigations and

  14    these big white collar investigations, it's not unusual that,

  15    when a company is remediating and deciding what to do with a

  16    number of its employees, they will try to make witnesses

  17    available to us.     So I think that that's what Mr. Bruck is

  18    trying to understand.

  19    Q.    But the discussion is not about travel overseas.           I don't

  20    want to argue with you, but this is about separation.            "Are you

  21    guys proposing separation?"       And on the page before, it talks

  22    about whether there's a list of people being terminated.

  23                So just to follow up on your point, people who are

  24    terminated or being separated are not people who the company is

  25    giving access to the government?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               60

   1    A.    Well, it would make it a lot harder, but I think we

   2    were -- I guess just to -- and I don't mean to argue with you,

   3    sir; I just -- it seems like what we're talking about are

   4    witnesses who are overseas, which presents a particular

   5    challenge for the prosecution team.

   6    Q.    I understand.     Of course that's true.      But this discussion

   7    is about terminations and separation, right?

   8    A.    Correct.

   9    Q.    And your response was that what companies try to do is

  10    make people available.      My question is, is one of the ways they

  11    make people available by not terminating them?

  12    A.    Well, one of the ways they -- certainly, if a company is

  13    trying to get cooperation credit, I think one of the things

  14    that they do, and did in this case perhaps and certainly do in

  15    a lot of other cases, is put people on leave to make them

  16    available to the government.       But as Mr. Bruck said here, at

  17    the end of the day, it's the business's decision as to what to

  18    do.

  19    Q.    Let me make sure I understand.        It's the business's

  20    decision what to do.      But in terms of how much credit the

  21    business is going to get for cooperating with the authorities,

  22    one of the things that's measured is their having given access

  23    to the government to certain people, right?

  24    A.    I think that's correct.      I think those are in the

  25    policies.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               61

   1    Q.    And you're not giving access to certain people if you

   2    terminate them and they're not available for interviews; is

   3    that right?

   4    A.    Well, I think a company has to weigh its remediation and

   5    mitigation efforts against its desire to get cooperation with

   6    the government.     So I think -- again, I think that's why

   7    Mr. Bruck says here it's your decision because it's the

   8    company's ultimate decision in trying to balance two things

   9    that are potentially intentioned with each other and decide how

  10    they want to proceed.

  11    Q.    You were around, weren't you, when Cognizant made its

  12    so-called Filip Factor presentation, correct?

  13    A.    I was.

  14    Q.    That was in May of 2018 right before you left, right?

  15    A.    Yes, sir.

  16    Q.    Let me show you Defense Exhibit 17, which is called

  17    "Cognizant Filip Factors Presentation."

  18                Do you see that?

  19    A.    Yes, sir.

  20    Q.    Do you know what this document is?

  21    A.    I believe these are paralegal notes of that presentation.

  22    Q.    Fair enough.    And I want to direct your attention, just in

  23    terms of what we were talking about a few minutes ago, to

  24    page 4 of 10, which is Bates Number 000206.

  25                Just a few lines down it says, "KB:        Also consistent
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               62

   1    with the DOJ deconfliction policy, we made sure those people

   2    were available to us and you."

   3                Once again, what's the deconfliction policy?

   4    A.    Well, I don't know that there's an actual deconfliction

   5    policy.    I can't remember which of the policies it was --

   6    perhaps it's the Yates Memo or one of the other policies --

   7    highlights that one factor in considering a company's

   8    cooperation is their deconflicting with the government's

   9    separate investigation.

  10    Q.    What does that mean, deconflicting?

  11    A.    Well, I think it means if, as was the case here, you had

  12    an internal -- a company conducting an internal investigation

  13    and at the same time the government also conducting an

  14    investigation into the same conduct or similar overlapping

  15    aspects of conduct, that the company would try and make an

  16    effort to deconflict in the sense of not impede what the

  17    government was trying to do.

  18    Q.    So deconfliction means trying not to impede what the

  19    government is trying to do?

  20    A.    I think essentially yes.

  21    Q.    So you respond to that and say, "We appreciate that and it

  22    is the company's decision."

  23                What did you mean by that?

  24    A.    Well, I acknowledged -- I think I was acknowledging what

  25    he was saying and what they had tried to do.          But, again,
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               63

   1    noting that at the end of the day that decision is the

   2    company's decision in weighing that calculus of trying to

   3    remediate and mitigate and -- which includes terminating people

   4    perhaps and also trying to seek cooperation credit with the

   5    government by ensuring that they're available if the government

   6    is trying to seek access to them.

   7    Q.    Right.    In order to receive cooperation credit?

   8    A.    I can't think of another reason why a company would do

   9    that other than trying to get cooperation credit.

  10    Q.    Got it.    In fact, the next two lines -- I just want to ask

  11    about those.     It says, "KR:    In cooperation, that is a key

  12    distinguishing factor."

  13                 KR, I think is -- if you can check your first page,

  14    but I think it's Kathy Reummler, who is one of the attorneys

  15    for Cognizant, right?

  16    A.    That's correct.

  17    Q.    And then Doug Greenburg, who I think was also a Latham

  18    lawyer, said, "We've all seen cases were people are terminated

  19    right away and that can impede an investigation."

  20                 Do you see that?

  21    A.    Yes.

  22    Q.    Do you agree with that?

  23    A.    Yes.   I think I had seen other internal investigations in

  24    my own experience, and I know many of my colleagues, where

  25    people we would have liked to have talked to had already been
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               64

   1    terminated, and it made it very difficult, if not impossible,

   2    to speak to them, especially if they were overseas in

   3    jurisdictions where it would be impossible or difficult to talk

   4    to them.

   5    Q.    So what the lawyers for Cognizant, Mr. Bruck and

   6    Ms. Reummler and Mr. Greenburg, are saying to you here is they

   7    did not terminate people so that the government would have

   8    access to them and they should be given cooperation credit for

   9    that, correct?

  10    A.    I believe that's correct.

  11    Q.    Well, you know that's correct?        I mean, that's the reason

  12    they were pointing that out, right?

  13    A.    Well, I only say I believe because I couldn't put myself

  14    in their heads.     But this is a fair reading, and common sense

  15    seems to indicate that.       So correct.

  16    Q.    And you were there; so you knew that that's what they were

  17    trying to argue, right?

  18    A.    Yes.

  19    Q.    So the bottom line I'm trying to get at here is, by

  20    holding off on terminating Mr. Schwartz so that they could get

  21    a second interview of him, that was something that was very

  22    helpful to the government, correct?

  23    A.    By holding off on terminating Mr. Schwartz, that was

  24    something that was helpful to the government.          I don't --

  25    Q.    Let me withdraw the question and make it clearer.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               65

   1    A.    Okay.

   2    Q.    Assume for purposes of this question -- because you don't

   3    know, as of September 23rd, Cognizant had made the decision

   4    whether to terminate Mr. Schwartz or not.

   5    A.    Yeah, I did not know that.

   6    Q.    We can tie that up with other witnesses.

   7                The question is if they had intended to terminate him

   8    by then but didn't do so in order that he would be interviewed

   9    a second time, that really helped the government, didn't it?

  10    A.    I don't know if I would say that that really helped the

  11    government.    I mean, you're asking me to sort of hypothesize on

  12    what would have happened if they would have terminated him.             I

  13    don't --

  14    Q.    I'm not really asking you to hypothesize.          I'm asking you

  15    for your experience.      I think you said a few minutes ago that,

  16    if they had terminated him, he would likely not have been

  17    accessible for an interview, right?

  18    A.    Well, I was speaking in terms of foreign witnesses.           I

  19    don't know that -- I mean, he had an attorney.           So presumably

  20    perhaps he would have been unwilling to speak to us, but --

  21    Q.    Well, let me ask this question.

  22    A.    Sure.

  23    Q.    Were you aware that, if he did not submit to a second

  24    interview, he would have been fired?         Is that something you

  25    were aware was Cognizant's policy?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 67 of 267 PageID: 25169
                           Gingras-Direct-Lustberg                               66

   1    A.    I don't know that I was specifically aware that it was

   2    Cognizant's policy, but that's most companies' -- many

   3    companies' policies; so I don't think I would have been

   4    surprised to know that, or I probably assumed it.

   5    Q.    So by submitting to that interview, he generated evidence

   6    that you said a little while ago was important evidence for the

   7    government, right?

   8    A.    Yes.

   9    Q.    And, therefore, evidence that would not have been

  10    available if he had not been interviewed and had been fired,

  11    right?

  12    A.    Presumably, yes.

  13    Q.    And that would not have been available if he had been

  14    fired as was intended -- assume that -- before that interview.

  15    A.    If that's true, then yes.

  16    Q.    Okay.   I want to go back to the October 6, 2016, meeting.

  17    So as we discussed a little while ago, right from the outset a

  18    meeting was going to be scheduled between the DLA team and the

  19    DOJ team.     Originally it was December -- I'm sorry --

  20    September 27th.     It got pushed off until October 6th based upon

  21    complications in Cognizant's or DLA's investigation.

  22                 Remember we talked about that?

  23    A.    Yes.

  24    Q.    And you don't know what those complications were?

  25    A.    I don't recall what those were.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               67

   1    Q.    So what was -- this is now October 6th.         It's about a

   2    month after you've gotten involved with the case.           What was the

   3    purpose of that meeting?

   4    A.    I think that was our initial kickoff meeting to learn

   5    about what the case was even about.

   6    Q.    So for the month of September -- you're already involved

   7    in the case -- until October 6th when you had this meeting,

   8    it's your testimony you didn't know what the case was about?

   9    A.    Well, I mean, I knew generally what it was about, but I

  10    didn't know further details beyond what you see in those

  11    September 14th notes.

  12    Q.    But you were aware that during that month of September

  13    that Cognizant was continuing its internal investigation of the

  14    issue, right?

  15    A.    Yes.

  16    Q.    So for that meeting, do you recall who set the agenda for

  17    that meeting?

  18    A.    Who set the agenda?

  19    Q.    Yes, the government or Cognizant?

  20    A.    I mean, Cognizant had reached out to us in their

  21    self-disclosure.     So I believe they set the agenda on what they

  22    wanted to share with us.

  23    Q.    I'm going to read to you from the government's brief.            You

  24    said you looked at the briefs in this matter?

  25    A.    Well, I skimmed them.      I wouldn't be able to answer
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               68

   1    specific questions about them.

   2    Q.     Let me give you a quote and see if this rings true.

   3                  "Cognizant summarized evidence it had discovered of

   4    the $2 million bribery scheme that ultimately formed the basis

   5    for the charges in the indictment and the key individuals

   6    involved, including Coburn and Schwartz, and also provided a

   7    binder of documents that it referenced during the

   8    presentation."

   9                  This is with reference to October 6.

  10                  Does that ring a bell as to what happened on

  11    October 6th?

  12    A.     That sounds right.

  13    Q.     Do you remember a binder of documents being provided?

  14    A.     I don't specifically remember a binder, but in almost

  15    every internal investigation like this, when the company came

  16    in for the first time, there was usually if not a binder,

  17    several binders.

  18    Q.     And whether there were one or several binders, the

  19    contents of those binders was selected by Cognizant, right?

  20    A.     Yes.

  21    Q.     That is, by their counsel, correct?

  22    A.     Correct.

  23    Q.     Do you remember at the time whether there was some

  24    discussion about how they had selected the documents that they

  25    had?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 70 of 267 PageID: 25172
                           Gingras-Direct-Lustberg                               69

   1    A.    I don't recall having that discussion, no.

   2    Q.    I'm going to show you -- take a look at D-18.          Let me know

   3    if you have seen this before.

   4    A.    This doesn't look familiar to me.

   5    Q.    I'll represent to you that these are actually talking

   6    points that were developed by DLA for the meeting.           But you've

   7    never seen those before?

   8    A.    I've never seen this before.

   9    Q.    Thank you.

  10                I want to ask about whether something that's in these

  11    notes is what happened at the meeting.         So let me direct your

  12    attention to the top of page 3 of 9, Section C.

  13                It says this:     "Cognizant self-reported on

  14    September 1st.     We've had a number of conference calls since we

  15    reported.    We've shared with you key points from witness

  16    interviews, Steven Schwartz's notes from the April 22nd, 2014,

  17    conference call" -- which you mentioned a little while ago --

  18    "personal email and identifying information for a number of

  19    Cognizant associates" -- which you mentioned a little while

  20    ago -- "upcoming interviews" -- and I think you've testified

  21    that Cognizant was providing information about upcoming

  22    interviews.    Is that true for you?

  23    A.    I think they were telling us who they were planning to

  24    interview.

  25    Q.    -- "information about witnesses and their counsel."
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               70

   1                 I want to focus on the first one that says, "Key

   2    points from witness interviews."

   3                 At that meeting on October 6th, did Cognizant provide

   4    you with key points on the witness interviews that they had

   5    done?

   6    A.    I believe they did.

   7    Q.    And they selected what those key points were, right?

   8    A.    Yes.

   9    Q.    Did you ask at that time for memos of the whole interviews

  10    or something so you could tell whether what they were providing

  11    were, in fact, the most important points?

  12    A.    I wouldn't have asked for memos because those would have

  13    been privileged and DOJ policy is we can't ask for

  14    privileged -- ask the company to waive privilege.           So, no, I

  15    wouldn't have asked for memos.

  16    Q.    Well, you say that they would be privileged.          Let me just

  17    follow up on that.      If Cognizant is telling you about the

  18    interviews, you're saying that the interview memos or notes

  19    themselves are nonetheless privileged?

  20    A.    If Cognizant is telling me about the interviews and giving

  21    me facts, then I don't think that necessarily means that the

  22    memos themselves would -- wouldn't be privileged.

  23    Q.    So you wouldn't have any concern that the privilege, once

  24    they were telling you some things about the interview, had been

  25    waived so that they could give you an accurate, complete
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 72 of 267 PageID: 25174
                           Gingras-Direct-Lustberg                               71

   1    recount of the interviews?

   2    A.    I apologize.    Someone coughed.      Can you repeat the first

   3    part of that.

   4    Q.    It was a lousy question anyway.

   5                 So Cognizant is giving you facts, key points from the

   6    interviews, right?

   7    A.    Yes.

   8    Q.    And you say that you wouldn't ask for the whole interview

   9    memos because you would be concerned that those are privileged?

  10    A.    Correct.

  11    Q.    And when you do that analysis of whether they are or not

  12    privileged, you consider that they provided you with some facts

  13    but not all of the facts regarding those interviews?

  14    A.    Yes.

  15    Q.    So my question is why did you, or somebody from DOJ if you

  16    have all talked about it, not challenged whether they could

  17    assert privilege with regard to the whole of those interviews

  18    as opposed to just providing their selected key points?

  19    A.    Well, as I'm sure was true in this case, every internal

  20    investigation that I'd done with not just this district but any

  21    other district in the U.S. Attorney's Offices, we all

  22    presume -- not presumed -- we understood, and often the company

  23    would be very explicit with us, that those memos were

  24    attorney-client privileged and work product.          So we would find

  25    other ways to try and pressure-test things that they were
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               72

   1    telling us without asking them to waive privilege over those

   2    materials.

   3    Q.    With regard to the key points that they raised at the

   4    October 6th meeting, what did you do to pressure-test, to use

   5    your phrase, what they were telling you to make sure that it

   6    was a complete, fair presentation of what had actually been

   7    said at those meetings?

   8    A.    Well, I don't know that there would have been anything in

   9    this specific meeting because it was essentially a kickoff

  10    meeting.     I think at this point we're in receive, you know,

  11    listening mode, trying to understand the universe of the facts

  12    of what Cognizant had uncovered and just trying to get our

  13    bearings and just -- so basically just trying to understand

  14    what this case was about.

  15    Q.    So in trying -- let me ask you this:         In trying to

  16    understand what the case is about, if Cognizant is reporting on

  17    interviews, as a good DOJ attorney in the FCPA area and the

  18    vast experience that you had in the criminal field, you would

  19    really want to know whether those key points really accurately

  20    represented what the witnesses had been told, wouldn't you?

  21    A.    Yes.

  22    Q.    So my question is, when they gave you the key points, did

  23    you question them at all to make sure that those were the

  24    correct key points and that they fairly and accurately

  25    summarized what the interviews were?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               73

   1    A.    Well, I guess my answer -- I don't mean to repeat my

   2    answer, but I think in that meeting I don't know that we would

   3    have pushed back.     I don't know that it would have been the

   4    appropriate time.     But certainly at some point the company

   5    started producing documents and we started conducting our own

   6    investigation in earnest.       And so we would have the facts that

   7    they gave us, and we would assess them in light of our own

   8    investigation to figure out whether those were, in fact, key

   9    points.

  10    Q.    Okay.   But at least as of October 6th, you accepted those

  11    key points as the key points based upon the people -- what you

  12    were being told by the people who were doing the investigation

  13    at that point, right?

  14    A.    At that meeting I was not in a position to challenge what

  15    were or were not key points; so I was just listening to what

  16    Cognizant was telling me.

  17    Q.    Okay.   Let me show you the next exhibit, which this is

  18    Exhibit 19.

  19    A.    Okay.

  20    Q.    Take a look at the first page of it, and I'll direct you

  21    to another place.

  22                 These are the paralegal notes from the -- from that

  23    same October 6th meeting.       Do you see that?

  24    A.    Yes.

  25    Q.    And have you seen these before?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               74

   1    A.    Yes.

   2    Q.    Directing your attention to the fourth and fifth page of

   3    the document, so Bates Numbers 21 and 22.          Starting at the

   4    bottom of page 4, Bates Number 21, let me go through these

   5    questions with you.

   6                 "Government:   Did you have these notes" -- these were

   7    with reference to the notes that you were told about on

   8    September 14th -- "when you spoke to Schwartz?"

   9                 Do you know where it says "Gov" there who was asking

  10    those questions?

  11    A.    I don't.    It's someone from -- it's either Oz or myself

  12    or --

  13    Q.    Let's see who was -- I don't know that we know who was

  14    present at that meeting.

  15    A.    Okay.

  16    Q.    And DLA says, "Yes, the second time.         We spoke to him a

  17    second time with the notes last Friday, I think.           We did with

  18    counsel before the president resigned."

  19                 Then there's a discussion of Mr. Schwartz's -- what

  20    Mr. Schwartz said at that interview.

  21                 Do you see that?

  22    A.    Yes.

  23    Q.    And then where it says "Brackett," that refers to

  24    Brackett Denniston that was one of the attorneys for Cognizant.

  25                 Do you see that?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               75

   1    A.    Yes.

   2    Q.    Did you interact with Mr. Denniston in regards to this --

   3    A.    I remember him from a couple meetings early on, but then

   4    he -- that was sort of it.

   5    Q.    And you'll see that Mr. Schwartz is saying that he did not

   6    have a good memory of a call in April 2014 because he had had

   7    surgery that week.

   8                 Do you see that?

   9    A.    Yes.

  10    Q.    And you recall that was something Mr. Schwartz had said,

  11    right?

  12    A.    In the second interview, correct.

  13    Q.    Right.   And it says, "Gov:      Was he out any days after the

  14    surgery?"

  15                 And DLA says, "There's emails that shows he was doing

  16    normal business on the 24th," which is a little bit later.

  17                 Government asks who his counsel is, and then

  18    government asks what's his current status.

  19                 "He's on home leave, on paid leave.       His access to

  20    things have been terminated.

  21                 "Brackett:   Our preferred course is for him to resign

  22    or we'll terminate."

  23                 DLA says, "We do want to do an additional interview

  24    with him and have asked for medical records for this alibi."

  25                 So I want to just ask you about that statement.          "We
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               76

   1    do want to do an additional interview with him."           This comes

   2    after a statement about "our preferred course is for him to

   3    resign or we'll terminate."

   4                I take it that that's just another embodiment of what

   5    we were talking about earlier, which is if he resigned or was

   6    terminated, they might not get that next interview.

   7    A.    I apologize.    You said it's another -- I missed the first

   8    part of what you said.      It's another?

   9    Q.    It's another example of what we were talking about

  10    earlier.

  11    A.    Correct, yes.

  12    Q.    Then it says, "We do want an additional interview with him

  13    and have asked for medical records for this alibi."

  14                What did you understand DLA was doing there?

  15    A.    I'm going to take this to mean that DLA was trying to

  16    interview him again and trying to get medical records to either

  17    corroborate or not his alibi.

  18    Q.    And that too would have been of enormous assistance to the

  19    government, right?

  20    A.    Assuming we got that information, then that would

  21    certainly be relevant to the government's investigation.

  22    Q.    So what I really want to ask about is the very next

  23    sentence --

  24    A.    Okay.

  25    Q.    -- which says, "Gov:      Have we exhausted everything around
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               77

   1    him not remembering?"

   2                Any idea who Gov is there?

   3    A.    Again, it was either Oz or me or, if the SEC was there,

   4    someone from the SEC.

   5    Q.    It says "have we exhausted."       That sounds like you're

   6    talking about "we" as in the government and counsel for

   7    Cognizant, right?

   8    A.    That's certainly an interpretation of it.

   9    Q.    Well, I'm asking -- it can be an interpretation of it.            Is

  10    it the correct interpretation of it?

  11    A.    I don't think it's the correct interpretation of it

  12    because we were clearly on separate teams; so --

  13    Q.    Right.   But we -- at this point the only ones who were

  14    doing this work, as they've just said, is Cognizant, right?

  15    A.    Correct.

  16    Q.    This is well before there were any interviews conducted by

  17    the DOJ, right?

  18    A.    Correct.

  19    Q.    And it's well before, even further before, DOJ issues any

  20    subpoenas, right?

  21    A.    Correct.

  22    Q.    Right.   So when you say -- when the government says "we"

  23    and they're talking about exhausting everything around him not

  24    remembering, what they're talking about is that the efforts

  25    that Cognizant is going to make to exhaust everything around
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 79 of 267 PageID: 25181
                           Gingras-Direct-Lustberg                                 78

   1    him not remembering, right?

   2    A.    I mean, it could be.      First of all, these are paralegal

   3    notes; so I don't know exactly how accurate they are.            But even

   4    assuming they are, it could be just a misstatement if that's,

   5    in fact, what someone said.       Yeah.

   6    Q.    So you think that a government lawyer saying "have we

   7    exhausted everything," talking about Cognizant's actions, in

   8    saying "we" is somehow a misstatement?

   9    A.    Well, it would have been a misstatement because they were

  10    conducting their own investigation and we were going to conduct

  11    our own.

  12    Q.    At this point they're doing the investigation and you're

  13    receiving information about it, right?

  14    A.    This is October 6th?

  15    Q.    Yes.

  16    A.    Yeah, I think that's fair to say.

  17    Q.    And, I mean, isn't it fair to say that at this point you

  18    really are working together?       Isn't that what you were doing?

  19    A.    No, I wouldn't say that.

  20    Q.    Okay.   You would not say that what Cognizant was doing was

  21    working with the government in an effort to obtain leniency at

  22    this point?

  23    A.    I wouldn't say they were working with the government.            I

  24    think they were like a cooperator who has come in and has tried

  25    to provide us -- provide the government with information and
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 80 of 267 PageID: 25182
                           Gingras-Direct-Lustberg                               79

   1    the government is taking that information, conducting --

   2    assessing it and making its own independent judgment and

   3    conducting its own investigation.

   4    Q.    Well, at this time the government is not conducting any

   5    investigation?

   6    A.    Well, actually, if I said that, I misspoke.          I wouldn't

   7    concede the government is not conducting any investigation at

   8    this point.

   9    Q.    Okay.   Tell me, October 6th, a month after you're into

  10    this case, what was the government doing by way of conducting

  11    an investigation?

  12    A.    Well, I don't recall specifically what we did, but

  13    certainly we would have taken steps.         I think the reason --

  14    there was a reason we were asking for personal email addresses.

  15    We were making our own assessment about if there were any sort

  16    of immediate steps that we needed to take.          Again, we're

  17    talking about a matter of weeks.        So I don't know that there

  18    was a whole lot that we could have done because, frankly, we

  19    didn't even know a lot about the case.

  20    Q.    When the government says "have we exhausted everything

  21    around him not remembering," right after DLA said they were

  22    going to do another interview and get medical records, isn't

  23    that providing some direction to them that they should exhaust

  24    everything around him not remembering?

  25    A.    I wouldn't -- I wouldn't say that that's direction, no.
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 81 of 267 PageID: 25183
                           Gingras-Direct-Lustberg                               80

   1    Q.    Okay.   What would you say that is?       Just a suggestion?

   2    A.    I mean, I think it was a question, asking what they've

   3    exhausted.    And if that's an accurate reflection of the use of

   4    the word "we," then that's an unfortunate misstep.

   5    Q.    And if they're asking a question about whether it's been

   6    exhausted, you don't think implicit in that, when that's said

   7    to a company that's seeking leniency, ultimately a declination

   8    letter, that it gives them a suggestion as to what they should

   9    do next?

  10    A.    Well, I can't speak for what the company's interpretation

  11    would be.     I knew that we were not to direct the company's

  12    investigation.     My AUSA partner knew that as well.        And that's

  13    something that wouldn't have happened.         So we weren't directing

  14    them.

  15                How the company interpreted it, I can't control.           But

  16    we were -- this example of notwithstanding or -- and perhaps

  17    there are others because we're not perfect, we're usually

  18    trying to be very careful not to cross a line and be perceived

  19    as directing the company to do something.

  20    Q.    But you would agree that, assuming that this is correctly

  21    quoted, there could be that perception that you're at least

  22    suggesting, if not directing, DLA as to what to do next, right?

  23    A.    Well, I think it would be a stretch to say that someone

  24    would interpret it as direction, but how they interpreted it,

  25    if they thought it was a suggestion and how strong they thought
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               81

   1    that suggestion would be, I can't control and I wouldn't know.

   2    Q.    So following that October 6 meeting, I want to -- later

   3    that day you have a follow-up question.         Just to refresh your

   4    recollection on that, let's take a look at Exhibit 21.

   5                I want to make sure I get the right one.         So on

   6    October 6, so on the first page --

   7    A.    Okay.

   8    Q.    -- there's an email from you which looks like it's to the

   9    DLA team.     I can't tell exactly who, but it's in response to an

  10    email from Mr. Buch.

  11                By the way, it says Mr. Buch's title there is foreign

  12    legal consultant.     Did you have an understanding about what

  13    that meant?

  14    A.    I never understood what that meant.

  15    Q.    So it says that -- there's a discussion that says, "Karl,

  16    I know you're in transit tomorrow, but do you all have time for

  17    a follow-up call with us tomorrow?         We have some requests we'd

  18    like to make."

  19                Do you see that?

  20    A.    What part of the page?

  21                MR. LUSTBERG:     Can you show that, Jesse?

  22                He's very good.

  23    A.    Oh, I see it.     Yes, I see it.

  24    BY MR. LUSTBERG:

  25    Q.    Do you know what requests you were making following that
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               82

   1    meeting?

   2    A.     I don't.

   3    Q.     No idea?

   4    A.     I don't remember.

   5                THE COURT:    I'm sorry.    This email is from who to

   6    who?

   7                MR. LUSTBERG:     Okay.   So this email is from

   8    Mr. Gingras here back to counsel at DLA.          It's part of a chain

   9    between them following the October 6th meeting.

  10                There's a discussion -- it's not particularly

  11    relevant -- with regard to the confidentiality agreement, and

  12    then this is an example of the government having some requests

  13    to make to DLA at that time.

  14                THE COURT:    Oh, there it is.     I'm sorry.    The top was

  15    cut off on my screen.

  16    BY MR. LUSTBERG:

  17    Q.     Then just one more follow-up finding -- following the

  18    October 6th meeting.      A call ends up getting scheduled for

  19    October 17th, a little bit more than a week later, to discuss

  20    documents and other items.

  21                The government has told us that they have no record

  22    of that call, but DLA has some talking points for that day that

  23    I just want to show you to see whether this refreshes your

  24    recollection or whether you can tell me whether there was a

  25    call on October 17th.
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 84 of 267 PageID: 25186
                           Gingras-Direct-Lustberg                               83

   1                So take a look at Defendants' Exhibit 23.

   2    A.    Okay.

   3    Q.    And my question for you is do you recall having a

   4    discussion on October 17th about -- and you can just look at

   5    pending DOJ requests, whatever you need to do to look at it.

   6                Do you recall a call on October 17, 2016, addressing

   7    these subjects?

   8    A.    I don't, no.

   9    Q.    It says "Pending DOJ requests."        So let me see if I can

  10    try that way.

  11                It says, "Additional emails/hot docs relating to the

  12    $2.5 million payment."

  13                Do you know what that's a reference to?

  14    A.    So I don't recall specifically, but it seems like it's

  15    a -- we had asked for additional emails going to the

  16    $2.5 million payment.

  17    Q.    Let me focus on the phrase "hot docs."         Do you know what

  18    that's a reference to?

  19    A.    I think that's a colloquial term that folks in your

  20    business and --

  21    Q.    I've heard the phrase.

  22    A.    -- term documents that are particularly relevant to a

  23    subject.

  24    Q.    Do you know whether -- had the government asked for,

  25    quote/unquote, hot docs from DLA?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               84

   1    A.     I don't know that I would have used that term.          I don't

   2    recall using that term.

   3    Q.     Okay.   So if somebody else used the term and this says

   4    pending DOJ requests and had requested hot docs, what they're

   5    saying is to -- tell me if you think I'm wrong here -- that DLA

   6    should select the, to use your phrase, documents relevant to

   7    the issue, right?

   8    A.     I mean, you're asking me to speculate if someone asked for

   9    hot docs --

  10    Q.     No, no -- yeah.    So let's assume --

  11    A.     Okay.

  12    Q.     -- because of this that there was a pending DOJ request

  13    for hot docs.

  14    A.     Okay.

  15    Q.     That is, in fact, a request for Cognizant to select the

  16    most relevant documents, right?

  17    A.     If that's the term they used, that seems like a fair

  18    interpretation.

  19    Q.     Do you remember a discussion at any point with Cognizant

  20    as to how they should go about selecting hot docs?

  21    A.     I don't remember specific discussions about how they

  22    should select documents, hot docs or otherwise.           I'm sure we

  23    did.   I know we had discussions -- I sort of generally have

  24    recollections about sort of parameters and categories of

  25    information that we were seeking.
                           United States District Court
                                 Newark, New Jersey
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                            Gingras-Direct-Lustberg                              85

   1                So if we were asking for specific documents around,

   2    for example, the payment or other transaction or something else

   3    in question, I remember making those requests.

   4    Q.     I'm sorry.   You remember making requests of -- I just want

   5    to -- you remember making requests for what?

   6    A.     For documents that were -- that had to do with certain

   7    transactions or categories of topics at given times.

   8    Q.     And this was obviously during the time period before the

   9    government subpoenaed documents, because if you were

  10    subpoenaing documents, you wouldn't have to make those

  11    requests; you could just subpoena them, right?

  12    A.     Right.   Although even with the subpoena, we would usually

  13    sort of have a back-and-forth -- at least my experience has

  14    been that there's a back-and-forth about what categories of

  15    documents and what the subpoena means and what we're trying to

  16    get.   So yes.

  17    Q.     When you had conversations yourself that you're recalling

  18    with Cognizant with regard to certain categories of documents

  19    that you were interested in, was that before you issued -- the

  20    subpoenas were issued?

  21    A.     I don't recall.

  22    Q.     And the fifth point here says, "Coordinate Mani interview

  23    in mid-November."

  24                Do you recall any conversation about coordinating

  25    with DLA with respect to an interview of Mani in mid-November?
                            United States District Court
                                  Newark, New Jersey
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                           Gingras-Direct-Lustberg                               86

   1    A.     So I'm sorry to keep saying I don't recall, because this

   2    was quite a bit ago, but I certainly remember having

   3    conversations about trying to get access to Mani to interview

   4    him.   I don't remember -- I mean, I think we would have tried

   5    to interview him very quickly, but I don't remember this

   6    specifically.

   7    Q.     So you were having conversations with counsel for DLA

   8    about getting access to Mani as quickly as possible; is that

   9    right?

  10    A.     Well, I mean, as quickly as possible -- we were trying to

  11    get access to him.      He was one of the first people we wanted to

  12    talk to.

  13                MR. LUSTBERG:     Judge, I don't know when you were

  14    intending to take a morning break.

  15                THE COURT:    Would this be a good time?

  16                MR. LUSTBERG:     It's a little after 11:00.       I'm

  17    halfway through, maybe even more.          It would be a good time to

  18    break.

  19                THE COURT:    Okay.    Good.    Let's take our 15-minute

  20    morning break.

  21                Do me a favor.     One counsel for each just step up for

  22    a moment about scheduling.        It doesn't need to be on the

  23    record.

  24                (Recess taken 11:10 a.m. through 11:25 a.m.)

  25                THE COURT:    Let's resume.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               87

   1    BY MR. LUSTBERG:

   2    Q.    I walk around too much; so they made me do one of these

   3    mics.

   4                Mr. Gingras, we talked about the question about

   5    whether the government gives direction or suggestions or

   6    whatever to a party like Cognizant that's reporting activity.

   7    And you said that that's not something that you do, right?

   8    A.    Correct.

   9    Q.    I think you said that you know that the U.S. Attorney's

  10    Office for the District of New Jersey also knew that they

  11    shouldn't be doing that either, correct?

  12    A.    That's my recollection, correct.

  13    Q.    Well, did you speak to Oz or Andrew Bruck or someone else

  14    from the U.S. Attorney's Office in New Jersey about that

  15    subject?

  16    A.    I don't recall having a specific conversation with them

  17    about it, but I know that we talked at times -- and it has

  18    happened in a lot of other investigations -- where we would

  19    make sure that we were all being careful about not directing a

  20    company to do certain things which would be inappropriate.

  21    Q.    Okay.   I'm sorry.    Did you say you had those conversations

  22    in this case?

  23    A.    What I said is I don't recall specific conversations, but

  24    I do -- I do recall sort of generally us talking about being

  25    careful in how we were phrasing our questions.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               88

   1    Q.    Okay.    So I want to understand that.       Careful in phrasing

   2    your questions.

   3                So there's no -- there's no dispute, right, that you

   4    would ask questions of the -- of Cognizant lawyers, right?

   5    A.    Correct, and make requests.

   6    Q.    And made requests.      And we'll talk about a couple other

   7    things along those lines.

   8                I guess my question is how do you -- you talked about

   9    phrasing.     How do you phrase a request -- let's take requests

  10    first -- in a way that does not end up constituting direction?

  11    A.    When I say phrasing, I just mean that it was my

  12    practice -- and I think it was our practice as a team -- to be

  13    thoughtful about requests that we made from the company.

  14                Again, the company can interpret things in a number

  15    of different ways, but we didn't ever want to be crossing a

  16    line into giving direction or -- we're talking about direction

  17    now, but there are sort of other contexts too where you want to

  18    be careful because it's not within our purview to be telling

  19    the company what to do.

  20    Q.    Okay.    So let me just ask about a couple of examples in

  21    response to that.

  22                You requested, did you not -- and I can show you a

  23    document if you need to -- that you requested that Cognizant

  24    assist you in terms of finding experts on some Indian

  25    contracting processes, right?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                                89

   1    A.    Yeah.   I remember asking the company to help us find an

   2    expert in the Byzantine process of permitting in Tamil Nadu in

   3    India.

   4    Q.    If you could, what specifically do you recall what you

   5    asked Cognizant to do for you with regard to locating experts?

   6    A.    Well, I remember -- I recall that we were having trouble

   7    finding an expert in this field.        We had asked OIA.      I recall

   8    asking the State Department.       I even did googling online.

   9                It was tough to find.      So we asked the company who

  10    had -- who's experienced in real estate dealings over there or

  11    asked DLA to see if they could find people that would be

  12    suitable for us to consider as expert witnesses.

  13    Q.    And let me ask you.      In your experience, is that a normal

  14    request to make of a company that comes forward in an effort to

  15    self-report, that you would ask them -- let me withdraw that.

  16                The purpose of finding that expert was to assist you

  17    in your investigation, right?

  18    A.    Correct.

  19    Q.    And potentially to even testify at trial if it came to

  20    that, right?

  21    A.    Conceivably.

  22    Q.    So my question is, is it common in your experience to ask

  23    a company that comes forward to assist in those ways?

  24    A.    I don't know whether it's common or unusual.          I don't

  25    recall doing it in another case.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               90

   1    Q.    Looks like you may have also asked one of them to assist

   2    you in finding an expert with regard to certain IT issues, for

   3    example, with regard to the Tandberg communications platform

   4    that Cognizant used.      Do you recall asking them for assistance

   5    in that regard as well?

   6    A.    Yeah.   I think we were trying to understand how their IT

   7    infrastructure worked, including the Tandberg, which is, I

   8    think, the phone system that they were using that some of the

   9    calls in question took place on.        So we had asked the company

  10    for assistance in helping us identify someone who could explain

  11    that to us.

  12    Q.    So that would have been somebody internal to Cognizant

  13    that you were asking for, right?

  14    A.    Yes.

  15    Q.    But the other expert that we talked about, somebody with

  16    regard to the permitting process in Tamil Nadu, that would have

  17    been a third party outside that you were asking them to help

  18    you to find because you couldn't -- which I would try to find

  19    one on Google.

  20    A.    Well, yeah, it was tough.       As I'm sure you know, when

  21    you're trying to determine experts, you want to have a slate to

  22    choose from.     And so assembling a number of experts that we

  23    could evaluate and figure out who could help us, it was

  24    challenging.

  25                 So like I said, we went down other avenues.         We also
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               91

   1    asked the company to help us -- if they could help us identify

   2    someone to consider.

   3    Q.    Isn't it also the case -- and, again, just following up on

   4    the questions and answers that we had earlier with regard to

   5    providing direction.      Is it also the case that you requested

   6    that Cognizant assist you with doing certain forensic analyses?

   7    A.    I don't recall that specifically, although that sounds

   8    vaguely familiar.     I think in investigations, when we're trying

   9    to make an assessment of information that's been given to us,

  10    there's obviously a forensic analysis that needs to be done.

  11    We will do some, but sometimes we'll ask the company to give us

  12    a sort of understanding of their forensic analysis perhaps

  13    first.    So we may have asked them to do that.

  14    Q.    So the specific forensic analysis, as I understand it,

  15    that you requested they do here had to do with whether certain

  16    emails or any emails had been deleted.

  17                Does that ring a bell as to what you might have asked

  18    them to do?

  19    A.    If you have specific documents to point me to.           It doesn't

  20    sound totally unfamiliar, but I don't recall specifically

  21    asking them to do that.

  22    Q.    Sure.   Let's take a look at Exhibit 43.        Now, this might

  23    not -- hold on.     That might not be the best one.

  24                Yes.   Let's take a look at Exhibit 44.        On 44 -- 44

  25    is notes -- is this when you were still there?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               92

   1    A.    No.   This is after I left in June of 2018.

   2    Q.    Fair enough.    So I won't ask about those.

   3                You nonetheless -- do you have any recollection of

   4    asking Cognizant to look into whether they could do an analysis

   5    of whether emails had been deleted?

   6    A.    Like I said, I have a vague recollection.          And I don't

   7    know if that's because I've seen reference to it in the briefs,

   8    but I don't -- I don't have a specific recollection of asking

   9    them to do that.

  10    Q.    How about with regard to chain of custody of certain

  11    materials that were turned over?        Did you ask Cognizant to do

  12    any chain-of-custody analysis with regard to, for example,

  13    Mr. Schwartz's computer?

  14    A.    I don't recall it.

  15    Q.    Do you have -- and this may have been after your time --

  16    and if so, you'll tell me.       Did it occur, during the time that

  17    you were there, that the government requested that Cognizant do

  18    an analysis of whether there was any Brady material in the

  19    information that had been provided?

  20    A.    Well, it certainly didn't happen when I was there.

  21    Q.    When you say it certainly didn't happen when you were

  22    there, why are you so sure about that?

  23    A.    Because I wouldn't have asked the company to do a Brady

  24    analysis.

  25    Q.    Why is that?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               93

   1    A.    Because of that's my job as the prosecutor.

   2    Q.    Okay.   In fact, because it's your job as a prosecutor, you

   3    probably keep a file from early on of materials that you think

   4    might end up being Brady, right?

   5    A.    I don't know if I would have kept a log or a folder or

   6    something if I would have seen any.

   7    Q.    Okay.   Let me just go back.

   8                Again, just with regard to your point about not

   9    providing directions, it was the case, wasn't it, that at times

  10    the government would provide guidance to Cognizant with regard

  11    to the sequencing of interviews.        Does that ring a bell?

  12    A.    I don't recall inviting guidance on the sequencing of

  13    interviews.    That would be surprising.       I think the most --

  14    what we would have done -- and I don't remember doing it in

  15    this specific case, but we might at times ask a company to hold

  16    off on doing an interview if we wanted to do the interview

  17    first.    We might ask the company to hold off on taking certain

  18    steps if we were trying to take our own steps.

  19                But usually that was for a very limited time and it

  20    was not done without some trepidation because, again, we were

  21    trying to be thoughtful and cognizant of trying not to

  22    interfere in whatever the company was doing in its own

  23    investigation.

  24    Q.    Okay.   Take a look, if you would, at Exhibit 26.          And it's

  25    the last page, page 11, of that exhibit.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               94

   1                 Actually, before you do it, if you have it in front

   2    of you, if you could identify that -- what that exhibit is.

   3    A.    26?

   4    Q.    Uh-huh.

   5    A.    Again, I think these are paralegal notes of a meeting.

   6    Q.    And it was a meeting that you attended, right?

   7    A.    Yes.

   8    Q.    Okay.   So let's go to the last page.

   9    A.    Okay.

  10    Q.    It says -- in the second-to-last bullet point it says,

  11    "McLoughlin, Dana, Casari."       And after Casari it says, "After

  12    DOJ speaks to him.      Others will be interviewed December or

  13    later."

  14                 Does that make it sound like you wanted the --

  15    Cognizant to talk to Mr. Casari after DOJ had spoken to him?

  16    A.    "Action Items."     I apologize.     Can I review this for one

  17    second?

  18    Q.    Sure.

  19    A.    Okay.   Sorry.    What was the question?

  20    Q.    So the question is, is this exactly what you were talking

  21    about, where this is a situation where the government said, you

  22    know, we're going to interview them first, then you can

  23    interview them later, right?

  24    A.    I don't -- I don't remember because this seems to indicate

  25    that they had already interviewed him and were telling us about
                           United States District Court
                                 Newark, New Jersey
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   1    that interview.     So I don't know if they were going to

   2    interview him again.

   3    Q.    So it says "Casari (after DOJ speaks to him)."

   4                That makes it sound like there's a request that they

   5    hold off on speaking to him until after DOJ speaks to him.             Am

   6    I reading that incorrectly?

   7    A.    I don't know if we had made a request or I don't know if

   8    they were telling us what they were going to do.           And so I

   9    don't know what the --

  10    Q.    Okay.    So this could be that they were just holding off on

  11    speaking to him of their own accord until after DOJ spoke to

  12    him; is that right?

  13    A.    It could be, or it could be we've asked them to --

  14    Q.    Right.

  15    A.    -- hold off because --

  16    Q.    Because you said -- sorry.       I apologize.    I didn't mean to

  17    talk over you.

  18    A.    Sorry.   Go ahead.

  19    Q.    I think one thing you said before is that sometimes you

  20    would ask parties that were cooperating with you in this way to

  21    hold off on interviews, right?

  22    A.    Correct.

  23    Q.    In fact, that happened here as well with regard to

  24    somebody -- if I said T. Sridhar, do you know who that is?

  25    A.    I know the name; I don't remember who that is, though.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               96

   1    Q.    So based upon disclosures from the government, we've been

   2    told that it wanted to interview him first before -- he's an

   3    executive at Cognizant -- before DLA did.

   4    A.    Okay.

   5    Q.    And that's the kind of thing you're talking about that

   6    does happen, right?

   7    A.    That sounds like it, yes.

   8    Q.    Again, in terms of providing direction to DLA as they did

   9    their job, there were times when DOJ would make requests about

  10    the way documents should be handled, about -- in particular

  11    about identifying documents that were being reviewed -- that

  12    would be reviewed with witnesses.

  13                 Do you remember having those conversations with DLA?

  14    A.    I recall asking -- we -- the team asking for documents

  15    that were shown to witnesses that were interviewed, yes.

  16    Q.    So if I understand correctly, what you're saying is that

  17    you would ask DLA to keep track of the documents that were

  18    being shown to witnesses so that you would know what they were,

  19    right?

  20    A.    Well, I don't know if we were asking them to keep track.

  21    I think every law firm that does this keeps track of a binder

  22    of documents that they have the interview with a witness.             And

  23    so --

  24    Q.    Yes.

  25    A.    -- we would ask them to provide those to us before we
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                                97

   1    spoke to them.

   2    Q.    Let me just show you just along these lines Exhibit 27.

   3    A.    Okay.

   4    Q.    Again, we're just talking about the subjects we were

   5    discussing before.      At the top there's a dialogue between you

   6    and DLA and Oz.     I just want to see if I understand it.

   7                It says -- so DLA says -- and by the way, do you know

   8    who -- just looking at this, this is February 14, 2017.            It's

   9    after the time period but obviously relating back to what we

  10    talked about before.

  11                On February 14th do you remember meeting with or a

  12    conversation -- a call, it looks like, with DLA on February 14,

  13    2017?

  14    A.    I don't recall the call specifically.

  15    Q.    It wasn't a big deal for Valentine's Day or anything?

  16    A.    Probably not.

  17    Q.    Wouldn't have been for me either, but don't tell my wife.

  18                Anyway, it says, "Sridhar's testimony has evolved and

  19    his memory has gotten better."

  20                Do you remember what that was about?

  21    A.    I don't remember specifically what it was about.           I think

  22    it's clearly about their -- they'd interviewed Sridhar more

  23    than once and that his testimony had changed or his statements

  24    had changed and his memory had been refreshed.

  25    Q.    Let me make sure I understand.        So what you're saying is
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               98

   1    that, through the course of these various interviews with DLA,

   2    Mr. -- well, it's not his last name, which I can't pronounce,

   3    but Sridhar's --

   4                THE COURT:    We're getting a little far afield here,

   5    sir.

   6                MR. LUSTBERG:     Well, no, this goes to the

   7    direction --

   8                THE COURT:    It's not a deposition.      Let's -- we're

   9    talking about the issue of domination or not of the company by

  10    the government, and the ins and outs of --

  11                MR. LUSTBERG:     You're right.    So I'll get off this

  12    Sridhar piece.

  13    BY MR. LUSTBERG:

  14    Q.     But the point I really wanted to talk about here was the

  15    documents.    And this is just what we were talking about before.

  16    Where it says KG, that's you.        "It would be helpful to keep

  17    track of what is being shown to him for the first time."

  18                Do you see that?

  19    A.     Correct.

  20    Q.     And so that's what you were referring to earlier, that you

  21    said you weren't so sure that you told them to keep track, but

  22    this looks like you're telling them to keep track, right?

  23    A.     I think what I may have meant is the documents that he was

  24    seeing for the first time, specifically, if he hadn't seen them

  25    before, or it could be just asking them to keep track.
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               99

    1    Q.    Why the documents that he's seeing for the first time?

    2    A.    Well, if I'm interviewing a witness, I would just want to

    3    understand what they'd said in other contexts and what their

    4    answers would have been.      And especially if he's talking about

    5    his answers changing or his recollection getting better, I

    6    think I might have just been trying to piece together what was

    7    it that was jogging his memory if he was seeing something for

    8    the first time.

    9    Q.    And then just a little bit later -- and I'm just going to

   10    direct your attention to this exhibit just to do it quickly.

   11    On Exhibit 28, page 2 of 6 at the top.

   12    A.    Okay.

   13    Q.    Now, the date on this is February 24th, 2017; so this is

   14    before the government has done their interviews, Cognizant is

   15    finishing up -- is doing theirs, right?

   16    A.    I don't believe we had interviewed anybody at this point.

   17    Q.    Right.

   18    A.    I think Cognizant was continuing to do interviews --

   19               THE COURT:     I'm sorry.    Say that date again, please.

   20               MR. LUSTBERG:     It's February 24th.

   21               THE COURT:     February 24th.

   22    BY MR. LUSTBERG:

   23    Q.    And you say to DLA, "Can we talk about it first if you're

   24    going to show documents that people may not have received?"

   25               Do you see that?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                               100

    1    A.    Yes.

    2    Q.    Okay.   So what did you mean by that?

    3    A.    Well, I mean, my practice as a prosecutor and

    4    investigator -- and I think most of my colleagues -- was to

    5    prefer to not show witnesses documents that they -- that they

    6    weren't -- they didn't either author or receive or they weren't

    7    cc'd or they hadn't seen before.

    8                 So that would certainly affect my own separate

    9    investigation when I was going to interview that witness.            If

   10    that person had seen documents that they weren't on, I would

   11    want to know that.     And I would want to understand how that

   12    played into the answers that they gave.

   13    Q.    But if I understand this question correctly, you're saying

   14    that, before they showed particular documents to people for the

   15    first time, you want to discuss it with them, right?

   16    A.    No, I said -- I think what I'm saying here is if they were

   17    planning to show documents that people hadn't received

   18    before --

   19    Q.    Uh-huh.

   20    A.    -- meaning they weren't sent to them or they weren't on

   21    them, that I would want to talk about that first.           There may

   22    be -- again, not to direct the company what to do, but to,

   23    again, maybe ask the company to hold off on showing them that

   24    document or something like that.

   25                 But just to understand what they were planning to do
                           United States District Court
                                 Newark, New Jersey
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    1    with that witness because that would have an effect on my

    2    investigation, my separate, independent assessment of that

    3    person's credibility and the answers that that person gave me

    4    when I spoke with that person.

    5    Q.    Got it.   And that really goes to the question I'm asking,

    6    and then I'll get off this line, which is you say that's not

    7    direction, but it says, "Can we talk about it first if you're

    8    going to show documents that people may not have received?"

    9                 It sounds like you're giving direction to Cognizant,

   10    to their lawyers, as to how to handle these interviews in the

   11    sense of, before they show them a particular document, you want

   12    to see it first.

   13    A.    I wouldn't put it that way.       I think I was asking can we

   14    talk about it first.

   15    Q.    Okay.

   16    A.    I was sincere in that.      I don't think at this point DLA --

   17    you know, it had been several months.         And I think any

   18    colleagues who've worked with me before would know that I say

   19    what I mean.    So if I said can we talk about it, I meant can we

   20    discuss it.

   21    Q.    Before they show it to the witness?

   22    A.    Yes.

   23    Q.    So between the time you got involved in this case in

   24    September 2016 up until February 2017, Cognizant -- which had

   25    begun its investigation even before that, you knew -- had
                           United States District Court
                                 Newark, New Jersey
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    1    already conducted numerous interviews, right?

    2    A.    I believe that's correct.

    3    Q.    Right.   And, in fact, they conducted interviews of 44 of

    4    the 45 people that the government ultimately interviewed; is

    5    that correct?

    6    A.    I don't know if that's correct, but that doesn't sound

    7    impossible.

    8    Q.    Pardon me?

    9    A.    It doesn't sound impossible.

   10    Q.    It doesn't sound impossible?

   11    A.    Yes.

   12    Q.    Okay.    And the way you found out about the interviews was

   13    through a process of downloads, right?

   14    A.    The -- yes.    I mean, that's the term people used.         The law

   15    firm would read out to us the facts that were uncovered of what

   16    a witness said in an interview.

   17    Q.    Okay.    So how was it decided which downloads you would

   18    receive?

   19    A.    I can't remember specifically.       I think at times there

   20    were sort of the obvious people that were relevant to the

   21    conduct that we were investigating, and we may have asked

   22    specifically for other people.

   23    Q.    So I just want to make sure I understand.         So did

   24    Cognizant present certain witnesses for whom they would do

   25    downloads and then you supplemented them and said we want
                            United States District Court
                                  Newark, New Jersey
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                            Gingras-Direct-Lustberg                             103

    1    others?   Or did you request that they download to you specific

    2    witnesses?

    3    A.    I can't recall.     It could have been a combination of those

    4    things.   I just don't remember.

    5    Q.    All right.    So did you ever check to make sure that you

    6    got downloads of all of the witnesses that they had interviewed

    7    to make sure that you understood the full scope of the

    8    investigation?

    9    A.    Well, I know they interviewed a lot of people that were

   10    part of other sort of offshoots of their investigation.            I

   11    think it was pretty massive.       And some we weren't interested

   12    in; so I don't think we would have asked for downloads for

   13    those witnesses.

   14    Q.    Do you remember ever asking for downloads -- specifically

   15    asking for downloads of witnesses that Cognizant had not

   16    provided?

   17    A.    I don't recall specifically.       I imagine that we would have

   18    asked to hear about what people said.         And I can't remember if,

   19    for example, Casari was one of those people.          But I have a

   20    vague recollection; I just don't remember specifically.

   21    Q.    Okay.   So based on the discovery we've seen, it looks like

   22    Cognizant did 450 interviews, and we have downloads for 45 of

   23    them.

   24                Do you know whether -- how many downloads you had?

   25    A.    I don't recall how many I had.       It certainly wasn't 400.
                            United States District Court
                                  Newark, New Jersey
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    1    Q.    Would you be concerned -- if you knew there were a lot of

    2    interviews and that you weren't getting downloads of all of

    3    them, that you weren't getting the whole story?

    4    A.    No, not in this case because I think there were, like I

    5    said, a lot of -- there were a number of projects, a number of

    6    parts of the business that the company's internal investigation

    7    covered that I think the -- my AUSA colleague and I and the FBI

    8    determined we weren't specifically interested in.

    9                 So if there had been people that we had heard about

   10    or seen in emails when we were conducting our own review and we

   11    knew that those people were interviewed, then we would try to

   12    seek downloads of those people.

   13    Q.    And I think I asked this before.        I apologize if I did.

   14    But when you would get a download, would you do anything to

   15    check to make sure that that download accurately reflected what

   16    the person had actually said?

   17    A.    Yes.   I mean, I think, as best I can recall, that I

   18    would -- that we would -- you know, we were conducting our own

   19    investigation and reviewing the documents, documents we were

   20    getting from the company, from other sources.          And so, I mean,

   21    I think we would evaluate downloads within that -- within that

   22    context.

   23                 I mean, of course we were eventually going to

   24    interview those people; so we were trying to get a full picture

   25    of what they said.     And I think we might ask sort of specific
                           United States District Court
                                 Newark, New Jersey
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                            Gingras-Direct-Lustberg                             105

    1    questions if we thought there were areas that we needed to

    2    follow up on.

    3    Q.    Okay.    There was one witness about whom we've received

    4    information named -- first name is Venkatesan, and this is

    5    during the time that you were there.

    6                So let me show you Defense Exhibit 31 -- I'm sorry.

    7    Yes, that will tell you who that is.

    8                Do you remember this witness?

    9    A.    I'm sorry.    Defense Exhibit 31?

   10    Q.    Right.

   11    A.    Oh, Venkatesan.     No, I don't remember who this is.

   12    Q.    So when you say you don't remember, is that because there

   13    was no download of this witness?

   14    A.    No.   I don't remember -- I don't know whether there was a

   15    download or not.       I don't remember a lot of these names.       It's

   16    been many years.

   17    Q.    So we don't see a memo of a download, which may or may not

   18    mean anything, but you don't have a recollection of a download

   19    from this witness, Venkatesan?

   20    A.    I don't remember a --

   21    Q.    Okay.    Okay.

   22    A.    -- download.

   23    Q.    In particular, let me see if you would remember it because

   24    this witness denied receiving bribe demands.          This was the

   25    project manager for KITS, for the KITS Campus, which, as you
                            United States District Court
                                  Newark, New Jersey
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                            Gingras-Direct-Lustberg                              106

    1    know, is the subject of the bribe, and denied the payment of

    2    any bribe and so forth.

    3               You would remember if you had gotten that download,

    4    right?

    5    A.    Maybe.   I recall that there were a number of people who

    6    were involved in the project who denied knowing anything about

    7    the bribes.

    8    Q.    Okay.    So there were a number of people involved in the

    9    project who said they had no knowledge of the bribes?

   10    A.    I recall that there were certainly some.

   11    Q.    This is the project manager.       Doesn't ring a bell at all?

   12    A.    I don't recall it.

   13    Q.    Okay.    Thanks.

   14               How about the downloads that you got of, let's say,

   15    Mr. Schwartz's interview, his September 23rd, 2016, interview?

   16    Do you remember receiving that download?

   17    A.    I know we did.     I can't recall the specifics of it.        I

   18    don't know if it was that October 6th meeting where we had the

   19    first meeting or if they went into more detail at a later time.

   20    Sometimes they would give us sort of just an overview, and then

   21    we would get sort of more detail on a separate occasion.

   22    Q.    Okay.    I want to show you the interview memo with regard

   23    to that interview of Mr. Schwartz, which is Exhibit 57 in your

   24    binder.

   25               MR. LUSTBERG:     Don't put it up, please.
                           United States District Court
                                 Newark, New Jersey
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                            Gingras-Direct-Lustberg                             107

    1    A.    Okay.

    2    BY MR. LUSTBERG:

    3    Q.    I take it you never saw this, right, because that's the

    4    kind of thing that you wouldn't ask for since you thought it

    5    would be privileged, right?

    6    A.    Correct.

    7    Q.    And my question is -- and directing your attention to

    8    page 5 of that.

    9                 MR. LUSTBERG:   Again, please don't put it up.

   10    BY MR. LUSTBERG:

   11    Q.    Sorry.   The last paragraph on that page.

   12    A.    Okay.

   13    Q.    You see where it says that Mr. Schwartz had a call and

   14    said that he had reported up the information that's there in

   15    that paragraph, which I'm not going to say because this

   16    isn't -- it's not public.

   17    A.    Sorry.   One minute.

   18    Q.    Yeah.    Mr. Schwartz talked to members of the board with

   19    regard to this matter, indicated that he reported up what he

   20    had learned after Monday, August 8th, because of the amount at

   21    issue, the specificity, and the ongoing investigation.

   22                 Do you see that?

   23    A.    Yes.

   24    Q.    Was that information of which you were made aware by

   25    Cognizant?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 109 of 267 PageID: 25211
                           Gingras-Direct-Lustberg                              108

    1    A.    It doesn't sound totally unfamiliar, but I don't recall

    2    specifically.    I know that there was -- seem to recall them

    3    telling us that he had raised issues like this.

    4    Q.    When you say "raised issues like this," they told you that

    5    he had raised issues with regard to this transaction and, even

    6    though he's charged with it, that he had reported it up to

    7    people above him?

    8    A.    I don't remember this -- not this specific transaction.            I

    9    guess what I'm saying is I remember them -- I guess I'm sort of

   10    confused with what the context is, what this actually is.

   11    Q.    Take a look.    This is a section that says "Response to

   12    potential improper payments."

   13    A.    Okay.

   14    Q.    And this is a memo of the September 23rd interview that

   15    the government apprised you of.

   16               What I'm asking you, do you remember them apprising

   17    you that, some time after a call on Monday, August 8th,

   18    Mr. Schwartz reported up what had occurred because of the

   19    amount an issue, the specificity, and the ongoing

   20    investigation?

   21               Do you remember being told that by counsel for

   22    Cognizant?

   23    A.    Sir, what is the amount at issue?

   24               Can I have one minute to just read this --

   25    Q.    Absolutely.
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 110 of 267 PageID: 25212
                           Gingras-Direct-Lustberg                              109

    1    A.    -- page?

    2    Q.    Sorry.   Yes.

    3               THE COURT:     Listen, I get it, and I'll permit you to

    4    put in selected parts, but we've got to have an intelligible

    5    record here.

    6               MR. LUSTBERG:     Pardon me?

    7               THE COURT:     We've got to have an intelligible record

    8    here.

    9               MR. LUSTBERG:     Yeah.

   10               THE COURT:     This record cannot read, well, you see

   11    this thing over there?      Well, did you know about that?        Help us

   12    out a little bit.

   13               MR. LUSTBERG:     Okay.   One second.     Let me make sure

   14    this hasn't been redacted.

   15               (Discussion off the record between counsel.)

   16               MR. LUSTBERG:     Judge, I can do this.      I just wanted

   17    to make sure I wasn't doing something that had been redacted

   18    since we're in open court.

   19               Jesse, if you can just pull up Exhibit 57, fifth page

   20    and the bottom paragraph.

   21    BY MR. LUSTBERG:

   22    Q.    And it says, "Schwartz continued" -- at his interview --

   23    "that after the Monday, August 8th, call with Mani, Dana got on

   24    a call with Frank -- Francis D'Souza ("Frank"), chief executive

   25    officer, and Karen McLoughlin, chief financial officer,
                           United States District Court
                                 Newark, New Jersey
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    1    followed by a call with the audit committee chair.           Schwartz

    2    also spoke to all but one member of the board.          In this case

    3    Schwartz indicated that he 'reported up' because of the amount

    4    at issue, the specificity, and the ongoing litigation [sic]."

    5               My question to you is that, when you got the download

    6    of this information, was that information made available to

    7    you?

    8    A.     This doesn't sound totally unfamiliar to me.         So I don't

    9    recall specifically, but -- and I guess my question is, is this

   10    about the $330,000 demand?       Is that what we're talking about

   11    that's earlier on the page?

   12    Q.     Yeah.   I mean, you have the same information as I do.

   13    A.     Yeah.   So, again, that sounds familiar to me; and so I

   14    think I heard it at some point, but I don't recall specifically

   15    when.

   16    Q.     Okay.   And you don't recall whether it was specifically

   17    part of a download that you received from Cognizant?

   18    A.     I don't.

   19    Q.     Okay.   Just to reiterate and ask a couple questions about

   20    this, and we're getting close to being done here.

   21               The road map -- strike that.

   22               We talked about the fact that Cognizant's counsel had

   23    interviewed all of the witnesses before the government did,

   24    correct?   Except for one.

   25    A.     I don't know that, but I'll assume it, sure.
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lustberg                            111

    1    Q.     Okay.    Does that concern you that, by doing that,

    2    Cognizant will have -- in many cases, interviewing them more

    3    than once, will have influenced what they're going to say to

    4    you?

    5    A.     Sure.    I mean that would be something I would take into

    6    consideration, absolutely.

    7    Q.     Uh-huh.    And you would take it into consideration because

    8    it's possible -- not just possible that people, once they say

    9    things and say things multiple times, then they'll stick to

   10    that story, right?

   11    A.     Yes, stick to that story or change their story or any

   12    number of things.

   13    Q.     Right.    Well, in terms of whether that occurred here, are

   14    you -- one of the things you said before is that sometimes the

   15    government would prefer to interview somebody first, right?

   16    A.     Correct.

   17    Q.     And one of the reasons for that is because the government

   18    wants to get the first crack at them before their story is told

   19    to somebody else because that can influence what they say,

   20    right?

   21    A.     In certain circumstances, yes.

   22    Q.     And my question is, when you have all those interviews

   23    that are done in advance, isn't it really the case that what

   24    Cognizant has done is kind of created the narrative for what

   25    the government is looking at by the time they come in six
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 113 of 267 PageID: 25215
                           Gingras-Direct-Lustberg                              112

    1    months later?

    2    A.    No, not necessarily.

    3    Q.    Okay.    When you say not necessarily, under what

    4    circumstances would that not be the case?

    5    A.    Well, because the team -- the AUSA and I and the FBI were

    6    conducting our own assessment of the information that Cognizant

    7    is providing us, the information that we are getting from other

    8    sources, and law enforcement steps we're taking.          We're doing

    9    document review.     I remember hiring a -- we hired a third-party

   10    vendor to actually help us because it was so voluminous.            So we

   11    were actually trying to get our arms around and understand what

   12    it was we were looking at.

   13               And we knew we'd gotten a version of events from the

   14    company, but that was the company's version.          We're not on the

   15    same team, and I understand they have an agenda.          They want

   16    cooperation credit, and they want a certain result at the end

   17    of the day.    But we're doing our own -- we're taking our own

   18    steps to understand the case and focus our investigation on

   19    where we're trying to go.

   20    Q.    Right.   I totally understand.      And my question for you is,

   21    though, if you're trying to assess the credibility of their

   22    version of what occurred, which is what you just said, that you

   23    assess whether their version of what occurred is the one that

   24    the government accepts, right?       That's what you said?

   25    A.    That I accept it?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 114 of 267 PageID: 25216
                            Gingras-Direct-Lustberg                             113

    1    Q.    Yes.   So the question is Cognizant presents you with a

    2    narrative of what they believe occurred, right?

    3    A.    Yes.   They gave us the facts as they understand them.

    4    Q.    Right.   And you want to take a good, hard, neutral look at

    5    that to make sure they're the facts that the government

    6    accepts, right?

    7    A.    Correct.

    8    Q.    And that's true in part because Cognizant and the

    9    government don't have the same interests, right?

   10    A.    Correct.

   11    Q.    And Cognizant's interests are -- leaving aside getting

   12    cooperation credit, they may have a particular version of

   13    events that they wish to, you know, advance, right?

   14    A.    Sure, yes.

   15    Q.    So your job is to take a good hard look at that and make

   16    sure that's what you think is the correct version of events,

   17    right?

   18    A.    Right.   My job is to determine what I think the actual

   19    version of events were.

   20    Q.    Right.   And my question is isn't it the case, though, that

   21    that's harder for you to do if you're doing it after they've

   22    interviewed all the witnesses and produced all the documents

   23    because it kind of lays out the foundation or road map for what

   24    it is that you're seeing?

   25    A.    Well, I think there certainly are challenges and there's
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 115 of 267 PageID: 25217
                           Gingras-Direct-Lustberg                              114

    1    advantages to that as well.       I mean, part of, you know, what

    2    the department struggles with -- the Department of Justice and

    3    any investigator is going to struggle with is, you know, we

    4    can't just tell the company to stand down and stop.           We're

    5    trying to also learn the case.

    6               Like I said, there's tons of documents in this case.

    7    We're trying to get our arms around what actually happened.

    8    I'm not going to interview someone until I have a real solid

    9    understanding of documents and what -- that will form the basis

   10    for what I can actually interview that person on.

   11    Q.    Right.

   12    A.    So, you know, there may be times where it's appropriate to

   13    ask a company to hold off if I'm ready to go or we're ready to

   14    go, but in other instances -- you said that they'd been

   15    investigating for months.      I don't know that they were

   16    investigating this specific conduct for months ahead of time.

   17    I don't know where they were, but they seemed to be continuing

   18    on their investigation and taking their own investigative

   19    steps.

   20    Q.    Okay.    Let me unpack that a little bit.       Let me just talk

   21    about that last part first.

   22               You knew that from September, early September 2016,

   23    when you were brought into this case, until you started doing

   24    your investigation, interviewing people, subpoenaing documents,

   25    that sort of thing, beginning in February of 2017 --
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 116 of 267 PageID: 25218
                           Gingras-Direct-Lustberg                              115

    1    A.    Well, I apologize.

    2    Q.    No.   Go ahead.   I want the facts correct.

    3    A.    Our first interview may have been in February, but that

    4    wasn't -- we had not started an investigation.

    5    Q.    Fair enough.    So let me ask my question differently.

    6                So between the time that you got involved in the case

    7    in early September of 2016 until the time you began doing

    8    interviews and subpoenaing documents, which begins in February

    9    of 2017 --

   10    A.    Uh-huh.

   11    Q.    Do I have those facts right?

   12    A.    The interviews, yes.

   13    Q.    Subpoenas are later, right?

   14    A.    Yeah, I don't recall when subpoenas were.

   15    Q.    So in that time period they were investigating exactly the

   16    same things as you were investigating, right?

   17    A.    Well, I'm sure there was overlap.        I took their

   18    investigation to be also broader in other areas.

   19    Q.    So you think that during that time period they were

   20    investigating other things as well?

   21    A.    That's what I -- what I think I recall.

   22    Q.    Okay.   In any event, you said that there are times when

   23    the government asks companies to stand down on their

   24    investigation so that they can do -- so that it, the

   25    government, can do its investigation, right?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                              116

    1    A.    Well, I wouldn't say -- there's not a time where you ask a

    2    company to stand down.      You might ask -- or the team might ask

    3    the company to not take certain steps until we can take them.

    4    But the direction for department prosecutors is very clear that

    5    you're not to do that lightly and that it's supposed to be for

    6    a limited period of time.

    7    Q.    So I thought I heard you say before that the government

    8    cannot ask a company to just stop its investigation so that you

    9    can investigate.     Am I right about that, or is that not true?

   10    A.    I think that would be pretty unusual to stop -- to ask a

   11    company to just stop doing an internal investigation.

   12    Q.    So I just have a few more areas that I just want to go

   13    into, but we're almost done as I said.

   14               So my information is that you received a number of

   15    voluntary productions of documents that Cognizant turned over

   16    before there were any subpoenas, right?

   17    A.    I believe that's correct.

   18    Q.    And, in fact, there were no subpoenas at all during the

   19    time period that you were there.        Am I right about that?

   20    A.    I don't know.    That seems like a fact that could be

   21    verified, but I don't recall.

   22    Q.    It absolutely can be verified.

   23    A.    Subpoenas to the company.

   24    Q.    To the company, yeah.

   25               So if I represent to you that there were no subpoenas
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 118 of 267 PageID: 25220
                           Gingras-Direct-Lustberg                              117

    1    to the company until November 8th, 2018, which is after you

    2    were gone, do you accept that that's -- may very well be true?

    3    We can get it.

    4    A.    Could be.

    5    Q.    And you know that when -- one of the advantages of issuing

    6    a subpoena is that a recipient of a subpoena knows what they

    7    have to produce, that is, what's responsive to the subpoena,

    8    right?

    9    A.    Correct.

   10    Q.    In the absence of a subpoena, they're instead making

   11    determinations as to what they think is relevant, because

   12    there's no responsiveness; is that fair?

   13    A.    No.   They could be responding to oral requests that I

   14    made.

   15    Q.    Okay.   So either responding to oral requests or -- are you

   16    aware that in this case Cognizant made certain determinations

   17    as to what was relevant?

   18    A.    No, although "relevant" I know has a very specific term.

   19    I don't know that they thought they were making relevance

   20    determinations for the purposes of, you know, a criminal trial

   21    or that sort of thing.

   22    Q.    Let me see if I have anything that would be helpful here.

   23    We'll wait.

   24                I did want to ask about privilege.        During the time

   25    that you were there, do you recall receiving a privilege log?
                           United States District Court
                                 Newark, New Jersey
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                            Gingras-Direct-Lustberg                             118

    1    A.    I don't recall specifically, but I believe we did.

    2    Q.    So let me just show you -- just look in your notebook

    3    because this is not the kind of thing that you can easily --

    4    A.    Okay.

    5    Q.    Take a look at Exhibit 42.

    6    A.    Okay.

    7    Q.    Do you recognize that privilege log?

    8    A.    I recognize it as a privilege log and -- based on the date

    9    that it was produced, but I don't -- I haven't reviewed this

   10    recently; so I don't recall it specifically.

   11    Q.    And I'm sorry.    I didn't hear you.

   12    A.    I'm sorry.    I recognize it as a privilege log and I see

   13    the date on there, but I don't recall specifically this.

   14    Q.    So when you say you don't recall specifically, do you know

   15    if you reviewed this privilege log to determine whether the

   16    assertions of privilege were appropriate?

   17    A.    I don't recall specifically reviewing this privilege log.

   18    If I had had it, I assume that I would have.

   19    Q.    Well, the purpose of a privilege log, right, is for the

   20    recipient of the log, the government in this case, to determine

   21    whether the assertions of privilege are appropriate, right?

   22    A.    Right.

   23    Q.    And this one says it was received -- I think this is

   24    January 11th, 2018, which was a few months before you departed

   25    the scene, right?
                            United States District Court
                                  Newark, New Jersey
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                            Gingras-Direct-Lustberg                             119

    1    A.     Six months.

    2    Q.     Six months.   Thanks.

    3                  But you have no recollection of whether you

    4    reviewed -- whether you received or reviewed this privilege

    5    log?

    6    A.     I don't know whether I did.      Either I did or Oz or Andrew

    7    Bruck or whoever the AUSA.       Someone must have looked at this.

    8    Q.     I want to just ask you about a couple of the entries on

    9    it, just literally a couple, to ask you whether that refreshes

   10    your recollection about receiving it.

   11                  Take a look at page 111.

   12    A.     Sorry.   Okay.

   13    Q.     What I want to ask you about in particular is that there's

   14    a document in the middle of the page dated April 29th, 2016,

   15    and it says, "Text message which I received in my personal" --

   16    I think it meant to say "on" -- "on my personal mobile."

   17                  It's between Mani.   And you know who that is, right?

   18    A.     Yes.

   19    Q.     And Gordon Coburn.

   20    A.     Okay.

   21    Q.     With a copy to Sridhar.     Do you see that?

   22    A.     Yes.

   23    Q.     You're aware, aren't you, that none of those people are

   24    lawyers?

   25    A.     Yeah.
                            United States District Court
                                  Newark, New Jersey
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                           Gingras-Direct-Lustberg                                120

    1    Q.    So my question is going to be, how could there be an

    2    assertion of attorney-client privilege there?

    3    A.    I don't recall this.     I can imagine ways in which it could

    4    be -- there could be an assertion of privilege.

    5    Q.    What are those ways?

    6    A.    If they're repeating --

    7                 THE COURT:   Let's not get into imagining the possible

    8    basis --

    9                 MR. LUSTBERG:   Okay.   That's fine.

   10                 THE COURT:   -- for assertion of privilege of a

   11    document he can't remember ever seeing before.

   12                 MR. LUSTBERG:   Okay.   Got it.

   13    BY MR. LUSTBERG:

   14    Q.    Okay.   The final area I just want to go into is, as we

   15    mentioned earlier, you were present for the presentation that

   16    Cognizant made with regard to the so-called Filips Factors?

   17    A.    The Filip Factors, correct.

   18    Q.    Filip, one, no plural.      Okay.   The Filip Factors.      That

   19    was May 10, 2018, shortly before you departed.          Do you remember

   20    that?

   21    A.    Yes.

   22    Q.    And those presentations were aimed at showing why

   23    Cognizant should be granted leniency.         In this case they were

   24    specifically requesting a declination, correct?

   25    A.    Yeah.   I think when companies come in and are trying to
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lustberg                            121

    1    cooperate, at some point they do a presentation based on

    2    factors that were set forth in the former Deputy Attorney

    3    General Mark Filip's factors that he laid out, and it's since

    4    been incorporated into the U.S. Attorneys' Manual as factors

    5    that the prosecution is supposed to consider when deciding

    6    whether to charge a business organization or reach some other

    7    resolution with them.

    8    Q.     Right.   And you're aware -- one of the things that they

    9    consider -- that you consider, you the government, at that

   10    point is not only what's in the U.S. Attorney Manual and the

   11    Filip memo but also, much discussed here, the Yates Memo,

   12    right?

   13    A.     Yeah.    Although I think -- well, I don't recall at that

   14    time if the Yates Memo had all been incorporated into the U.S.

   15    Attorneys' Manual, but yes.

   16    Q.     And the Yates manual [sic], doesn't it focus largely on

   17    issues of individual accountability and requires that

   18    corporations provide information if they want to receive full

   19    credit about any facts relevant to persons whom they identify

   20    as involved in misconduct; is that fair?

   21    A.     Yeah.    Well, I think that's correct.     I'd have to look at

   22    the exact language, but I think it's -- any relevant facts, but

   23    yes.

   24    Q.     The point is both the Yates Memo and you mentioned earlier

   25    the FCPA Pilot Program, which is now the FCPA corporate
                            United States District Court
                                  Newark, New Jersey
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    1    enforcement policy, are really all about individual

    2    accountability, correct?

    3    A.    Well, they're certainly focused on incentivizing

    4    corporations to cooperate with the government because the

    5    government's focus is supposed to be for a variety reasons on

    6    holding individuals accountable, correct.

    7    Q.    And that was a big focus, wasn't it, of Cognizant's

    8    presentation to you with regard to the Filip's Factors, right?

    9    When I say that was a big -- let me word it more clearly.

   10               A big focus of that presentation was that they had

   11    brought about individual accountability with regard to

   12    Mr. Coburn and Mr. Schwartz; is that fair?

   13    A.    Well, that was part of it.      I mean, there's a number of

   14    factors, and some of the factors are mitigation factors and

   15    others are aggravating factors.       So they addressed the

   16    aggravating factors as well as mitigating, and part of their

   17    mitigating argument for mitigation was their cooperation.

   18    Q.    And, in fact, that was a big part of it.         And not only

   19    their cooperation, their cooperation against Mr. Schwartz and

   20    Mr. Coburn, right?

   21    A.    Well, I wouldn't call it cooperation against Mr. Schwartz

   22    and Mr. Coburn, but they certainly provided information about

   23    the culpability of Mr. Schwartz and Mr. Coburn.

   24    Q.    Well, you're saying not against, but I want to show you a

   25    couple of things.     So let me show you Exhibit 29.        This is not
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                              123

    1    a document -- well, why don't you look at it and see if you've

    2    seen this before.     This is the outline.

    3    A.    I have not seen this before.

    4    Q.    You have not seen that before.       So I'm going to ask you

    5    whether this happened.      Take a look at page 13.

    6    A.    Okay.

    7    Q.    And under remediation, which you just mentioned, it says

    8    that "The company insisted" -- underlined -- "on cooperation,

    9    (including interviews) from both Schwartz and Coburn.           Both

   10    resigned after DLA confronted Schwartz with his notes,"

   11    et cetera.

   12                 Do you recall that that was a part of Cognizant's

   13    Filip Factor presentation?

   14    A.    I have a vague recollection that that was -- they

   15    certainly talked about Schwartz and Coburn; so I don't dispute

   16    that they may have said this.

   17    Q.    Let me do one that I think you wrote yourself.          So take a

   18    look at Exhibit 49.

   19    A.    Okay.

   20    Q.    Sorry.   Here we go.    Under Cooperation, point 4.

   21    A.    Yup.

   22    Q.    It says -- these are your notes, right?

   23    A.    These look like my notes, yes, sir.

   24    Q.    It says "Proactive cooperation:       Karl and his team

   25    doggedly persisted interviews with GC and SS."
                           United States District Court
                                 Newark, New Jersey
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    1                 Do you see that?

    2    A.    Yes.

    3    Q.    And when you say that it was not cooperation against them,

    4    I mean, this presentation was focused on what they had done

    5    with regard to GC and SS, right?

    6    A.    Yes, that was certainly part of it.

    7    Q.    Sorry.   I'm flipping around a little bit here.

    8                 Just to go back to an exhibit we looked at before,

    9    take a look at Exhibit 17, page 6.

   10    A.    Okay.    These are the paralegal notes?

   11    Q.    Yup.

   12    A.    Right?

   13    Q.    Yup.    You see where it says in the middle of the page KR?

   14    A.    Yup.

   15    Q.    This one -- page 6, do you see that?        "This one is in the

   16    category of proactive cooperation.        Karl and his team persisted

   17    in securing additional interviews with the president and the

   18    GC.   That too doesn't always happen and it's a distinguishing

   19    factor."

   20                 You know that KR is Kathy Reummler.       And so, again,

   21    my question is only -- you know, when you look at this -- I

   22    understand that they addressed other things.          A big focus of

   23    that presentation, wasn't it, in terms of getting the

   24    declination that they ultimately got was to say that they had

   25    cooperated against these two individuals?
                           United States District Court
                                 Newark, New Jersey
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                           Gingras-Direct-Lustberg                              125

    1    A.    Well, I'm not denying that it was the focus.          And it made

    2    sense.    I mean, if you're -- again, there's mitigating and

    3    aggravating factors.      And the biggest aggravating factor for

    4    the company was the fact that the former general counsel and

    5    the former president were engaged in this conduct.           So it made

    6    sense that they were, as a mitigating factor, trying to show

    7    the cooperation that they had provided with regard to those two

    8    individuals.

    9    Q.    I take it you weren't around at the time that the ultimate

   10    decision was made as to whether to grant them the declination

   11    or not?

   12    A.    No, I left shortly after this.

   13    Q.    So you can't really say what role it played, but you can

   14    say that it was a big focus of their presentation, right?

   15    A.    It was certainly an important aspect of their

   16    presentation, yes.

   17    Q.    Right.   And along those lines, take a look at that same

   18    exhibit, actually, pretty much the same page but on to page 7.

   19    Sorry.    I've got the wrong one.

   20                Actually, the top of page 7.       "We are also confident

   21    we have done everything we can to provide key evidence

   22    regarding the former officials who are the key wrongdoers.

   23    That was complicated by the fact that one was a GC; so that

   24    required an enormous amount of effort.         Hundreds of pages of

   25    documents were produced as a result of the Schwartz review.
                           United States District Court
                                 Newark, New Jersey
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    1                  "Subsidiary relating to Schwartz that the company

    2    did:   Investigated amnesia defense (by collecting medical

    3    records and providing to department)" -- department meaning

    4    DOJ; is that right?

    5    A.     I think that's right.

    6    Q.     Yup.

    7                  "SEC, looked at whole line.     That falls squarely into

    8    proactive cooperation.      We also collected his Apple notes and

    9    engaged in an effort to help you all authenticate those and the

   10    handwritten analysis.      Forensic deletion on his laptop."

   11                  We talked a little bit before about forensic

   12    deletion.     So is this telling you that they did all of that

   13    with regard to cooperating against Mr. Schwartz?

   14    A.     Yes.   This seems to reflect that they are suggesting that

   15    all of this should be mitigating for them as part of their

   16    cooperation.

   17    Q.     Cognizant argued that day that it had done everything it

   18    possibly -- I'm sorry -- responsibly could do to provide key

   19    evidence involving its former general counsel.

   20                  Do you remember them saying that?

   21    A.     That sounds correct.

   22    Q.     Do you agree that they had done everything that they could

   23    do to provide evidence against their former general counsel?

   24    A.     I don't know, sitting here today, if I could say that they

   25    had done everything.      I don't -- I'd have to think about all
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    1    the steps they took.      I haven't sort of thought through this in

    2    quite a while.

    3    Q.    Okay.   Just one last question, which is this:         From the

    4    time that Cognizant came to DOJ and self-reported this, their

    5    focus was on Mr. Schwartz and Mr. Coburn.         Would that be fair

    6    to say?

    7    A.    I don't think that would be fair to say.

    8    Q.    Okay.   Tell me why that's not fair to say.

    9    A.    Because it seemed like they were conducting an

   10    investigation and trying to figure out who else had knowledge

   11    and who else was involved.

   12    Q.    Uh-huh.   And do you know what they did in order to exclude

   13    other people?

   14    A.    Well, sitting here today, I don't recall specifically, but

   15    they interviewed a lot of people and reviewed a lot of

   16    documents.

   17    Q.    Uh-huh.   And is it your testimony that you didn't get the

   18    sense during that time period that -- well, let me back up.

   19               Based on your conversation with them, you understood

   20    that they understood that, in order for them to satisfy the

   21    individual accountability provisions of the Yates Memo and of

   22    the FCPA Pilot Program at the time, that it was incumbent upon

   23    them to provide, I think you said, all relevant information

   24    with regard to individuals, right?

   25    A.    I think that's a fair summary of what the Yates Memo --
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    1    Q.    Right?

    2    A.    -- required --

    3    Q.    I'm sorry --

    4    A.    -- or any relevant --

    5    Q.    My bad.

    6                And it was -- and you understood from early on,

    7    because they were telling you early on, that that's what they

    8    were doing, right?

    9    A.    I don't recall ever having a specific conversation about

   10    the pilot program or the Yates Memo or anything like that.

   11    Q.    You don't -- not even -- not from early on in the process?

   12    A.    No.   I don't have a recollection of that.        I certainly

   13    understood that those policies were probably driving what they

   14    were doing, but I never had a specific conversation about how

   15    what they were doing would fit into any one of the policies.

   16    Q.    Right.    And when you say you had an understanding that

   17    that was what was driving what they were doing, where did you

   18    get that understanding from?

   19    A.    I think the fact that they self-reported and were trying

   20    to cooperate with the government was indicative of -- as many

   21    companies do, that they're trying to get cooperation credit.

   22    And the process for getting that is laid out in various

   23    policies and in the U.S. Attorneys' Manual and in the

   24    sentencing guidelines.

   25                MR. LUSTBERG:    Thank you.    I have nothing further at
                           United States District Court
                                 Newark, New Jersey
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    1    this time, Your Honor.

    2                THE COURT:    All right.

    3                Counsel for Mr. Coburn, do you wish to supplement

    4    here?

    5                MR. LEWIN:    I do, Judge, just briefly.      Does it make

    6    sense to do it now?

    7                THE COURT:    Yes.   Let's do it now.     Let's get this

    8    done and break.

    9                Nick, you may want this.

   10                             (DIRECT EXAMINATION)

   11    BY MR. LEWIN:

   12    Q.    Good afternoon, Mr. Gingras.

   13    A.    Good afternoon, Mr. Lewin.

   14    Q.    When did DLA start interviewing witnesses as far as you

   15    remember?

   16    A.    I don't know exactly when they started interviewing

   17    witnesses.    I knew they had been conducting an investigation

   18    over the summer; so I assumed they had interviewed witnesses

   19    then.

   20    Q.    Do you recall when you first became aware that DLA was

   21    conducting interviews of witnesses?

   22    A.    It had to have been in the first meetings, sometime in

   23    September or at least in October when we had that first

   24    meeting.

   25    Q.    The first call you had with them, is it fair to say that
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    1    was September 14th?

    2    A.    I think that's correct.

    3                 MR. LEWIN:   Could we pull up Exhibit 4 just briefly.

    4    BY MR. LEWIN:

    5    Q.    I believe you'll see these are your notes as later

    6    transmitted to someone else.

    7                 Do you have them in front of you?

    8    A.    I've got them.

    9    Q.    Does this refresh your recollection that in your first

   10    telephone call they informed you that they had been conducting

   11    interviews of potential witnesses?

   12    A.    Yes.

   13    Q.    And this first call, again, September 14th, 2016?

   14    A.    Yes.   I mean, these are notes that I sent to Oz, who's the

   15    AUSA with whom I was partnering on this.

   16    Q.    You sent them approximately two weeks later, but they

   17    reflect a meeting on the 14th, correct?

   18    A.    Correct.

   19    Q.    Do you know why it took two weeks before you sent them to

   20    Oz?

   21    A.    I think, based on some of the other emails I've seen, I

   22    was overseas.    And I think we were waiting in anticipation or

   23    we were trying to schedule this first sort of kickoff or

   24    introductory meeting.      So I don't have a good reason why I

   25    hadn't sent it to him before that.
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    1    Q.     That's fine.

    2                  I believe you testified in response to Mr. Lustberg's

    3    questions that your best recollection, as you sit here now, is

    4    that the first interviews that the Department of Justice

    5    conducted were in approximately February of 2017.

    6    A.     I think that's right.     I think the first one we did was of

    7    Mani in February of 2017.

    8    Q.     So fair to say that that's about five or six months later?

    9    In other words, five or six months between when you initially

   10    learned that Cognizant was conducting interviews and when you

   11    conducted your first interview?

   12    A.     Yes.

   13    Q.     Now, during that period, you guys -- when I say "you

   14    guys," I mean DOJ.

   15                  DOJ is not conducting interviews; Cognizant is,

   16    right?

   17    A.     Yes.   And DOJ includes the U.S. Attorney's Office and the

   18    FBI.   Yes, we were -- we had not conducted any interviews

   19    between that period of time.

   20    Q.     Was any government agency conducting interviews?

   21    A.     Not that I'm aware of.

   22    Q.     The SEC was involved.     Were they conducting interviews?

   23    A.     I don't believe so.

   24    Q.     But you were getting summaries of witness interviews that

   25    I think were referred to -- I'm not saying it's your term --
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    1    but as downloads, right, during this time period?

    2    A.    Yes.   I believe we were getting information about the

    3    interviews during that time.

    4    Q.    So if you could just generalize.        If Cognizant is doing

    5    interviews and you guys are not, in general terms, to the

    6    extent you remember, what was DOJ doing between -- in the

    7    context of this investigation between approximately

    8    September 2016 and approximately February 2017 when you conduct

    9    the first interview of Mani?

   10    A.    I don't remember specifically what we were doing.           I know

   11    that we were trying to get documents from L&T and from other

   12    sources.     I can't remember when those started rolling in.         We

   13    were reviewing documents that the company -- Cognizant was

   14    giving us.    We would have been trying to -- I remember it being

   15    very difficult to schedule a meeting with Mani because he was

   16    overseas.

   17                 The visa issue was always very difficult to get him

   18    into the United States, and that had caused a delay.           So we

   19    eventually actually did it overseas.        So I think we were

   20    generally trying to get our arms around the documents and the

   21    conduct and try and formulate a plan to conduct our -- as we

   22    conducted our own investigation.

   23    Q.    Did you --

   24    A.    We may have served process.       I don't recall specifically

   25    what other steps we would have taken, but there certainly were
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    1    onces we could have taken.

    2    Q.    Certainly, there were ones you could have taken.          But in

    3    this case, you mentioned served process.         Certainly not on --

    4    A.    Not on Cognizant.

    5    Q.    -- Cognizant.    I think we can agree that happened later,

    6    right?

    7    A.    Right.

    8    Q.    You testified -- in response to Mr. Lustberg's question,

    9    you said, I believe, "At some point" -- this is you speaking.

   10    "At some point, we started conducting our own investigation in

   11    earnest."

   12                My question for you is going to be when do you think

   13    that was?    And I will just frame for you that the interview of

   14    Mani that you described overseas -- I believe in Rome -- was on

   15    or about February 7th, 2017.

   16                When would you say you started, quote, conducting

   17    your own investigation in earnest?

   18    A.    I don't remember specifically, but it would have been

   19    after a few weeks, after we started getting actual documents

   20    from the company and started planning whatever steps we were

   21    going to take.    I just don't recall specifically.

   22    Q.    That's fair.    I understand this is in 2017.       We're some

   23    years later.

   24                Do you know during this time period whether DLA was

   25    sharing every interview with you or just a subset of the
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    1    interviews they were doing?

    2    A.    I -- whether they were sharing every interview?          I don't

    3    know if I can remember how many interviews they'd done at that

    4    point and if they shared them all with us.

    5                 Eventually, I heard the number 500, I mean; so

    6    certainly they didn't -- we didn't ask for or get information

    7    on all 500 interviews.

    8    Q.    Yes.   I think what you're referring to is in the Filip

    9    Factors presentation, Cognizant claimed to have done 450

   10    interviews and downloaded 45 of them to the department.

   11                 And as you sit here now, do you know whether DLA was

   12    sharing the entire interview with you -- with the Department of

   13    Justice or just the parts they chose to share?

   14    A.    Well, I've never -- until -- well, I don't think I've ever

   15    seen the interview memos.      So I think they were giving us sort

   16    of general outlines.      We would follow up and ask for more

   17    information as the occasion called for it.         So I don't think

   18    they were reading line by line everything that happened in the

   19    interview.

   20    Q.    Do you recall discussions with Cognizant about the fact

   21    they were still asserting privilege over certain aspects of

   22    certain interviews and therefore not sharing them at that

   23    point?

   24    A.    I don't remember that.

   25    Q.    That's totally fair.
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    1               Was it helpful -- when you started conducting

    2    interviews, was it helpful to have the downloads?

    3    A.    I don't recall specifically, but I can't imagine that it

    4    wouldn't be helpful to know what a witness has said previously,

    5    especially on the same topics, before I question that witness.

    6    Q.    Say more about that.     Why would that -- I think you said

    7    you can't imagine why it wouldn't be helpful, but I'll just

    8    flip it around a little.

    9               Why would it be helpful to see what a witness has

   10    said previously on the same topics before you yourself as a

   11    representative of the Justice Department had to interview that

   12    witness?

   13    A.    Well, if I know how they've answered the question

   14    previously, I can make my own credibility assessments.            I can

   15    make my own assessment of what their recollection is, of

   16    whether their story has changed previously or if it's

   17    consistent.    I mean, there's a number of things that I can sort

   18    of judge for myself in the same way that I would if I were

   19    interviewing any other witness who had previously made

   20    statements to someone else on the topic.

   21    Q.    Right.   Is it fair to say it was likely you were

   22    referring -- sorry.     Let me start that again.

   23               Is it fair to say that it was likely you were

   24    reviewing the download summaries prior to crafting your own

   25    outlines or however you prepared for interviews?
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    1    A.    That we were doing that?      Like I said, we hired a

    2    third-party vendor to help us actually sift through all of

    3    these documents to do our own document search to prepare for

    4    these interviews, to make sure that we had what we needed

    5    before speaking to a witness and that we would usually circle

    6    up as a team.    The AUSA and I would have a discussion.          Whoever

    7    had the lead for that interview would draft an outline.

    8               So, you know, I don't recall referring back to

    9    interview downloads in order to frame questions.          It seems to

   10    reason that I would have referred -- at least looked at them to

   11    understand what they said before.        So I guess I apologize.      I'm

   12    thinking out loud here, but I'm trying to remember back then.

   13               I probably did refer back to them.

   14    Q.    As you sit here now, do you recall referencing statements

   15    made in a Cognizant interview to a witness whom you were

   16    directly interviewing?

   17    A.    I don't recall doing that.

   18    Q.    Is it possible you did it?

   19    A.    It's possible.    I don't recall.     I don't know that --

   20    unless there was a good reason to do that, that I would be

   21    inclined to do that.

   22    Q.    You were a prosecutor for a long time.         Isn't there often

   23    a good reason to remind a witness of what they've said before?

   24    A.    Sure.   If they're contradicting themselves or trying to

   25    change their story or -- I mean, those would seem to be the
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    1    main ones.

    2    Q.    Or if they're repeating something and you're saying --

    3    well, before you said this, does that refresh your memory?            It

    4    doesn't have to be nefarious, right?

    5    A.    Yes, although I think I would typically try to refresh

    6    someone's recollection with documents first.

    7    Q.    During Mr. Lustberg's questioning you said -- I'm going

    8    to -- this is more or less a quote.

    9                We might at times ask a company to hold off on doing

   10    an interview if we wanted to do the interview first.           We might

   11    ask the company to hold off on taking certain steps if we were

   12    trying to take our own steps, but usually that was for a very

   13    limited time and was not done without some trepidation because,

   14    again, we were trying to be thoughtful of Cognizant of trying

   15    not to interfere in whatever the company was doing in its own

   16    investigation.

   17                Does that generally sound familiar, even if I didn't

   18    get it --

   19    A.    That sounds about right.

   20    Q.    So I want to make sure I understand the Department of

   21    Justice's policy in your mind at the time regarding the order

   22    of interviews, the order of -- let's call it deconfliction.            Is

   23    that a fair term to use here?

   24    A.    Makes sense.

   25    Q.    So what is your understanding of the -- let me limit it
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    1    further -- the FCPA unit's policy on deconfliction of

    2    interviews?

    3    A.    Well, I don't think the FCPA unit had a specific

    4    deconfliction policy separate from the Department of Justice.

    5    I mean, I think a lot of what informed my answer there was

    6    department policy through the Yates Memo, which -- I think it

    7    was the Yates Memo.     It could have been in the U.S. Attorneys'

    8    Manual.   I can't remember now -- where they discuss

    9    deconfliction.

   10    Q.    But I want to be precise.      Is it your testimony today that

   11    it's Department of Justice policy that the Department of

   12    Justice stands back and waits so as not to interfere with

   13    private actors conducting their own interview -- so what --

   14    policy, practice, what is the practice with regard to what

   15    order -- in what order interviews occur as between the Justice

   16    Department on one hand and a private entity on the other?

   17    A.    I don't think there's any standard practice.          I think

   18    every case is different.      And depending on how the case comes

   19    in from the company, the company could be done with an internal

   20    investigation.    They could have completed it and are presenting

   21    us with their findings.      Or they could be just at the

   22    beginning, or they could be in the middle or any number of

   23    places.

   24               So in any of those circumstances, it's going to

   25    present different challenges, I think, for the department's
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               139

    1    investigation.    If it's an ongoing internal investigation by

    2    the company at the same time, then I think certainly I -- and I

    3    think the department's policy -- are not wanting to tell --

    4    dictate to companies how they can and can't do their own

    5    investigations.

    6               And so I can't -- and I can't remember the specific

    7    policy, but I think there's even an example of, for example,

    8    asking a company to hold off on doing an interview because the

    9    department has reasons to want to do it first but that there

   10    should be a time limit to that and not just basically shutting

   11    down a company's internal investigation.

   12    Q.    But some might say that this is exactly the reverse.           When

   13    the Department of Justice has a criminal investigation, serious

   14    stakes could result in the loss of liberty to a human being,

   15    the Department of Justice wants to go first.          The Department of

   16    Justice wants to collect its evidence first.          The Department of

   17    Justice wants or should want to interview witnesses first

   18    before any private party --

   19               THE COURT:     Is there a question here?

   20    BY MR. LEWIN:

   21    Q.    -- conducts the interview.

   22               Is that not your understanding of Department of

   23    Justice procedure?

   24               MR. LEWIN:     I got there, Judge.

   25    A.    No, I don't take the Department of Justice policy to be
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               140

    1    that we always have to go first.

    2    BY MR. LEWIN:

    3    Q.    Have you been involved in investigations that also involve

    4    what I'll call a parallel investigation by the SEC?

    5    A.    Yes.

    6    Q.    And in those investigations does the Department of Justice

    7    step aside so as not to interfere with the SEC's investigation?

    8    A.    No.

    9    Q.    Have you been involved in investigations involving the

   10    CFTC?

   11    A.    I don't think I've worked with the CFTC.

   12    Q.    Let's just go broader.      In a typical investigation of

   13    possible criminal activity, the government tries to interview

   14    witnesses as close in time to alleged criminal activity as

   15    possible; is that fair to say?

   16    A.    Yeah, but there are a lot of circumstances that one has to

   17    take into account, that prosecutors have to take into account.

   18    Especially in cases like this that are document-intensive, it

   19    would be, frankly, malpractice if you just ran in and did an

   20    interview when you didn't have a full grasp of the universe of

   21    conduct that you're trying to learn about.         So --

   22    Q.    So -- I apologize.

   23    A.    So if there are -- you know, it's a voluminous set of

   24    documents.    Again, there's no ongoing crime.        There's no one

   25    fleeing, there's no spoliation of evidence, there's nothing
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Direct-Lewin                              141

    1    sort of immediate, then our practice on this case with the U.S.

    2    Attorney's Office and DOJ and in other cases that I've worked

    3    on is to work diligently to try and do that quickly but to also

    4    make sure that you're prepared going into it.

    5               In addition, when you're talking about foreign

    6    witnesses, as a lot of these witnesses were, there's so many

    7    complications that are involved.        So I couldn't just get on a

    8    plane -- and we couldn't just get on a plane and fly to India

    9    the next day.    That's not how it works.

   10    Q.    So you're saying essentially it would be, I think you

   11    said, basically malpractice to rush in -- for DOJ to have

   12    rushed in and tried to do these interviews at that early point

   13    in time before reviewing the documents?

   14    A.    Well, I was speaking hyperbolically, but --

   15    Q.    I'm not trying to draw a legal conclusion.         It would have

   16    been bad practice for DOJ to do that?

   17    A.    I think we wanted to make sure that we were prepared

   18    before we talked to a witness, and that included reviewing

   19    documents and understanding the case and not just taking what

   20    the company was telling us was the case.

   21    Q.    So why isn't it bad practice for the company to be doing

   22    exactly what you just described?

   23    A.    Why is it --

   24    Q.    Why is it not bad practice for the company to be going in

   25    and conducting these exact interviews?
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               142

    1    A.    I'm not going to opine on what the company decided to do

    2    and what -- its own practice and how it conducted its

    3    investigation, but they're separate from what I was doing.

    4    Q.    But you're relying upon the company's downloads, at least

    5    in the first instance, as part of your information gathering?

    6    A.    Well, if the company is going to decide to interview

    7    witnesses and those are witnesses that we are going to want to

    8    interview, then I would certainly want to know, as I think any

    9    prosecutor in America would want to know, what that person said

   10    in that interview before I talked to them.

   11    Q.    And the way you would find out what they said is by

   12    relying on the company?

   13    A.    Yes.

   14    Q.    You describe the company as -- in certain -- in answer to

   15    Mr. Lustberg's question as, in certain ways, just like a

   16    cooperating witness, they're coming in to give information in

   17    the hopes to get leniency in exchange, right?

   18                 How is a company like a cooperating witness?

   19    A.    Well, I think exactly what you just said and what I had

   20    previously said.     They're trying to curry favor with the

   21    government by providing information to the government that the

   22    government would deem useful and helpful.

   23    Q.    Does that mean generally you would treat a company coming

   24    in with some degree of scepticism because you recognize that

   25    they are essentially like a cooperating witness?
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               143

    1    A.    Certainly.

    2    Q.    And in terms of this case, what, if anything, do you

    3    recall doing to challenge or, in your words, pressure-test what

    4    Cognizant was doing as a cooperating witness that couldn't

    5    necessarily be fully trusted not because of anything ethical

    6    but because of divergent interests?

    7    A.    Well, I think, as in any case, the team would assess the

    8    information that we were acquiring through various sources

    9    either from the company or from third parties or other -- there

   10    was another company -- an Indian company from whom we were

   11    trying to acquire information and make an assessment of whether

   12    the story we were hearing and facts we were getting were, in

   13    fact, consistent with what we would see.

   14               And when we conducted interviews, you know, we would

   15    certainly assess whether what we were hearing from those

   16    witnesses were consistent or different or -- you know, than

   17    what they had said in previous interviews.

   18               And then just in the responsiveness of the company to

   19    any requests that we would make, the posture that the company

   20    would take with regard to information, it was just a constant

   21    assessment from beginning to end on how the company was

   22    conducting itself.

   23    Q.    In your opinion based on your experience, is a witness

   24    more likely to answer your questions or company counsel's

   25    questions?
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 145 of 267 PageID: 25247
                             Gingras-Direct-Lewin                                144

    1    A.    What witness are we talking about?

    2    Q.    A given witness.     Which is more likely to yield an

    3    interview in which someone participates, the Department of

    4    Justice interview or the company's interview?

    5    A.    I mean, it depends entirely on the circumstances.           Do you

    6    mean in this case specifically or generally?

    7    Q.    Why don't we start generally.       What kind of circumstances

    8    would make it more likely that a potential witness would answer

    9    a government interview as opposed to their employer's questions

   10    during an interview?

   11    A.    I'm sorry.    Are you drawing a distinction between if --

   12    are you saying, if a witness had a choice to cooperate with one

   13    or the other or talk to one or the other, that they would

   14    choose us over them?      Is that the question?

   15    Q.    No.   The question is just, based on your experience,

   16    whether you have a sense as to whether people are more likely

   17    to answer questions asked by their employer in the context of

   18    interview or the Justice Department and FBI?

   19                THE COURT:    Maybe you can answer that on a general

   20    level; maybe you can't.      But let's get moving.

   21    A.    I mean, I think there are certainly lots of hurdles for

   22    the government because people are worried about sitting in

   23    front of an FBI agent.      But given -- I've seen this in my own

   24    experience in the last few years, internal to a company.            I

   25    think people are just as nervous talking to security or, you
                            United States District Court
                                  Newark, New Jersey
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                             Gingras-Direct-Lewin                                 145

    1    know, an ethics investigator or what have you.          So I think they

    2    both have challenges, but perhaps it's more difficult to get

    3    someone to talk to the government.

    4    BY MR. LEWIN:

    5    Q.    I believe you testified in response to Mr. Lustberg's

    6    questions that you don't recall talking to DLA about the

    7    conditions of the interviews.       And by "conditions," I'm

    8    referring specifically to the requirement that there be one

    9    lawyer present, that lawyer not take any notes, not ask any

   10    questions or comment.

   11               Am I correct that you don't recall having

   12    conversations with DLA about those conditions?

   13    A.    I don't recall specifically.       They may have told me.      I

   14    don't recall specifically.

   15    Q.    Is it fair to say those are coercive conditions?

   16    A.    I mean, depends what you mean by "coercive."          If you're --

   17    I can tell you some companies would never allow a lawyer in the

   18    room, period.    So I think it's relative.

   19    Q.    I think we are in agreement.       The DOJ couldn't impose

   20    conditions like that on an interview?

   21    A.    Certainly.    Certainly not I should say.

   22    Q.    Do you believe that today during the hearing and reading

   23    the briefs was the first time you heard about those conditions,

   24    or do you believe that it was some time in the past when you

   25    were involved?
                            United States District Court
                                  Newark, New Jersey
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                             Gingras-Direct-Lewin                               146

    1    A.    I'm not precluding the possibility that they told me.           I

    2    just don't recall having an independent recollection of that,

    3    and I know that I read them about the -- in the briefs that I

    4    skimmed in preparing for this hearing.

    5    Q.    Do you recall discussing with DLA the representation of

    6    employees, whether employees would be or would not be

    7    represented or recommended to get a lawyer?

    8    A.    I recall having those discussions at times, yes.

    9    Q.    Would it have been appropriate for the Justice

   10    Department -- more in play the Justice Department -- to ask

   11    company counsel whether or not they are recommending that a

   12    certain employee obtain counsel?

   13    A.    Whether or not the company is recommending?

   14    Q.    Yes.

   15    A.    I guess I would have to know the context of the

   16    conversation.

   17                 MR. LEWIN:   Could we bring up Exhibit 32.       I believe

   18    it's page Bates number ending in 30.

   19    BY MR. LEWIN:

   20    Q.    Do you have that in front of you?

   21    A.    32?

   22    Q.    Exhibit 32.

   23    A.    Yes, I have 32.

   24    Q.    Just take a moment to review that, and I'm going to grab

   25    mine as well.
                           United States District Court
                                 Newark, New Jersey
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                               Gingras-Direct-Lewin                             147

    1    A.    Sir, where am I looking?

    2    Q.    If you're looking at the bottom of the page, again,

    3    Defense Exhibit 32, it's page 7 of 10.         The Bates number ends

    4    in 30 at the bottom of the page.        It's sort of the last full

    5    bullet point.       And I'll represent to you that these are

    6    paralegal notes regarding a December 7th, 2016, download from

    7    DLA to DOJ.

    8                 First, do you know who DA is?

    9    A.    I don't, because it's not -- I don't know who DA is.

   10    Q.    Could you just read these five -- the bullet -- the five

   11    lines -- sorry -- six lines at the bottom there.

   12    A.    Okay.

   13    Q.    Read them out loud if you would.

   14    A.    "DA:    BG have a lawyer?

   15                 "DLA:    No.    We are interviewing Raj Gosh tomorrow,

   16    and he lives in U.S.

   17                 "DA:    BG is still cooperative?

   18                 "DLA:    Yes.

   19                 "DA:    Will you recommend that he obtain counsel?

   20                 "DLA:    We do not do that but will tell him."

   21    Q.    That's all.     You're welcome to go on if you'd like.        But

   22    my question is -- well, first, is it fair to say that DA is

   23    likely a member of the government team given the context?

   24    A.    I mean, given the context, perhaps, although there was no

   25    one on the government team named DA.
                              United States District Court
                                    Newark, New Jersey
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                             Gingras-Direct-Lewin                               148

    1    Q.    As you sit here now, can you think of a legitimate reason

    2    why Cognizant would be asking about whether -- sorry -- about

    3    whether the government would be asking whether Cognizant will

    4    recommend that a witness obtain counsel?

    5    A.    I mean, if, in fact, that's what this was -- I'm sorry.

    6    What was your question?      Can I think of a reason why --

    7                 THE COURT:   Are you asking him to assume that DA is

    8    on the government team even though he doesn't know anybody

    9    named DA on the government team?

   10                 MR. LEWIN:   I am, Judge.

   11                 THE COURT:   On that assumption, to answer the

   12    hypothetical question, would that be okay?

   13                 MR. LEWIN:   I am, if only because context doesn't

   14    seem to permit a different interpretation given that DLA is

   15    clearly --

   16                 THE COURT:   I'm just trying to clarify the question.

   17                 MR. LEWIN:   Yes, Judge.    But I can withdraw it if

   18    Your Honor --

   19                 THE COURT:   No, go ahead.

   20    A.    I'm sorry.    Your question is, is that --

   21    BY MR. LEWIN:

   22    Q.    Yes.   Assuming for a moment that DA is, in fact, on the

   23    government team --

   24    A.    Right.

   25    Q.    -- is it appropriate for the government to be making that
                            United States District Court
                                  Newark, New Jersey
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                             Gingras-Direct-Lewin                                149

    1    inquiry about the recommendation of counsel?

    2    A.    I don't think it's necessarily inappropriate.          Again, I

    3    haven't read the context of this entire exchange.           But I think

    4    if he were someone that we wanted to interview and he has

    5    counsel, then we would want to know that so that we could work

    6    through that counsel.

    7                 MR. LEWIN:   Okay.   If we can pull up defense

    8    Exhibit 2 and go to page 1.       If we can scroll in on that top

    9    email.

   10    BY MR. LEWIN:

   11    Q.    Mr. Lustberg showed you this before.

   12    A.    Okay.

   13    Q.    Here DLA is providing DOJ personal, not company, email

   14    addresses, correct?

   15    A.    Yes.

   16    Q.    Do you know what steps or do you believe you knew at the

   17    time what steps Cognizant took to gather the personal email

   18    addresses of its employees?

   19    A.    I don't, but this -- you know, I'd seen this in other

   20    investigations that we conducted where we would ask the company

   21    to see, within the data set that they had of their

   22    investigation, if there were personal email addresses being

   23    used in communications; and if they were, then we would ask for

   24    those.

   25    Q.    And would it matter to DOJ, would it be significant how
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               150

    1    the company got those personal email addresses?          Or is that

    2    sort of beyond what you would be interested in with making the

    3    request for personal email addresses?

    4    A.    Well, I don't -- I think it would make a difference in the

    5    sense that, if they're not being used within the documents that

    6    are part of the investigation, they would be irrelevant to us.

    7    Q.    But in general, is it fair to say that the department will

    8    make the ask -- in this case ask Cognizant to provide personal

    9    email addresses -- and Cognizant will try to fulfill that

   10    request and how they do it is sort of up to them?

   11    A.    Well, no, because if they just go to an address book and

   12    pull email addresses, that's not going to help us.

   13                 I mean, obviously, we are asking for this because, if

   14    they're used in furtherance of the scheme, we're going to have

   15    to make a probable cause showing in an effort to get an email

   16    search warrant.     So if they're just getting email addresses in

   17    some way that isn't actually part of the, let's say, universe

   18    of documents, then I don't know that that would be particularly

   19    helpful for us.     So I think it would matter.

   20    Q.    Okay.   In your current position are you involved in

   21    internal investigations?

   22    A.    Yes.

   23    Q.    And are you involved in internal investigations where the

   24    government --

   25                 MS. PATEL:   Your Honor, I'm going to object here.
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               151

    1               THE COURT:     Yes, I'm going to sustain that.

    2               I've given a lot of latitude.        This is not a person

    3    called as an expert witness or to give general opinions about

    4    how things are done here and there.        Let's try to stick to the

    5    issue and what happened in this case.

    6               MR. LEWIN:     Definitely, Judge.

    7    BY MR. LEWIN:

    8    Q.    You testified in response to Mr. Lustberg's questions that

    9    you were very careful about not providing guidance to the

   10    company, correct?

   11    A.    Direction and guidance, sure.

   12    Q.    Direction and guidance.

   13               But you would ask questions of the company, right?

   14    A.    Absolutely.

   15    Q.    And as you sit here now, sir, what in your mind is the

   16    dividing line between a prosecutor asking whether the company

   17    is going to take a certain step and giving them guidance?

   18    A.    Well, I mean, if you're just asking me to sort of come up

   19    with examples, I mean, I think there are a lot of -- I think

   20    there's a line between the government telling the company to do

   21    something, telling the company to go interview this person, or

   22    if you're going to interview this person, ask them these

   23    questions.    That seems to be pretty far over the line.

   24               MR. LEWIN:     If we can pull up Defense Exhibit 11.

   25    BY MR. LEWIN:
                           United States District Court
                                 Newark, New Jersey
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                             Gingras-Direct-Lewin                               152

    1    Q.    Again, this is an exhibit that Mr. Lustberg showed you.

    2    Take a moment to review it.

    3                My only question is whether, prior to this call, you

    4    were aware of Cognizant's plan to terminate Mr. Coburn.

    5    A.    Prior to which call?     I'm sorry.

    6    Q.    Sorry.   The call that's reflected here in these notes to

    7    Mr. Tsao.

    8    A.    Let me read this one.

    9    Q.    Yes, of course.

   10    A.    Okay.    I'm sorry.   What was your question?

   11    Q.    My question is just whether, as you sit here now, you

   12    recall being aware of Cognizant's plans with respect to

   13    Mr. Coburn's employment -- continued employment at Cognizant?

   14    A.    No, I was not aware.

   15                Just so I understand the question, I think I'm

   16    reporting that they told me this in the phone call.           So is your

   17    question that I understood that before that call?

   18    Q.    My only question is whether you, as you sit here now,

   19    recall conversations about Mr. Coburn's continued employment at

   20    Cognizant prior to this call at which they informed you he had

   21    resigned.

   22    A.    No.

   23                MR. LEWIN:    Judge, may I have just one moment?

   24                THE COURT:    Sure.

   25                MR. LEWIN:    Nothing further, Judge.      Thank you.
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               153

    1                 THE COURT:   Anything from the government?

    2                 MS. PATEL:   Yes, Your Honor.     Just a brief

    3    cross-examination.

    4              (Discussion off the record between counsel.)
                                (CROSS-EXAMINATION)
    5    BY MS. PATEL:

    6    Q.    So, Mr. Gingras, I just have a few questions for you.           I

    7    hopefully won't be taking up too much of your time.

    8    A.    Okay.

    9    Q.    So, Mr. Gingras, you were assigned to this investigation

   10    in early September 2016; is that right?

   11    A.    That's correct.

   12    Q.    At some point during the first few weeks of that

   13    investigation, you learned that the company intended to

   14    interview -- or rather that the company had interviewed

   15    Mr. Coburn and Mr. Schwartz prior to its disclosure to the

   16    government; is that right?

   17    A.    I think that's correct.

   18    Q.    Before those two interviews happened, before the

   19    government -- before the disclosure had been made to the

   20    government, did you have any communications with counsel for

   21    the company about how they should conduct those interviews or

   22    whether they should conduct those interviews?

   23    A.    Before the interviews that they -- conducted before they

   24    disclosed?

   25    Q.    Yes.
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               154

    1    A.    No, I didn't.    I'd never even heard of Cognizant.

    2    Q.    And at some point you learned that the company intended to

    3    interview Mr. Schwartz in September of 2016; is that right?

    4    A.    Correct.

    5    Q.    And did you ask the company to conduct that interview?

    6    A.    No.

    7    Q.    Did you tell the company that they should not conduct that

    8    interview?

    9    A.    No.

   10    Q.    Did you tell the company how they should conduct that

   11    interview?

   12    A.    No.

   13    Q.    Did you give the company questions that they should ask

   14    Mr. Schwartz?

   15    A.    Definitely not.

   16    Q.    Did you give the company any instruction about the tone

   17    that it should take during the interview in asking questions?

   18    A.    No.

   19    Q.    Did the company tell you how they planned to interview

   20    Mr. Schwartz and ask for your input on their plan for the

   21    interview?

   22    A.    No.

   23    Q.    Did they ask for input on their style of questioning?

   24    A.    No.

   25    Q.    Did they ask for input on the topics that they intended to
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               155

    1    cover?

    2    A.    No.

    3    Q.    So you received information about the interview that they

    4    conducted, but you did not provide any instruction or direction

    5    on how that interview should be conducted?

    6    A.    No.    And I will say I think they may have told me that

    7    they were going to ask him about the notes I think which they

    8    recently discovered.      So I just want to make sure I'm clear

    9    about that.    But that seems like a logical thing they would

   10    have told me about, but I would not have opined or given them

   11    direction, both because I knew not to do that and it was so

   12    early in the case, I don't know how I possibly could have felt

   13    empowered to tell them what to say or how to ask things, not

   14    knowing anything about the case.

   15    Q.    And, Mr. Schwartz -- Mr. Gingras.        Sorry about that.

   16                 MS. PATEL:   If we could pull up Defense Exhibit 14,

   17    please.     If you could highlight at the bottom of the page where

   18    it says "Remediation."

   19    BY MS. PATEL:

   20    Q.    Mr. Gingras, I'm just going to ask you to read to the

   21    bottom of that page under "Remediation."

   22    A.    Bottom of the page of --

   23    Q.    Of the second page.     I apologize.

   24                 THE COURT:   There we are.

   25                 MS. PATEL:   Apologies.
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               156

    1    A.    Okay.

    2    BY MS. PATEL:

    3    Q.    I believe Mr. Lustberg asked you about this portion of

    4    these notes, which are your notes from the first meeting with

    5    the company on October 6th, 2016.

    6    A.    Yes.

    7    Q.    It says here, "Week after next RW will come in."

    8                 Do you see that?

    9    A.    Yes.

   10    Q.    Could RW be a reference to Reid Weingarten?

   11    A.    Oh, yes.

   12    Q.    Who was Mr. Weingarten?

   13    A.    He was Mr. Schwartz's attorney at the time, I believe.

   14    Q.    So does that indicate to you that the company was having a

   15    conversation with Mr. Schwartz's counsel?

   16    A.    Yes.

   17                 MS. PATEL:   We're done with this document.

   18    BY MS. PATEL:

   19    Q.    During Mr. Lustberg's questioning of you, he characterized

   20    Mr. Schwartz's interview as something that was helpful to the

   21    government.

   22                 Do you recall that?

   23    A.    Yes.

   24    Q.    But you didn't tell the company to conduct that interview?

   25    A.    Definitely not.
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               157

    1    Q.     And if the company had terminated Mr. Schwartz before he

    2    was interviewed, you could have sought to conduct your own

    3    interview of him; is that right?

    4    A.     Yes.

    5    Q.     You knew he had counsel?

    6    A.     Yes.

    7    Q.     You could have contacted his counsel?

    8    A.     Yes.

    9    Q.     And you could have asked his counsel if he was willing to

   10    come in and speak to you?

   11    A.     Yes.

   12    Q.     So you had the opportunity.      You could have gotten that

   13    information if he chose to speak to you; is that right?

   14    A.     That's right.

   15    Q.     Now turning to sort of the initial period of the

   16    investigation.    The company discloses at the beginning of

   17    September and the first meeting with the company happens in the

   18    first week of October; is that right?

   19    A.     Yes.

   20    Q.     And during that time you, as the government attorney, are

   21    trying to get your arms around the facts to develop an

   22    investigative plan; is that right?

   23    A.     Along with my colleague, who was an AUSA in this distinct,

   24    yes.

   25    Q.     And, in fact, in early -- in October of 2016 you and the
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               158

    1    attorney in the -- in New Jersey and the FBI served a

    2    preservation notice on L&T, the company we've been talking

    3    about a little bit today; is that right?

    4    A.    That sounds right, yes.

    5    Q.    In fact, in October of 2016 you and Mr. Benvenuto started

    6    having discussions with L&T about L&T producing documents to

    7    the government; is that right?

    8    A.    That's correct.

    9    Q.    You did not tell Cognizant that you were doing that,

   10    right?

   11    A.    I don't believe so, no.

   12    Q.    And, in fact, you ultimately ended up interviewing a

   13    number of L&T witnesses; is that right?

   14    A.    Yes.   We had documents from the company.        We reviewed

   15    documents, and we also interviewed a number of witnesses from

   16    the company, correct.

   17    Q.    And that was through a process of negotiation with counsel

   18    for L&T to make their employees available to the government to

   19    interview; is that right?

   20    A.    Yes.

   21    Q.    And you didn't tell Cognizant that you were negotiating

   22    with L&T to interview L&T witnesses; is that right?

   23    A.    I don't recall doing that, no.

   24    Q.    And you didn't give Cognizant information about the

   25    substance of those interviews that you conducted of L&T
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               159

    1    witnesses?

    2    A.    Definitely not.

    3    Q.    And it was important for you to understand L&T's role in

    4    this conduct, right?

    5    A.    Yes.

    6    Q.    And that's why you were taking these steps very early in

    7    the investigation to engage with L&T and to obtain documents

    8    from them and interview their employees; is that right?

    9    A.    Yes.

   10                 MS. PATEL:   If we could pull up Defense Exhibit 61.

   11    BY MS. PATEL:

   12    Q.    Now, Mr. Gingras, before we look at this exhibit, during

   13    your questioning by Mr. Lustberg, he asked you about the number

   14    of interviews that Cognizant, the company, had conducted in the

   15    course of its investigation.

   16                 Do you recall that?

   17    A.    Yes.

   18    Q.    And he mentioned that Cognizant had conducted about 450

   19    interviews.    Does that sound right?

   20    A.    Yes.

   21    Q.    Cognizant did not give you summaries of all 450 of those

   22    interviews, correct?

   23    A.    Not when I was there.

   24    Q.    And I think you mentioned that that was because the

   25    company's investigation was not just into the allegations in
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               160

    1    the indictment, but they were investigating a number of other

    2    things?

    3    A.    That's correct.

    4                 MS. PATEL:    So if we could turn to page 3 of this

    5    document.

    6    BY MS. PATEL:

    7    Q.    Mr. Gingras, I'm going to direct your attention to the

    8    middle of the page.       There's a bullet point that says "Phase I

    9    Interviews."

   10    A.    Yes.

   11                 MS. PATEL:    If you could highlight that portion.

   12    BY MS. PATEL:

   13    Q.    Mr. Gingras, Phase I, it looks like from this, is related

   14    to the KITS planning permit; is that right?

   15    A.    That appears to be correct.

   16    Q.    And here does it say that there were 95 interviews

   17    conducted in India and in the United States in connection with

   18    Phase I?

   19    A.    Yes.

   20                 MS. PATEL:    If we could turn to page 7 of this

   21    document.

   22    BY MS. PATEL:

   23    Q.    Mr. Gingras, if you look at the top of this page, it talks

   24    about the scope of Phase II of the company's investigation.

   25                 Do you see the scope at the top of the page?
                           United States District Court
                                 Newark, New Jersey
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                              Gingras-Cross-Patel                               161

    1    A.    I'm sorry.    What page are you on?      7?

    2    Q.    7.   It's Bates number ending in 5263.

    3    A.    Okay.

    4    Q.    At the top it says "Scope and Timeframe of the

    5    Investigation"?

    6                THE COURT:    We're still on 62 on the screen.

    7                MS. PATEL:    5263 is the Bates number at the bottom.

    8                THE COURT:    There we go.

    9                MS. KRAMER:    Correct.   Excuse me, Your Honor.       I

   10    apologize for the interruption.       We just want to make sure.       We

   11    think this might have been filed in a redacted form.           So we

   12    want to make sure that we address that before you display it,

   13    if you don't mind pulling it down.

   14                THE COURT:    Take one second.

   15                MS. PATEL:    Thank you, Your Honor.

   16                THE COURT:    There may be no issue at all.       Just find

   17    out if you're showing something that was redacted.

   18               (Discussion off the record between counsel.)

   19                MS. PATEL:    I think I can ask my questions without

   20    needing to put up documents that apparently --

   21                THE COURT:    I think I see what you're getting at.        Go

   22    ahead.

   23                MS. PATEL:    -- were redacted.

   24    BY MS. PATEL:

   25    Q.    So, Mr. Gingras, we just looked at something that said
                            United States District Court
                                  Newark, New Jersey
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                                                                                162

    1    that there were 95 interviews that were conducted in connection

    2    with Phase I; is that right?

    3    A.    Correct.

    4    Q.    And Phase I is related to the conduct at issue in the

    5    indictment in this case; is that right?

    6    A.    That's correct.

    7    Q.    So the other interviews, the other about 355 interviews,

    8    those were related to topics that the company was investigating

    9    that were not the facts related to the indictment in this case

   10    of Mr. Coburn and Mr. Schwartz; is that right?

   11    A.    That's correct.

   12               MS. PATEL:     I don't have any further questions,

   13    Your Honor.

   14               THE COURT:     Okay.   That was very brief cross.       I will

   15    entertain a very, very brief redirect.

   16               MR. LUSTBERG:     No further questions, Your Honor.

   17               MR. LEWIN:     Nothing, Judge.

   18               THE COURT:     Okay.   Thank you.

   19               You may step down, sir.

   20               We are now going to take our one-hour break.           See you

   21    all back at 2:25.

   22               (Lunch recess taken 1:25 p.m. through 2:25 p.m.)

   23               THE COURT:     Let's resume.    Be seated.

   24               Government, I think Mr. Last was next.         Is that

   25    right?   Government, I think Mr. Last was next.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                163

    1                MR. FINZI:    That's right, Your Honor.      Defense calls

    2    Mr. Last.

    3                THE WITNESS:    Good afternoon, Your Honor.

    4                         DAVID LAST, DEFENSE WITNESS,

    5            having been duly affirmed, testifies as follows:

    6                THE WITNESS:    I do.

    7                THE COURTROOM DEPUTY:     Please be seated.

    8                Keep the mic close to your mouth, speak loud and

    9    clearly.    State your name for the record and spell it, please.

   10                THE WITNESS:    Yes.    My name is David Last, D-A-V-I-D,

   11    L-A-S-T.

   12                MR. FINZI:    Your Honor, may I proceed?

   13                THE COURT:    Go ahead.

   14                             (DIRECT EXAMINATION)

   15    BY MR. FINZI:

   16    Q.    Let me try to start over.

   17                Mr. Last, you're currently the chief of the FCPA unit

   18    at the Department of Justice?

   19    A.    That's correct.

   20    Q.    And you've had that position since about April of 2021?

   21    A.    Correct.

   22    Q.    And before that, you were principal assistant chief at the

   23    FCPA unit?

   24    A.    Yes, since about July 2019.

   25    Q.    So how long have you been in leadership at the FCPA unit?
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                164

    1    A.     I've been number one and two in the unit for the last --

    2    close to four years.      Before that, I was an assistant chief

    3    since, I think, September 2017.       And I was a line attorney

    4    before that, from April 2016 till September 2017.

    5    Q.     As chief of the FCPA unit, you have responsibility for all

    6    of the DOJ's FCPA cases?

    7    A.     Correct.

    8    Q.     And you approve charging decisions?

    9    A.     FCPA charging decisions and related cases within the unit,

   10    yes.

   11    Q.     Related to FCPA cases?

   12    A.     Correct.

   13    Q.     And you approve settlements and dispositions of FCPA cases

   14    within the unit?

   15    A.     So pleas with regard to individuals, like guilty pleas

   16    with regard to individuals.       And as far as corporate

   17    resolutions, I approve them within the unit; but those get

   18    approved further up the chain at DOJ as well.

   19    Q.     Fair to say you have a role in setting FCPA policy?

   20    A.     I have a role in discussing it with people within the

   21    department, yes.

   22    Q.     Well, but don't you also have a role in discussing it with

   23    people outside the department?

   24    A.     I speak sometimes externally about our policies, yes.          You

   25    said setting policies.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                165

    1    Q.    So you speak from time to time to the public about FCPA

    2    policy, correct?

    3    A.    Yes.

    4    Q.    Your work with the unit is such that you're familiar with

    5    the Yates Memo?

    6    A.    Yes.

    7                 MR. FINZI:   Could we put a copy of it up on the

    8    screen.   I think it's Defendants' 47.

    9    A.    You said 47?

   10    BY MR. FINZI:

   11    Q.    Four-seven, yes.

   12                 Do you recognize that as the Yates Memo?

   13    A.    Yes.

   14    Q.    And that was written by the deputy AG at the time, Sally

   15    Yates?

   16    A.    Yes.

   17    Q.    Who was the second-highest-ranking officer at the

   18    Department of Justice as the time?

   19    A.    Correct.

   20    Q.    It was issued on September 9 of 2015?

   21    A.    Yes.

   22    Q.    So that's less than a year before Cognizant self-disclosed

   23    in this case, correct?

   24    A.    Yes.

   25    Q.    And is it fair to say that the Yates Memo sets out the
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                166

    1    Department of Justice's policies on cooperation, among other

    2    things?

    3    A.    It sets out the department's approach with regard to a

    4    variety of issues.

    5    Q.    Does it set forth the department's policies with respect

    6    to cooperation?

    7    A.    Among other things, yes.

    8    Q.    And does it set out at least in part what prosecutors

    9    should and should not do in evaluating cooperation?

   10    A.    Do you want to point me to a particular provision?

   11    Q.    Sure.   If you look at page -- let's go to page 4.

   12    A.    Any particular section?

   13    Q.    Yeah, the section there that reads "both criminal and

   14    civil attorneys should focus on individual wrongdoing."

   15    A.    Okay.

   16    Q.    So am I correct that, at least in part, the Yates Memo

   17    sets forth what prosecutors should and should not do?

   18    A.    It does say that we should focus on individuals from the

   19    inception of the investigation.

   20    Q.    Now, the policies set forth in the Yates Memo are

   21    addressed to DOJ employees if we go back to the first page,

   22    right?

   23    A.    Yes.

   24    Q.    But they're also intended for the legal community and

   25    corporations, correct?
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                167

    1    A.    It's issued to people at the department, but it's

    2    publicized.

    3    Q.    So it's not secret, right?

    4    A.    It's public; so no.

    5    Q.    It's on the DOJ's website?

    6    A.    It's public, yes.

    7    Q.    And the department routinely speaks about it?

    8    A.    There have been public comments.        There have been public

    9    statements about it, yes.      Routine?    I don't know how you would

   10    define routine.

   11    Q.    Is it fair to say that the Yates Memo outlines the conduct

   12    that the government expects from corporations in order for them

   13    to receive cooperation credit?

   14    A.    It talks about cooperation with respect to companies and

   15    what prosecutors should look for in their cases.

   16    Q.    But it also talks to corporations and what they should do,

   17    or at least the policy does, right?

   18    A.    Again, it's issued to people in the department.          It's

   19    public.   And so I can't tell you the way companies and other

   20    corporates or individuals read this.

   21    Q.    Well -- but I think you said before Ms. Yates -- or people

   22    give speeches about the policy, correct?

   23    A.    Correct.

   24    Q.    And that those speeches are designed to communicate the

   25    policy to people outside the department, correct?
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                168

    1    A.    It's to be transparent about the policies.

    2    Q.    And to communicate and be transparent about the policies,

    3    not just with lawyers inside the department but with general

    4    counsels and defense lawyers, correct?

    5    A.    Among others, yes.

    6    Q.    People in compliance?

    7    A.    Among others, yeah.

    8    Q.    So let me ask you again.      Is part of the purpose of the

    9    memo to communicate to companies what is expected of them if

   10    they want cooperation credit?

   11    A.    I can't tell you what the purpose was.         I didn't draft the

   12    memo.   I wasn't involved in drafting the memo.

   13    Q.    So as somebody who's responsible for policy and speaks on

   14    it, you can't say whether or not part of the objective is to

   15    communicate a message to companies?

   16    A.    I thought you said the purpose in drafting the memo.           The

   17    memo is public; so part of what we discuss when we discuss it

   18    externally, when we discuss it publicly, is so that people in

   19    the public, some of the categories that you described, are

   20    aware of our expectations, if that's your question.

   21    Q.    And in order to do that -- well, let me go back.

   22               Part of the -- the memo was intended, at least in

   23    part, to inform corporations on what was expected of them with

   24    respect to individual accountability, correct?

   25    A.    I mean, the memo is entitled "Individual accountable for
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                169

    1    corporate wrongdoing."

    2    Q.    So fair to say that that's a yes?

    3    A.    I mean, if you're pointing to a specific provision, I'm

    4    happy to take a look at it.       If your question is, is the memo

    5    about individual accountability for corporate wrongdoing, the

    6    answer is yes, that's the subject line of the memo.

    7    Q.    And one of the messages that comes from the memo is that,

    8    in order to qualify for cooperation credit, corporations must

    9    provide to the department all relevant facts relating to

   10    individuals responsible for the misconduct; is that right?

   11    A.    That's correct.

   12    Q.    And in order to get credit -- withdrawn.

   13               And if corporations decline to learn of facts

   14    relevant to individuals or don't provide complete factual

   15    information about individuals, it could also -- it could not

   16    get any cooperation credit, correct?

   17    A.    I didn't follow that question.       Can you rephrase.

   18    Q.    Yeah.   If corporations decline to learn of facts relevant

   19    to individuals or if they fail to provide complete factual

   20    information about those individuals, it's fair to say that they

   21    could not get any cooperation credit?

   22    A.    So the memo on page 3 says, "In order for a company to

   23    receive any consideration for cooperation under the principles

   24    of federal prosecution of business organizations, the company

   25    must completely disclose to the department all relevant facts
                           United States District Court
                                 Newark, New Jersey
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    1    about individual misconduct."

    2    Q.    Okay.   I want to go on and talk about a memo that's more

    3    particular -- or a policy that's more particular to your unit,

    4    which is the FCPA Pilot Program.

    5                 You are familiar with that?

    6    A.    I am, although I will say that, when that came out in

    7    April 2016, I had just started at the fraud section.

    8    Q.    Understood.    But you're familiar with it, right?

    9    A.    I'm familiar with it.

   10                 Which exhibit are you looking at?

   11    Q.    It's Exhibit 48.

   12    A.    Thank you.

   13    Q.    The date of this memo is April 5, 2016?

   14    A.    Correct.

   15    Q.    And this pilot program builds on the Yates Memo, correct?

   16    A.    I think that's probably fair.       Does it say that in here?

   17    Q.    No.    It says it in a speech that was given the same day,

   18    but --

   19    A.    Okay.

   20    Q.    Okay.   And fair to say that the policies in this memo were

   21    designed to motivate companies to voluntarily self-disclose

   22    FCPA-related misconduct?

   23    A.    That seems right.

   24    Q.    And to fully cooperate with the fraud section?

   25    A.    Yes.
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                171

    1    Q.    And where appropriate remediate flaws in their controls

    2    and compliance programs, right?

    3    A.    Yes.

    4    Q.    And Cognizant in this case self-disclosed on September 1

    5    of 2016.     Is that about right?

    6    A.    I wasn't there and I wasn't part of the case at the time.

    7    I joined the case in -- I think it was April 2018.           But based

    8    on the documents I know that you showed Mr. Gingras this

    9    morning and ones that I've seen, that seems right.

   10    Q.    Okay.    So based on the testimony and the documents, you

   11    have no quarrel with the fact that Cognizant self-disclosed on

   12    September 1st --

   13    A.    That seems right.

   14    Q.    Fair to say that Cognizant -- well, fair to say that if a

   15    company doesn't fully disclose, it risks indictment?

   16    A.    What do you mean if a company doesn't fully disclose?

   17    Q.    If a company doesn't fully cooperate.

   18    A.    Sorry.    Are you speaking under the policy or are you

   19    speaking more generally?

   20    Q.    Either.   Both.

   21    A.    So we don't indict cases based on cooperation.          A case

   22    would be indicted based on the evidence.

   23                 Now, among the factors we consider under the Filip

   24    Factors, as Mr. Gingras testified earlier, as is in the United

   25    States Attorneys' Manual, we consider cooperation among the
                           United States District Court
                                 Newark, New Jersey
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    1    factors.

    2    Q.     And the failure to cooperate could lead to a decision to

    3    indict or charge?

    4    A.     It's one of the factors we consider when determining the

    5    appropriate path or the appropriate avenue of prosecution, if

    6    any.

    7    Q.     Okay.    Now, Cognizant itself believed or communicated to

    8    the department that it believed it would face serious

    9    consequences if it was prosecuted, correct?

   10    A.     Could you be more specific?      In terms of what?     At what

   11    point?

   12    Q.     Well, were you present --

   13               MR. FINZI:     Let's put up DX-17.

   14    BY MR. FINZI:

   15    Q.     My first question will be whether you were present for

   16    this meeting.

   17    A.     I was --

   18    Q.     And --

   19    A.     I apologize.

   20               This was the Filip Factors presentation in May of

   21    2018 --

   22    Q.     Okay.    And in the course of the Filip Factors

   23    presentation --

   24    A.     I was just saying this was one of the first meetings I

   25    attended related to the case.
                            United States District Court
                                  Newark, New Jersey
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                                Last-Direct-Finzi                                 173

    1    Q.    As part of the Filip Factors presentation, did Cognizant

    2    highlight for the government the consequences it would face if

    3    it was prosecuted?

    4    A.    So one of the factors that companies typically discuss are

    5    collateral consequences.      I believe Cognizant covered that.

    6    I'm just looking for it in the notes.         If there's an area you

    7    wanted to refresh me on or if there's a particular --

    8    Q.    Yeah.   Let's take a look at --

    9    A.    I --

   10    Q.    -- 211, the fourth attribution down.

   11    A.    Yup.    Right.   So this is where counsel for the company

   12    said, "The next is collateral consequences."          And she went on

   13    to say, "we didn't think this was a large factor to you.            It

   14    would not be good for the company if the company were

   15    prosecuted."

   16    Q.    And then lays out the consequences that the company might

   17    face from prosecution, right?

   18    A.    To some extent, yes.

   19    Q.    So is it fair to say that at this point for Cognizant, the

   20    choice was to fully cooperate and have a chance at cooperation

   21    credit or to not cooperate, lose the chance at cooperation

   22    credit, and risk the harms that Ms. Reummler laid out?

   23    A.    I can't really speak to the choice to the company.           Any

   24    company can decide to cooperate or not.

   25                 I mean, you asked about the pilot program document.
                           United States District Court
                                 Newark, New Jersey
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    1    At the end of it, it makes very clear, I believe -- I'd have to

    2    go back and find the specific language, but it said companies

    3    are free to decide to cooperate or not.         They don't have to do

    4    it --

    5    Q.    I --

    6                 (Simultaneous crosstalk.)

    7    A.    They don't get the benefits under the program if they

    8    decide not to.

    9    Q.    But the DOJ sets up incentives that are designed to

   10    encourage them to cooperate, correct?

   11    A.    That's true, but not unlike an individual who cooperates

   12    and wants to get credit as part of a 5K.

   13    Q.    Understood.    But it -- DOJ sets up policies that

   14    incentivize certain behavior and, for lack of a better term,

   15    punish other behavior?

   16    A.    It sets out incentives for companies that cooperate, yes.

   17    The sentencing guidelines also talk about cooperation.

   18    Q.    For the purpose of influencing their conduct?

   19    A.    I think it's to be transparent about what the benefits are

   20    if they cooperate.

   21    Q.    As part of Cognizant's cooperation -- and you were

   22    obviously here this morning; so maybe we can do this quickly,

   23    but I just want to make sure we're all on the same page.

   24                 As part of Cognizant's cooperation, Cognizant and its

   25    lawyers provided the government with a significant amount of
                           United States District Court
                                 Newark, New Jersey
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    1    information in the course of this case?

    2    A.    Information -- information and documents, yes.

    3    Q.    Extensive interview downloads by the company?

    4    A.    They provided a number of those.        I think the testimony

    5    earlier was about 40 or 44 maybe.        That sounds about right.

    6    Q.    They -- and those downloads included downloads of

    7    interviews of Mr. Coburn and Mr. Schwartz; is that correct?

    8    A.    Correct.

    9    Q.    And as part -- in seeking cooperation credit at this

   10    meeting, Cognizant and DLA indicated that they had persisted in

   11    securing additional interviews of Mr. Coburn and Mr. Schwartz.

   12               Do you recall that?

   13    A.    I recall you showing -- I recall -- I forget which counsel

   14    it was this morning showing Mr. Gingras the document.           I think

   15    maybe Mr. Lustberg maybe showed him the Filip Factors notes,

   16    but if you want to --

   17    Q.    Let's take a look at DX --

   18               (Simultaneous crosstalk.)

   19    Q.    Sorry.   I didn't mean to cut you off.

   20    A.    I'm happy to take a look --

   21               (Simultaneous crosstalk.)

   22    Q.    Let's take a look at DX-17 at the bottom of the page.

   23    A.    You're looking at extensive interview readouts?

   24    Q.    Yeah.    I'm at -- sorry.    Where they talk about --

   25               THE COURT:     This is the same passage that was
                           United States District Court
                                 Newark, New Jersey
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    1    highlighted this morning?      Is that what you're getting at?

    2               MR. FINZI:     Yes, Your Honor.

    3               THE COURT:     Then we don't need to spend too long on

    4    it.

    5               MR. FINZI:     Okay.   Yeah, that's it.

    6    BY MR. FINZI:

    7    Q.    Where Ms. Reummler says, "This is one category of

    8    proactive cooperation.      Karl and his team persisted in securing

    9    additional interviews with the president and the GC."

   10    A.    That's what the company counsel said, yes.

   11    Q.    Company counsel told you that they had facilitated the

   12    DOJ's ability to interview people?

   13    A.    That sounds right.

   14    Q.    And that they had reviewed over one and a half million

   15    documents?

   16    A.    That sounds right.     But you understand the Filip Factors

   17    presentation, that's an advocacy meeting where the company

   18    comes in to tout the things that they've done?

   19    Q.    Oh, a hundred percent --

   20    A.    Okay.   I just wanted to --

   21    Q.    That's exactly what I'm getting at.        The point is

   22    Cognizant touted all of this cooperation in its effort to

   23    obtain cooperation credit?

   24    A.    Its advocacy.

   25    Q.    Excuse me?
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                177

    1    A.    Its advocacy.

    2    Q.    Its advocacy.    Okay.   But you don't have reason to doubt

    3    it?

    4    A.    No.   I mean, it depends which piece, but no.         Those

    5    three -- those two or three things you just noted, no.            Those

    6    seem correct.

    7    Q.    And as part of their advocacy, they highlighted the fact

    8    that they had provided information about their general counsel

    9    and that that was a big deal.

   10    A.    Could you be more specific?

   11    Q.    Yeah.

   12                MR. FINZI:    Can we take a look at page 6.

   13    BY MR. FINZI:

   14    Q.    "Turned over general counsel notes.        To distinguish

   15    Cognizant's conduct from other companies, turning over a GC's

   16    notes are a big deal."

   17                Do you recall Cognizant emphasizing, as part of its

   18    cooperation, that it was turning over notes of its general

   19    counsel?

   20    A.    I mean, that's what Ms. Reummler said.         That's what

   21    counsel for the company said.

   22    Q.    And my question is whether or not you recall that.

   23    A.    That sounds right.     I'm certainly refreshed, looking at

   24    the notes, that she said that.       Like I said, this was one of

   25    the first meetings I attended for this case.
                           United States District Court
                                 Newark, New Jersey
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    1    Q.    They also mentioned the hot document binders that they

    2    provided?

    3    A.    I recall seeing that --

    4    Q.    Ten different subjects?

    5    A.    I recall seeing in the notes about hot doc binders; I

    6    don't recall the number of subjects.

    7    Q.    You won't fight with me if I tell you it's ten, though?

    8    A.    If that's what the notes say.

    9    Q.    And more than 40 telephone updates?

   10    A.    That sounds right.

   11    Q.    And they to you -- I realize this isn't you saying it --

   12    but they to you described their cooperation as exemplary.

   13    A.    If that's what that it says in the notes.         I don't recall

   14    that specifically, but if that's what it says in the notes.

   15                And, again, just to be clear, some of the stuff they

   16    were talking about, like the 40 interview -- the 40 telephone

   17    calls, I had just joined the investigation.          So I don't -- I

   18    hadn't participated in those; so I'm just saying -- if you're

   19    asking me if that's what's in the notes, that's what's in the

   20    notes.

   21    Q.    I'm asking purely what they're telling you --

   22    A.    Okay.

   23    Q.    -- not what you observed.

   24    A.    Understood.

   25    Q.    Okay.   We're on the same page.
                           United States District Court
                                 Newark, New Jersey
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    1                And you started -- I should have put this in earlier,

    2    but you at some point had personal involvement in this case,

    3    right?

    4    A.    Correct.   Starting in --

    5    Q.    So --

    6    A.    -- I think it was April 2018, I became involved in the

    7    case.    And then I took over from Mr. Gingras after he left.          We

    8    overlapped for whatever it was, two months roughly, a month and

    9    a half.   Then he left, and then I was -- I was the

   10    representative from the fraud section.

   11    Q.    Okay.   So you became, in essence, for lack of a better

   12    term, the fraud section line attorney on the case?

   13    A.    Correct.   And then I worked with two AUSAs on it, which

   14    was Courtney Howard and Nick Grippo.

   15    Q.    So you participated in these meetings, the Filip Factors

   16    meetings?

   17    A.    Well, this was the one -- Filip Factors meeting was in

   18    May 2018.     I did then -- excuse me.     Subsequently, I had

   19    additional meetings with the company, but I don't think any of

   20    them were Filip Factors presentations.

   21    Q.    Okay.   You participated in meetings about a possible

   22    resolution of the case?

   23    A.    I think that was this.

   24    Q.    Do you recall participating in discussions about what the

   25    appropriate monetary penalty might be?
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                180

    1    A.    I do recall that.

    2    Q.    Do you recall participating in meetings or correspondence

    3    involving the form of the disposition of the case, whether it

    4    would be a plea, a deferred prosecution agreement, a

    5    nonprosecution agreement, or a flat-out declination?

    6    A.    I don't recall meetings related to form other than the

    7    Filip Factors meetings.      I do recall a meeting -- I don't know

    8    exactly when; it might have been July -- where we were talking

    9    about the -- the company presented with respect to the

   10    disgorgement, the amount that would be disgorged as part of a

   11    resolution.

   12    Q.    But fair to say that there would have been discussion

   13    about the form of the resolution with the company?

   14    A.    At some point.

   15    Q.    And fair to say that you would have participated in that

   16    discussion?

   17    A.    Yes.

   18    Q.    Fair to say that you would have been a decision maker or

   19    at least one -- somebody who made a recommendation with respect

   20    to that --

   21    A.    I would have made a --

   22                 (Simultaneous crosstalk.)

   23    A.    Sorry.   I didn't mean to interrupt.

   24                 I would have made recommendation to my management

   25    within the fraud section, just as the AUSAs would have done to
                           United States District Court
                                 Newark, New Jersey
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    1    their management at the U.S. Attorney's Office.          Certainly, as

    2    a team, me and the two AUSAs would have discussed what we

    3    viewed as the appropriate disposition of the case.

    4    Q.    Is it fair to say that Cognizant didn't just passively

    5    provide information as part of their cooperation?

    6    A.    No, they were proactive.

    7    Q.    And they were, or at least they told you they were,

    8    aggressive in their cooperation?

    9    A.    I wouldn't view them as aggressive.        I don't recall if

   10    they said they were aggressive.

   11    Q.    You would or would not?

   12    A.    I wouldn't make that assessment in terms of whether a

   13    company is being aggressive.       I wouldn't have the ability to

   14    see that.

   15    Q.    Do you recall whether or not they told you they had been

   16    aggressive in their cooperation?

   17    A.    That sounds familiar from the Filip Factors presentation,

   18    but I don't recall specifically.

   19    Q.    Real quick, let's go to page 5 of DX-17 and take a look at

   20    that.

   21                If we look at the bottom, do you see where it says,

   22    "Cooperation -- in particular, willingness to cooperate in

   23    investigation of personnel"?

   24                Did I read that right?

   25    A.    That's what it says.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                182

    1    Q.    And that Ms. Reummler then says the "Company has done

    2    everything in its power to investigate aggressively"?

    3    A.    That's what counsel for the company stated.

    4    Q.    So you don't quarrel with the fact that they took the

    5    position -- Cognizant took the position that it had cooperated

    6    aggressively and in particular with respect to the

    7    investigation of personnel?

    8    A.    I don't take issue with the fact that what it says in the

    9    notes is what counsel said to us.

   10    Q.    Did Cognizant and its lawyers sometimes express --

   11    withdrawn.

   12                 Did Cognizant and its lawyers sometimes draw

   13    conclusions about what they thought the evidence showed with

   14    respect to particular people?

   15    A.    Conclusions regarding what the evidence showed?          Could you

   16    be more specific?

   17    Q.    Yes.   So we talked about the fact that they proactively

   18    provided information, right?

   19    A.    Correct.

   20    Q.    And evidence?

   21    A.    Correct.

   22    Q.    Documents?    Downloads?

   23    A.    Correct.

   24    Q.    But is it also fair that from time to time they expressed

   25    views on the culpability or nonculpability of certain
                            United States District Court
                                  Newark, New Jersey
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    1    individuals?

    2    A.    I don't recall that.

    3    Q.    Okay.   Let's take a look at DX-35, and in particular at

    4    page 5.

    5    A.    So this is a DLA Piper internal memo?

    6    Q.    Yeah.   These are talking points.       Do you see --

    7    A.    I --

    8    Q.    -- do you see up top, "The record contains no evidence

    9    that Karen" -- and the reference here is to Karen McLoughlin --

   10    "knew that an improper payment would be made or even

   11    considered"?

   12    A.    That's what it says.

   13    Q.    All right.    And the next bullet, "The record contains no

   14    evidence that Karen was part of the inner circle of people

   15    discussing the demand/payment."

   16                 Did I read that correctly?

   17    A.    That's what it says in this DLA Piper memo, correct.

   18    Q.    So is it fair to say that sometimes they drew conclusions

   19    and provided the government conclusions as to the nature and

   20    state of the evidence of certain individuals?

   21    A.    I don't know if they actually conveyed this in this

   22    meeting.     This meeting is from February of 2017.       I was not on

   23    the case at the time.      This is also an internal DLA Piper memo.

   24    I have no idea if that's what they actually said in the meeting

   25    when they ultimately met with the earlier team that had this
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                184

    1    case at DOJ.

    2    Q.    Okay.

    3    A.    I can tell you that that's what it says in the memo,

    4    though.

    5    Q.    Yeah.   Can we go to the first page.

    6    A.    I'm there.

    7    Q.    And does it refer to -- in the re: line, that's the

    8    subject?

    9    A.    It says, "Government Meeting Talking Points."

   10               MS. KRAMER:     Excuse me, Your Honor.      We're

   11    encountering the same issue we had before the break in terms of

   12    this being a redacted document.

   13               MR. FINZI:     I won't go any further.      I'll take it

   14    down.

   15               THE COURT:     Apparently no conference is needed.

   16    Problem solved.

   17               MR. FINZI:     I can move on, Your Honor.

   18    BY MR. FINZI:

   19    Q.    So in addition to -- well, let me ask the question again.

   20               Having seen what you've now seen, is it fair to say

   21    that DLA and Cognizant, in addition to just providing evidence,

   22    also provided thoughts or views on what the evidence showed?

   23    A.    No, I don't have a reason to know that.         You showed me an

   24    internal DLA memo.     I have no information if that information

   25    was actually conveyed to the government.         As I also said, this
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                185

    1    meeting occurred a year and months -- three months before I

    2    even joined the case.

    3    Q.    Okay.   So you weren't there for that meeting.         But at

    4    other meetings, did they reflect views on who was culpable?

    5    A.    Culpable?   No.   I mean they reflected, they told us about

    6    evidence in the case and what the evidence was that they had

    7    identified and --

    8    Q.    Did they --

    9    A.    -- they discussed evidence -- sorry -- they discussed

   10    aspects of the evidence.        I don't recall them ever saying who

   11    was culpable.

   12    Q.    Then let's take a look at DX-17.        We'll go back to page 1

   13    just to confirm.

   14               THE COURT:     Same one we've got the problem with?

   15               MR. FINZI:     No.    This one's --

   16               THE COURT:     I thought that was the other one.

   17               MR. FINZI:     This one's all good.

   18    BY MR. FINZI:

   19    Q.    So let's again, let's look at the top.

   20               THE COURT:     17.

   21    BY MR. FINZI:

   22    Q.    "Cognizant Filip Factors Presentation."

   23    A.    Correct.

   24    Q.    Are you with me?

   25    A.    Correct.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                186

    1    Q.     It says who's there and who isn't -- sorry.        Who's there

    2    at least.      You're there?

    3    A.     Yes.

    4    Q.     As is Mr. Gingras?

    5    A.     Correct.

    6    Q.     And then there's lawyers from DLA Piper and lawyers from

    7    Latham, correct?

    8    A.     Correct.

    9    Q.     There's also an in-house attorney, Matt Friedrich from

   10    CTS?

   11    A.     Correct.

   12                  MR. FINZI:   Can we go to page 3 and highlight right

   13    where you are, Jesse.

   14    BY MR. FINZI:

   15    Q.     That there are references to bad actors?

   16    A.     It does say that.

   17    Q.     Okay.   Is it fair -- I mean, you were at that meeting.         Is

   18    it fair to say that part of what Cognizant did was to say that

   19    prosecuting Mr. Coburn and Mr. Schwartz was a sufficient

   20    alternative to prosecuting the company?

   21    A.     I don't recall them saying that.

   22    Q.     Okay.   Do you recall under the Filip Factors the

   23    consideration of whether there are adequate alternatives to

   24    prosecution of a company?

   25    A.     Yes.    I believe it speaks with respect to civil remedies.
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                187

    1    Q.    Not with respect to individuals, whether individual

    2    prosecutions are sufficient?

    3    A.    I'd have to look at the exact language.         It does reference

    4    individual prosecutions, but I don't know if it's in the

    5    context of an alternative.

    6    Q.    Is it fair to say that one of the things that they

    7    pitched, Cognizant pitched, was that a prosecution and

    8    indictment of the company was not necessary because the

    9    individuals could be prosecuted?

   10    A.    I don't recall that.

   11               MR. FINZI:     Let's go, then, to page 5 and look at the

   12    second -- let's start with the bottom of the second paragraph.

   13    Yes, right there, if we can highlight that.

   14    BY MR. FINZI:

   15    Q.    Do you recall them saying, in an effort to persuade you to

   16    give them credit, that the company had done the right thing and

   17    said, We know these guys engaged in the conduct and we will

   18    provide DOJ with what they need to make decisions?

   19    A.    That's what it says in the notes.

   20    Q.    Is it fair to read that as we, Cognizant, will provide

   21    you, government, what you need to make the decisions about

   22    prosecuting these men?

   23    A.    I read it as saying that the company did the right thing

   24    by self-disclosing.     They identified criminal conduct, and they

   25    disclosed it to the department.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                188

    1               They also said that they proactively said by action

    2    that they cooperated because the company, as part of its own

    3    independent investigation, believed they engaged in misconduct

    4    and --

    5    Q.    It says --

    6    A.    Excuse me.    If I can finish.     And then they said they

    7    would provide to the DOJ the evidence, effectively, of what DOJ

    8    would need to make any decisions.

    9    Q.    Does it say in that passage that the company says, "We

   10    know these guys engaged in the conduct, and we will provide the

   11    DOJ with what they need to make decisions"?

   12               Did I read that correctly?

   13    A.    That's what it says in the notes.

   14    Q.    Let's go down to the next paragraph where Ms. Reummler

   15    says, after talking about not minimizing senior positions, "As

   16    a policy matter, that is what you guys want, to me.

   17    Prosecuting companies and the way that that has evolved, what

   18    you know deters conduct is bringing individuals to account."

   19               Is it fair to say, Mr. Last, that what Cognizant and

   20    DLA are doing is telling you that prosecuting individuals is

   21    adequate and that the company itself should not be prosecuted?

   22    A.    I think they are advocating to not be prosecuted and

   23    they're saying that "Prosecuting companies and the way that has

   24    evolved, what you know deters conduct is by bringing

   25    individuals to account."      That's what it says in the notes.
                            United States District Court
                                  Newark, New Jersey
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    1               They also go on to say, "We own that they engaged in

    2    egregious conduct, but that fact is mitigated by everything

    3    else."   I think Mr. Gingras talked about that a little bit this

    4    morning.

    5    Q.    Let me stop you first, the first part of your question.

    6    You said, "They were advocating to not be prosecuted," correct?

    7    It was just part of your answer here a minute ago.

    8    A.    Correct.

    9    Q.    And one of their arguments to not be prosecuted was that

   10    the individuals were the ones who had engaged in the wrongdoing

   11    and they were the ones that could and should be prosecuted.

   12               Isn't that, in essence, what that says?

   13    A.    I think they're saying the individuals could be

   14    prosecuted, yes.

   15    Q.    Is it also true that Cognizant assisted the government in

   16    locating a person who later became a cooperating witness?

   17    A.    In locating?    I think they -- I would say they -- put us

   18    in contact with his counsel and we scheduled an interview.

   19    Q.    Is it fair to say that they encouraged that individual to

   20    cooperate with the Department of Justice?

   21    A.    That, I don't know.

   22               MR. FINZI:     Okay.   Let's take a look at DX-23.

   23               (Discussion off the record between counsel.)

   24               MS. KRAMER:     I think if we can just put this on the

   25    record, to the extent counsel has any indication that it's
                           United States District Court
                                 Newark, New Jersey
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    1    going to be using a previously redacted document, because we

    2    have not been provided with the exhibits, please refrain from

    3    displaying unredacted forms of the documents.

    4               MR. FINZI:     Okay.

    5               (Discussion off the record between counsel.)

    6               MR. FINZI:     This has already gone up today.       So I

    7    think we're good, Judge.

    8    BY MR. FINZI:

    9    Q.    These are DOJ talking points of a call in October of 2016,

   10    correct?

   11    A.    You said DOJ talking points.       These are notes received

   12    from DLA or from the company?

   13    Q.    Sorry.   When I say DOJ talking points, the assumption here

   14    is that they're notes used for a call by DLA to DOJ.

   15    A.    Okay.

   16    Q.    And, in particular, I want to direct your attention to the

   17    second page where it says, "Coordinate Mani interviews in

   18    mid-November."

   19               Did Cognizant and its lawyers tell the Department of

   20    Justice in October of 2016 that they would work with Mani and

   21    his counsel and that once he was "lawyered up, we hope he will

   22    continue to cooperate with the company and with the DOJ"?

   23    A.    So I wasn't on the case at that time.        Obviously, this was

   24    a year and a half before I joined.        But my understanding is

   25    that the company facilitated us having an opportunity to
                           United States District Court
                                 Newark, New Jersey
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    1    interview Mani.

    2    Q.    But they didn't just facilitate it; they encouraged it.

    3    A.    I don't -- I don't know that.       I had no reason to know

    4    that.

    5    Q.    You don't read, from what we see up on the screen, that

    6    they are encouraging Mani to cooperate?

    7    A.    Mr. Finzi, these are internal DLA talking point notes.           I

    8    have no idea what was conveyed to the earlier team a year and a

    9    half before I joined the case.

   10    Q.    You were the supervisor in the unit?

   11    A.    I am now.   I wasn't at the time.

   12    Q.    Do you have any reason to believe that those -- do you

   13    have any reason to believe those talking points were not

   14    delivered?

   15    A.    I don't know.

   16    Q.    Do you know who picked his lawyer?

   17    A.    I don't.    I assume Mani did.

   18    Q.    Do you know if the company had any role in picking his

   19    lawyer?

   20    A.    I don't know.

   21    Q.    It was clear to you that Cognizant was --

   22               MR. FINZI:     Let me see if I can do this quickly,

   23    Your Honor.    Can I have one second?

   24    BY MR. FINZI:

   25    Q.    Cognizant, in fact, ultimately received cooperation
                           United States District Court
                                 Newark, New Jersey
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    1    credit, correct?

    2    A.    Correct.

    3    Q.    And it received a declination letter on February 13, 2019,

    4    correct?

    5    A.    Correct.

    6    Q.    And that means they didn't get charged?

    7    A.    Correct.

    8    Q.    And that is the best of all possible outcomes for a

    9    company?

   10    A.    Well, the best would be a straight declination without

   11    disgorgement where we just decide to close our investigation.

   12    This was a declination with disgorgement, which is available

   13    under the pilot program and then later under the corporate

   14    enforcement policy where, if a company meets certain

   15    requirements, self -- voluntarily self-discloses, fully

   16    cooperates, and appropriately remediates, they can -- they can

   17    get a declination provided they also pay disgorgement.

   18    Q.    In the hierarchy of corporate resolutions, fair to say

   19    that the worst for the company is indictment and a plea?

   20    A.    Correct.

   21    Q.    Next worse is a deferred plea agreement?

   22    A.    Deferred prosecution agreement, but yes.

   23    Q.    Next after that is a nonprosecution agreement?

   24    A.    Correct.

   25    Q.    And last is a declination?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 194 of 267 PageID: 25296
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    1    A.    Declination with disgorgement, and then a straight

    2    declination with closure.

    3    Q.    And that's what Cognizant got in this case?

    4    A.    Declination with disgorgement, correct.

    5    Q.    Part of the reason they got that was for their

    6    cooperation, correct?

    7    A.    Among other things, yes.

    8                 And to be the clear, the other things are their

    9    voluntary self-disclosure and the remediation.

   10    Q.    You're aware that Cognizant has asserted privilege over

   11    certain documents in this case?

   12    A.    Yes.

   13    Q.    And fair to say that, even after you got involved in this

   14    case, the department and Cognizant had numerous discussions

   15    about privilege and about waiver as the case went on?

   16    A.    We definitely had discussions about their assertions of

   17    privilege, yes.

   18    Q.    And about possible waiver?

   19    A.    There was a 502(d) order that was entered, which was a

   20    selective waiver.     So yes.

   21    Q.    And about the possibility of a crime fraud exception?

   22    A.    We discussed -- I recall asking how they had drawn lines

   23    and what they had produced as crime fraud, effectively.

   24    Q.    Those privilege issues were discussed as part of

   25    Cognizant's presentation in the Filip Factors meeting?
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 195 of 267 PageID: 25297
                               Last-Direct-Finzi                                194

    1    A.    I don't recall in the Filip Factors, but if you want to

    2    point me to the page, I'm happy to take a look.

    3    Q.    You recall we looked at the fact that they turned over the

    4    general counsel's notes and they referred to that as a big

    5    deal?

    6    A.    I recall that that's in the notes, yes.

    7    Q.    And that they mentioned providing privileged information

    8    pursuant to the 503(d) order?

    9    A.    I don't recall that, but if it's in the notes, then it's

   10    in the notes.

   11    Q.    Okay.    At this point, by October, the investigation is

   12    about two years old; is that right?

   13    A.    Sorry.   You said --

   14    Q.    September 2016 to May of 2018.

   15    A.    I'm confused.    You just said October.

   16    Q.    I'm sorry.    My fault.

   17                By the time of the Filip Factors presentation, the

   18    investigation was about two years old?

   19    A.    At the time of the Filip Factors presentation in May 2018,

   20    it was, yeah, about two years, about 20 months.

   21    Q.    And privilege had come up before.        Maybe you aren't aware

   22    of it, but were you aware that privilege had come up several

   23    times before?

   24    A.    No.   I think there was -- no, I can't speak to the prior

   25    conversations.
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 196 of 267 PageID: 25298
                               Last-Direct-Finzi                                195

    1    Q.    And did you know that -- well --

    2    A.    I can't speak -- sorry.      I can't speak to the prior

    3    conversations about privilege.       If there's something you want

    4    to point me to, I'm happy to take a look.

    5    Q.    Cognizant had produced privilege logs in January of 2018?

    6    A.    That sounds right.

    7    Q.    At this point, at the time of the Filip Factors meeting,

    8    what was the DOJ's understanding of the scope of the waiver of

    9    Cognizant's privilege?

   10    A.    Scope of the waiver?     Could you be more specific?

   11    Q.    Sure.    So part of what they disclose is a telephone call

   12    involving the general counsel of the company, right?

   13    A.    Right.

   14    Q.    And it was a telephone call made for the purpose -- or at

   15    least to discuss a contract and a possible payment to a

   16    contractor, correct?

   17    A.    Well, it was a bribe to an official, but yes.

   18    Q.    Okay.    And you are aware that there was discussions of a

   19    contract and a dispute as to who was responsible for getting a

   20    particular permit?

   21    A.    For getting a particular --

   22    Q.    Permit.

   23    A.    I do recall that being --

   24    Q.    So in allowing -- in providing you with notes of that

   25    conversation and in allowing you to question witnesses about
                           United States District Court
                                 Newark, New Jersey
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    1    that conversation, Cognizant effected a waiver, correct?

    2    A.    I don't know if it was a waiver or if they produced it as

    3    not privileged, in other words, subject to crime fraud.

    4    Q.    So at this point in the -- two years into the

    5    investigation -- well, even to this day, do you know what the

    6    scope of Cognizant's waiver is?

    7    A.    I don't know the scope of the waiver.        I do recall

    8    speaking to Cognizant's counsel to understand -- when we were

    9    discussing things related to privilege and the privilege log, I

   10    do recall trying to discern from Cognizant's counsel how they

   11    were drawing lines, what --

   12    Q.    Okay.

   13    A.    If I can finish.     What --

   14    Q.    And --

   15    A.    Sorry.   What had been produced pursuant to crime fraud,

   16    what had been produced pursuant to the 502(d) order, what had

   17    been produced otherwise that they otherwise would have deemed

   18    privileged but they had produced them.         I was trying to get

   19    them to identify those lines.        They ultimately did not.      I

   20    believe the -- I believe Mr. Buch said that they viewed that as

   21    work product.

   22    Q.    Okay.    Let's go through this one step at a time.        Let's

   23    start with DX-82.

   24               MR. FINZI:     Let's highlight the top left, if we

   25    could.
                           United States District Court
                                 Newark, New Jersey
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    1    BY MR. FINZI:

    2    Q.    And are these your notes?

    3    A.    These are my notes.

    4    Q.    And this is an indication of a call with DLA?

    5    A.    Correct.

    6    Q.    And it lists the participants, Karl Buch and Mr. Stratton,

    7    is it --

    8    A.    Yes.

    9    Q.    -- on DLA side and government lawyers on the left side?

   10    A.    Me and the two AUSAs, correct.

   11    Q.    And this conversation is on November 5th, correct?

   12    A.    Yes.

   13    Q.    And I'm going to direct your attention at some point to

   14    page 3 at the top.     "Company has drawn lines."       This may be the

   15    conversation you were referring to.

   16    A.    This --

   17    Q.    But before that, these questions about privilege and where

   18    the privilege lines were drawn, why did they arise on

   19    November 5th?

   20                 I'm sorry.   I'm not trying to trick you.       Withdrawn.

   21    Ask another way.

   22                 Isn't it true that we on the defense side raised the

   23    privilege issue early in November?

   24    A.    Yes, you all had raised an issue relating to privilege.

   25    Q.    And as a result of us raising an issue with respect to
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                198

    1    privilege and how privilege lines had been drawn, you had a

    2    conversation with Mr. Buch and Mr. Stratton?

    3    A.    That was one of the reasons.       We typically go through

    4    privilege logs during the course of an investigation anyway,

    5    but, yes, you raising it certainly was part of what factored

    6    in.

    7    Q.    Had you been through privilege logs, by the way, before --

    8    A.    Generally or --

    9    Q.    -- in conversations?

   10    A.    With counsel?

   11    Q.    Yeah.

   12    A.    I don't believe that I had.       I don't know if the -- I

   13    don't know if the team that had the case before I joined it had

   14    done that.

   15    Q.    But the first time you discussed privilege or privilege

   16    logs -- withdrawn.

   17                 The first time you discuss privilege logs with DLA

   18    and Cognizant is in this call?

   19    A.    I believe that's right.

   20    Q.    And that's after we raised it?

   21    A.    Yes.

   22    Q.    And there's an attribution that says DAL -- that's you I

   23    assume?

   24    A.    That's me.

   25    Q.    And you say, "Company has drawn lines re materials and
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 200 of 267 PageID: 25302
                               Last-Direct-Finzi                                199

    1    produced" --

    2    A.    Would you like me to read it?

    3    Q.    Yeah, please.    It would be quicker.

    4    A.    Happy to do that.

    5                Just so you know contextually, you know, when I have

    6    the lines here showing initials, it's, to the extent I can,

    7    trying to denote who's speaking.        So on the prior page, I'm

    8    noting what some of the other folks are saying.          With this part

    9    I wanted to make it very clear the point I was drawing to

   10    Mr. Buch.

   11                So what it says here is, "Company has drawn lines

   12    regarding materials" -- it should say "it has produced" -- I'm

   13    writing shorthand, and should say "we," meaning DOJ, we "want

   14    to ensure that all documents responsive and nonprivileged or

   15    that otherwise fall into a category of what was produced (crime

   16    fraud or otherwise)" -- doesn't say "we," but the import is we,

   17    meaning DOJ, want to make sure that we have that.

   18    Q.    And then --

   19                (Simultaneous crosstalk.)

   20    Q.    -- there's a line under it that says, "Our obligations

   21    require that we make terminations re:         exculpatory/favorable

   22    material."

   23                Did I read that right?

   24    A.    Correct.   So what I said to Mr. Buch was our obligations,

   25    meaning DOJ's -- our obligation as prosecutor, and we're
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 201 of 267 PageID: 25303
                               Last-Direct-Finzi                                200

    1    required that we make determinations regarding what's

    2    exculpatory and favorable material.

    3    Q.    And --

    4    A.    Sorry.   Mr. Buch then responded that he -- they --

    5    Cognizant, DLA -- are not the government agent.          I then

    6    responded I agree, which is why I underlined it three times.             I

    7    said you're not our agent.       It's the company's obligation to

    8    produce all responsive materials.

    9    Q.    Then it says, "We make assessment."        Who's the "we" there?

   10    A.    The "we make assessment," the we is we, DOJ.          We make the

   11    assessment regarding what's exculpatory.         Then I say the

   12    company is to assess basis -- there, I think what I'm talking

   13    about is basis as to whether something is privileged.           And then

   14    underneath it, I reference the grand jury subpoena that we sent

   15    them, I think, within a day or two after that.

   16    Q.    Is that the first grand jury subpoena served in this case

   17    to Cognizant?

   18    A.    To Cognizant, yes.     But we served numerous ones --

   19    Q.    Why was it served --

   20               (Simultaneous crosstalk.)

   21    Q.    Why was it served the day after privilege was raised?

   22    A.    That was when we determined to serve the subpoena.

   23    Q.    So the link between the privilege -- our raising the

   24    privilege issue and the department cutting the subpoena is

   25    coincidence?
                           United States District Court
                                 Newark, New Jersey
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    1    A.    It's not coincidence.      We wanted to compel them to provide

    2    materials.    To that point, they'd been providing materials

    3    voluntarily.

    4    Q.    Okay.

    5    A.    I wanted to issue a subpoena -- we, collectively as a

    6    team, wanted to issue a subpoena so the company would be

    7    compelled to produce material and that then they would produce

    8    what's responsive, not what they deemed relevant, not what they

    9    deemed interesting, but what was responsive.          That would

   10    include both anything exculpatory and anything inculpatory.

   11    Q.    Well, but if it's exculpatory and privileged, then how do

   12    you get that?

   13    A.    I had no reason to believe that there was anything that

   14    was privileged that they were withholding that was exculpatory.

   15    Q.    Well, let's go back to the question we raised earlier.

   16    "Company has drawn lines re: materials produced and wants to --

   17    and we want to ensure all docs responsive nonprivileged or that

   18    otherwise fall into categories of what were produced, crime

   19    fraud or other" --

   20    A.    Otherwise.

   21    Q.    -- "otherwise."

   22    A.    We want to make sure we had them.

   23    Q.    Yeah.

   24    A.    In other words, I want to make sure that we, as the

   25    prosecutors, have those materials.
                            United States District Court
                                  Newark, New Jersey
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    1    Q.    So you are asking Cognizant where is the line between what

    2    is privileged and what is not privileged?

    3    A.    No.   I'm asking them to identify the line if they've

    4    produced things that are subject to crime fraud.          I know they

    5    produced things pursuant to the 502(d) order.          I wanted them to

    6    identify what those materials were so I could better understand

    7    where they were drawing the line as to those two issues.

    8    Q.    Okay.   If they're withholding -- we are clear that there

    9    has been a privilege waiver, correct?

   10    A.    There's been a ruling in this case, yes.

   11    Q.    No.   Sorry.   Before the ruling in this case, you can agree

   12    that, either by virtue of a crime fraud exception or by virtue

   13    of a privilege waiver, Cognizant has produced material that

   14    would otherwise be privileged?

   15    A.    Correct.   Cognizant did produce material that could

   16    otherwise have been deemed privileged.

   17    Q.    How do you know what they determined was the scope of what

   18    they would call privileged and what they wouldn't?

   19    A.    Could you repeat that.

   20    Q.    Yeah.   How did the department know -- withdrawn.

   21                Did the department ask how Cognizant, having waived

   22    privilege at least in some respect, determined what material

   23    remained privileged and what had been waived?

   24    A.    I was trying to discern the line of what they'd produced,

   25    where that line was, what they had designated as crime fraud
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                203

    1    and what they had designated pursuant to the 502(d) selective

    2    waiver order.

    3    Q.    But you were just asking to identify the documents.           You

    4    didn't talk about what is the subject matter that has been

    5    waived?

    6    A.    We did not talk about the subject matter, correct.

    7    Q.    And you didn't talk about the scope of whatever crime

    8    fraud exception they were using to produce privileged

    9    documents?

   10    A.    That's what I wanted to understand where they had drawn

   11    the lines.

   12    Q.    You told us --

   13    A.    That's why I asked.

   14    Q.    You just told us five minutes ago you never got the answer

   15    to where the lines were drawn.

   16    A.    I did not get the answer.

   17    Q.    So what happens next is --

   18                MR. FINZI:    If we could go to DX-81, please.

   19    A.    To 81?

   20    BY MR. FINZI:

   21    Q.    Yeah.    This is a letter.    I believe you sign it, but I'm

   22    not sure.     Yes, you sign it.

   23                Tell me when you're through, Mr. Last.

   24    A.    I'm through.

   25    Q.    So this is a letter that you sent to the defense, right?
                           United States District Court
                                 Newark, New Jersey
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    1    A.    Correct.

    2    Q.    January 15th, 2020.     So right about the time we're talking

    3    about here.

    4    A.    The time we're talking about here.        What do you mean?

    5    Q.    Sorry.   Later in the case but -- withdrawn.

    6               This is January 15th of 2020, you send a letter to

    7    us.

    8               MR. FINZI:     If you can highlight, Jesse, the third

    9    paragraph, with respect to the privilege issues raised.

   10               THE WITNESS:     I see it.

   11               MR. FINZI:     Let's do the last line.      No, sorry.    The

   12    first one through determinations, please.

   13    BY MR. FINZI:

   14    Q.    So here you report to the defense that the company has

   15    asserted privilege over its decision-making with respect to

   16    privilege.

   17    A.    Correct.   That was what I referenced earlier.

   18    Q.    So the company would not tell you on what basis they

   19    determined whether a document was privileged or not privileged?

   20    A.    Correct.   As I was saying earlier, I was trying to figure

   21    out the lines with respect to certain of these issues.

   22    Q.    And you never got that answer?

   23    A.    Correct.

   24    Q.    You said you had no reason to believe that there was

   25    anything exculpatory in the material that was being withheld as
                           United States District Court
                                 Newark, New Jersey
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    1    privileged, correct?

    2    A.    Correct.

    3    Q.    But you asked Cognizant to go look for it anyway?

    4    A.    To go look for what?

    5    Q.    Excuse me?

    6    A.    To go look for what?

    7    Q.    To go look for whether there was exculpatory material in

    8    what they withheld as privileged.

    9    A.    No.   We issued them a subpoena that would require them to

   10    produce anything that was exculpatory or inculpatory.           I was

   11    very clear with Mr. Bruck that it was our job as the prosecutor

   12    to determine what would be exculpatory or inculpatory or

   13    otherwise.

   14                MR. FINZI:    Give me just one second, Your Honor.

   15                Let's go to DX-82, please.

   16    A.    Which page?

   17    BY MR. FINZI:

   18    Q.    There is a reference to -- give me one more second.

   19                Here it is.    Page before it.     I'm sorry.

   20                MR. FINZI:    Sorry, one page before, Jesse.       Okay.

   21                The "Timing -- unclear -- running issues to ground,"

   22    can we highlight that.

   23    BY MR. FINZI:

   24    Q.    These are your same notes, right?

   25    A.    These are the notes from November 5, 2018.
                            United States District Court
                                  Newark, New Jersey
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                               Last-Direct-Finzi                                206

    1    Q.    And that's your handwriting?

    2    A.    My handwriting.

    3                 MR. FINZI:   Let's highlight the PW allegations --

    4    A.    Do you want me to read that?

    5    BY MR. FINZI:

    6    Q.    No, I got it.

    7                 "Paul, Weiss allegations re: exculpatory/favorable

    8    docs."

    9                 Did I read that right?

   10    A.    That's what it says.

   11    Q.    "Trying to understand line between crime fraud and

   12    selective waiver."

   13                 Did I read that right?

   14    A.    Yes.

   15    Q.    "Can look at what withheld and confirm if basis for

   16    privilege and whether crime fraud or other bases applies."

   17    A.    I think it says company, C-O.       And so I think there what

   18    I'm doing is asking -- again, this is the same thing.           I'm

   19    asking the company to tell us what the line was.          I'm saying

   20    I'm trying to understand the line regarding crime fraud and

   21    selective waiver.     I want the company to look at what it

   22    withheld and confirm for us and identify for us what had been

   23    produced pursuant to crime fraud or otherwise --

   24    Q.    So you don't --

   25                 (Simultaneous crosstalk.)
                           United States District Court
                                 Newark, New Jersey
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                               Last-Direct-Finzi                                207

    1    A.    Sorry.   If I can finish.

    2                 So we know where those lines are drawn.

    3    Q.    And now we've established we don't know where those lines

    4    are drawn?

    5    A.    They didn't respond --

    6    Q.    Because they asserted privilege over how they determined

    7    what was privileged and not and where the lines were drawn?

    8    A.    Correct.

    9    Q.    Now, you did not ask Mr. Buch and DLA to look and see in

   10    the privileged documents whether there was exculpatory

   11    information?

   12    A.    We did not.

   13                 MR. FINZI:   Let's look, then, at DX-83.

   14    BY MR. FINZI:

   15    Q.    These are again your notes?

   16    A.    These are my notes.

   17                 MR. FINZI:   Let's highlight the upper left block just

   18    to make sure who's on.

   19    BY MR. FINZI:

   20    Q.    David Last, that's you, DAL?

   21    A.    Correct.

   22    Q.    Courtney Howard?

   23    A.    Yes.

   24    Q.    Who's NG?

   25    A.    Nick Grippo.
                           United States District Court
                                 Newark, New Jersey
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                                Last-Direct-Finzi                                 208

    1    Q.     And KB and GS are Karl Buch --

    2    A.     And Gray Stratton.

    3    Q.     It's titled "Call with DLA."

    4    A.     Correct.

    5    Q.     It's 11/21 --

    6    A.     2018.

    7    Q.     And that is -- in relation to the other notes we looked at

    8    where Paul, Weiss was raising an issue that's about two weeks

    9    later, 17 days; is that right?       Is my math right?      Something

   10    like that.

   11    A.     Three.

   12    Q.     About two weeks later.

   13                  MR. FINZI:   Could we scroll down just a couple more

   14    lines.

   15    BY MR. FINZI:

   16    Q.     According to your notation, it's Karl Buch who's speaking,

   17    right?   Where it says "KB/"?

   18    A.     Yes, but where are you looking?      I see.    Never mind.    I

   19    see.

   20    Q.     These are attributed to Karl Buch?

   21    A.     Yes.

   22    Q.     And he writes, "5K pulled for privilege."        Presumably

   23    5,000 documents?

   24    A.     Yes.    So this was -- this was, I believe, the -- we had

   25    issued the subpoena already.       And so he's giving us an update
                            United States District Court
                                  Newark, New Jersey
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    1    as to what they've -- what they -- what the timing is on

    2    providing us that and where things stand.

    3                So yes, 5K is 5,000.

    4    Q.    And he says, "Two weeks to provide updated privilege log."

    5    A.    Correct.

    6    Q.    So we're talking about privilege here.         He says, "Nothing

    7    new."   Then he says, "Nothing exculpatory found to date."

    8    A.    That's what he said.

    9    Q.    If he hadn't been asked to review the documents withheld

   10    as privileged, why is he reporting to you that there's been

   11    nothing exculpatory found in them?

   12    A.    All I can think is that, in the last conversation that you

   13    just noted, I made very clear to him that determining what is

   14    exculpatory is our jobs as the prosecutor.         I'd also referenced

   15    what Paul, Weiss's allegations were with regard to exculpatory

   16    material.

   17                So my guess on this -- because I don't recall this

   18    call specifically -- is that Karl was just saying to us that

   19    they hadn't found anything exculpatory.         But I was very clear

   20    to him that's not his job; that's our job as the prosecutors.

   21    And why he's telling me that, I don't know.

   22    Q.    But -- so when Karl Buch says to you, "nothing exculpatory

   23    was found to date," that is a cooperating company that is being

   24    left to make the determinations about what's exculpatory and

   25    what's not?
                           United States District Court
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    1    A.     No, I don't agree with that.

    2    Q.     That would be wrong?

    3    A.     I told you what it said and I told you what Mr. Buch said

    4    and I told you what my perspective is on it.          Your

    5    characterization, I don't view as correct.

    6    Q.     Well, can we agree that Mr. Buch at least thought he was

    7    looking for something exculpatory?

    8    A.     I don't know what Mr. Buch thought.       You'll have to ask

    9    him.

   10    Q.     Well, I wasn't part of the conversation.        But do you

   11    recall any part of the conversation where Mr. Buch is saying

   12    that the cooperating company is taking on the job of looking --

   13    finding whether or not there's exculpatory information?

   14    A.     No --

   15    Q.     You don't recall that?

   16    A.     No.   I recall that in the notes from November 5th he

   17    specifically said that he, DLA, the company, are not our agent,

   18    to which I responded I agree and underlined it about ten times.

   19                 I do agree they're not our agent.

   20    Q.     So if you don't know how they've drawn privilege lines and

   21    you don't know how they've construed the crime fraud exception,

   22    how can you know whether or not there are exculpatory documents

   23    that are being improperly withheld as privileged?

   24    A.     Could you repeat that.

   25    Q.     Yeah.   You don't know where the privilege lines are being
                           United States District Court
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    1    drawn?

    2    A.    Correct.

    3    Q.    You don't know where a possible crime fraud exception line

    4    is being drawn?

    5    A.    Correct.

    6    Q.    So there are documents that you can't see, correct, being

    7    withheld as privileged.      But you can't even evaluate -- you

    8    don't have the bases upon which to evaluate whether they are,

    9    in fact, privileged or part of the crime fraud exception?

   10    A.    We reviewed the privilege log.       And then we had multiple

   11    conversations with them about the privilege log.

   12    Q.    But I'm not talking about the privilege log; I'm talking

   13    about the concept, the larger one.

   14               There has been a waiver, right?

   15               They've allowed you to inquire -- they've allowed you

   16    to inquire about Steve Schwartz's communications as a lawyer.

   17    They let Mani talk about it.       They let other people talk about

   18    it.   They downloaded the contents of that conversation to you.

   19    That's a waiver.     Can we agree on that?

   20    A.    Or a crime fraud.

   21    Q.    Or a crime fraud.     But what's the scope of that waiver?

   22    Is it just that phone call?       Is it any bribe?     Is it any bribe

   23    paid in India?    Is it any conversation that Mr. Schwartz had?

   24    If you don't know the lines, what's the scope of it?

   25    A.    We asked the scope, and they didn't provide the scope.
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                                 Newark, New Jersey
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    1                 MR. FINZI:   Your Honor, may I have a moment?

    2                 May I have one moment, Your Honor?

    3                 THE COURT:   You need to consult?

    4                 MR. FINZI:   Yes.

    5                 THE COURT:   Sure.

    6                 (Discussion off the record between counsel.)

    7                 MR. FINZI:   I have nothing further.

    8                 THE COURT:   Anything further from the defense side?

    9                 MR. LEWIN:   No, Judge.

   10                 THE COURT:   Government?

   11                 MR. FAYER:   Yes, Your Honor.     Brief cross-examination

   12    from the government.

   13                 THE COURT:   Yes.

   14                              (CROSS-EXAMINATION)

   15    BY MR. FAYER:

   16    Q.    Can you hear me?     Good afternoon, Mr. Last.

   17    A.    Good afternoon.

   18    Q.    So Mr. Finzi referenced that Paul, Weiss had made

   19    allegations that Cognizant was hiding exculpatory material from

   20    the government; is that right?

   21    A.    Yes.

   22    Q.    And do you recall Paul, Weiss coming in to meet with the

   23    prosecuting attorneys in this case, including yourself?

   24    A.    Yes.

   25    Q.    Did that meeting take place on November 2nd of 2018?
                            United States District Court
                                  Newark, New Jersey
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    1    A.    That sounds right.

    2    Q.    And during that meeting did Mr. Finzi, Ted Wells, and

    3    other lawyers for Paul, Weiss make the allegation that

    4    Cognizant was asserting privilege over exculpatory material?

    5    A.    Yes.

    6    Q.    Did you give after that meeting Paul, Weiss an opportunity

    7    to point you to anything that could help you figure out what

    8    that exculpatory material was?

    9    A.    Yeah.   So we exchanged a series of letters with Paul,

   10    Weiss to Mr. Schwartz's counsel on this issue.          We asked them

   11    to point us to any issue relating to this, any -- to identify

   12    any documents, any issue, anything that would sort of lead us

   13    to what they were alleging.       And they repeatedly refused to do

   14    that.

   15    Q.    Paul, Weiss refused to take up your opportunity to point

   16    you to the exculpatory information that they claimed that

   17    Cognizant was hiding from the government; is that right?

   18    A.    Correct.   Not only to the actual information itself but to

   19    any information that would lead us to what they were alleging

   20    existed.

   21    Q.    In the four and a half years since that meeting has the

   22    government issued several reciprocal discovery requests to

   23    Paul, Weiss?

   24    A.    Yes.

   25    Q.    In those four and a half years has Paul, Weiss or anyone
                           United States District Court
                                 Newark, New Jersey
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    1    else representing Mr. Schwartz disclosed any exculpatory

    2    information to the government?

    3    A.    No.

    4    Q.    In those years has Mr. Wells or Mr. Finzi or anybody at

    5    Paul, Weiss put any meat on the bone regarding their claim that

    6    Cognizant was hiding exculpatory information from the

    7    government?

    8    A.    No.

    9    Q.    Now, you testified on direct that Cognizant had withheld

   10    documents -- some documents as privileged; is that right?

   11    A.    Correct.

   12    Q.    And that makes sense because Cognizant is not on the

   13    government's team, right?

   14    A.    Correct.

   15    Q.    In fact, Cognizant was in possession of those privileged

   16    documents, not the government; is that right?

   17    A.    Yes.

   18    Q.    Now, in your career you've worked on cases where companies

   19    have produced privilege logs; is that right?

   20    A.    Yes.

   21    Q.    And based on your experience, is it common to challenge a

   22    privilege log in court?

   23    A.    No.

   24    Q.    When do prosecutors typically in your experience challenge

   25    a privilege log in court?
                           United States District Court
                                 Newark, New Jersey
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    1    A.    Usually where there's some obstruction or there's some

    2    other issue that's at play.

    3    Q.    That's not what happened in this case, though, is it?

    4    A.    No.

    5    Q.    In this case Cognizant was producing documents voluntarily

    6    to the government; is that right?

    7    A.    Correct.

    8    Q.    In this case Cognizant produced certain documents pursuant

    9    to a 502(d) order; is that right?

   10    A.    Yes.

   11    Q.    You issued a grand jury subpoena to Cognizant; is that

   12    right?

   13    A.    Yes.

   14    Q.    After issuing that grand jury subpoena to Cognizant, did

   15    you request an updated privilege log from Cognizant?

   16    A.    Yes.

   17    Q.    And did Cognizant produce updated privilege logs to you?

   18    A.    Yes.

   19    Q.    Did you flag -- did the prosecution team review those

   20    privilege logs?

   21    A.    Yes.    We reviewed all the logs.

   22    Q.    What did the prosecution team do to review the privilege

   23    logs?

   24    A.    Sure.   So collectively as a team, me and the two AUSAs

   25    that were on the case, we reviewed the privilege logs.            And
                           United States District Court
                                 Newark, New Jersey
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    1    what we would do is we would go through and highlight any

    2    material that seemed -- you know, that we wanted to either push

    3    back or ask a question about or get more information.           And so

    4    then we did that with DLA, where we would have a conversation

    5    where we would go through with them the items on the log.

    6    Q.    So you highlighted certain entries that you had questions

    7    about; is that right?

    8    A.    Yes.

    9    Q.    And you forwarded those highlighted entries to Cognizant;

   10    is that right?

   11    A.    To DLA, but yes.

   12    Q.    Sorry.   To DLA Piper; is that right?

   13    A.    Yes.

   14    Q.    And then you had calls with DLA Piper where they provided

   15    more information on some of the entries that you had questions;

   16    is that right?

   17    A.    Yes.

   18    Q.    And did DLA Piper also send the prosecution team certain

   19    letters providing additional information on the entries that

   20    you had discussed during those calls?

   21    A.    Yes.

   22    Q.    Did you have any reason to believe that DLA Piper was

   23    using privilege to hide exculpatory material from the

   24    prosecution team?

   25    A.    No.
                           United States District Court
                                 Newark, New Jersey
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    1    Q.    Were you satisfied with the explanations that you had

    2    received from DLA Piper about its assertions of privilege over

    3    its own documents?

    4    A.    Yes.

    5    Q.    Had you believed that DLA Piper was hiding anything from

    6    the government, would you have taken depositional steps to

    7    obtain the material?

    8    A.    Yes.

    9    Q.    If you had believed that DLA Piper or Cognizant possessed

   10    exculpatory material that it had not produced to you, how would

   11    that have impacted the investigation?

   12    A.    I would have not sought charges in this case.

   13                 MR. LUSTBERG:   I'm sorry.    We didn't hear that.

   14                 THE WITNESS:    I would not have sought charges in this

   15    case.

   16    BY MR. FAYER:

   17    Q.    Okay.   I'd like to ask you just a few questions about the

   18    investigation in this case.

   19                 MR. FAYER:   Your Honor, just so you're aware, we'd

   20    like -- for efficiency's sake, we'd like to have Mr. Last

   21    testify to these so we don't have to recall him to the extent

   22    that some of the questions I may ask him were not within the

   23    scope of what Mr. Finzi asked.

   24                 THE COURT:   Yes, I think that's fine.      If you need to

   25    examine him further on that material, of course you can do
                           United States District Court
                                 Newark, New Jersey
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    1    that.

    2                 MR. FINZI:   No objection.

    3    BY MR. FAYER:

    4    Q.    So I believe you testified on direct examination that you

    5    began working on the Cognizant investigation in April of 2018;

    6    is that right, Mr. Last?

    7    A.    Yes.   Correct.

    8    Q.    And in the course of working on the Cognizant

    9    investigation, did you review the case file?

   10    A.    Yes.

   11    Q.    Are you generally aware of investigative steps taken prior

   12    to joining the case?

   13    A.    Generally, yes.

   14    Q.    And obviously you're aware of investigative steps that

   15    were taken after you joined the case team; is that right?

   16    A.    Certainly.

   17    Q.    Prior to the indictment in this case, did the prosecution

   18    team interview approximately 23 witnesses?

   19    A.    Yes.

   20    Q.    Did the prosecution team rely on Cognizant to make the

   21    determination as to who -- which witness to interview?

   22    A.    No.

   23    Q.    Who made that determination?

   24    A.    We did as the prosecutors and with -- in conjunction with

   25    our FBI agents.
                            United States District Court
                                  Newark, New Jersey
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    1    Q.    And were some of those witnesses Cognizant employees?

    2    A.    Yes.

    3    Q.    And were some of those witnesses not Cognizant employees?

    4    A.    Yes.

    5    Q.    Was DLA Piper at any of the interviews you conducted of

    6    these witnesses?

    7    A.    No.    Of course not.

    8                 Well, actually, there was one.      There was one

    9    technical witness.     I think he's -- he was an employee who

   10    could speak about the Tandberg videoconferencing system.

   11    That's why I think they represented him as his counsel.            That

   12    was the only one.

   13    Q.    So other than the interview of the technical witness

   14    regarding the Tandberg records, DLA Piper did not participate

   15    in the government's interviews of witnesses in this case?

   16    A.    Correct.

   17    Q.    Now, the first interview in this case took place on

   18    February 7th, 2017.     Does that sound right to you?

   19    A.    That sounds right.

   20    Q.    And that was of Srimanikandan Ramamoorthy, or Mani; is

   21    that right?

   22    A.    Correct.

   23    Q.    And before that interview took place, Cognizant produced

   24    over 5,000 pages of documents to the prosecution team.            Does

   25    that sound right?
                           United States District Court
                                 Newark, New Jersey
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    1    A.    That sounds right.

    2    Q.    Prior to Mani's interview did the prosecution team prepare

    3    draft chronologies of documents?

    4    A.    Yes.

    5    Q.    Did Cognizant prepare those chronologies for the

    6    government?

    7    A.    No.    The team prepared them.     Our team, the prosecutors

    8    that preceded me prepared that.

    9    Q.    But you've reviewed the chronology so you know that they

   10    were prepared?

   11    A.    Correct.

   12    Q.    Prior to Mani's first interview, did the prosecution team

   13    issue preservation notices to various internet service

   14    providers?

   15    A.    Yes.

   16    Q.    Did the prosecution team also issue a preservation notice

   17    to Lawrence & Toubro [sic]?

   18    A.    Yes, L&T.

   19    Q.    Or L&T?

   20    A.    Yes.

   21    Q.    By the way, L&T, according to the indictment, is the

   22    company that paid the bribe payment to the government official

   23    on behalf of Cognizant; is that right?

   24    A.    That's correct.     In the indictment, it's noted as "the

   25    construction company."
                           United States District Court
                                 Newark, New Jersey
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    1    Q.    And prior to Mani's first interview, the prosecution team

    2    issued grand jury subpoenas to JPMorgan and Verizon; is that

    3    right?

    4    A.    Yes.

    5    Q.    Did the prosecution take these various investigative steps

    6    independent of Cognizant or DLA Piper?

    7    A.    Yes.   Completely independent.

    8    Q.    So, in other words, independent of whatever Cognizant was

    9    doing, the prosecution team was actively conducting its own

   10    investigation before it interviewed Mani on February 7th, 2017;

   11    is that right?

   12    A.    Correct.

   13    Q.    And those steps included analyzing the voluminous records

   14    that were coming in, seeking to preserve additional data, and

   15    issuing subpoenas to gather more information; is that right?

   16    A.    Yes.

   17    Q.    Now, the prosecution team in this case also arranged

   18    interviews without any facilitation from Cognizant; is that

   19    right?

   20    A.    Yes.

   21    Q.    So, for example, in May of 2018 did the prosecution team

   22    travel to Singapore to interview employees of L&T?

   23    A.    Yes.

   24    Q.    And over the course of five days in Singapore the

   25    prosecution team interviewed four L&T employees; is that right?
                           United States District Court
                                 Newark, New Jersey
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                                Last-Cross-Fayer                                222

    1    A.    Correct.

    2    Q.    Did DLA Piper or Cognizant encourage the prosecution team

    3    to do these interviews?

    4    A.    No.

    5    Q.    Did DLA Piper or Cognizant participate in these

    6    interviews?

    7    A.    No.

    8    Q.    Did the prosecution team also request and receive

    9    documents from L&T?

   10    A.    Yes.

   11    Q.    Did the prosecution team meet with L&T's lawyers?

   12    A.    Yes.

   13    Q.    Did the prosecution team meet for individual counsel for

   14    the L&T witnesses?

   15    A.    Yes.

   16    Q.    And the prosecution team didn't tell Cognizant or

   17    DLA Piper about these meetings, did they?

   18    A.    No.

   19    Q.    So independently of Cognizant or DLA Piper, the

   20    prosecution team had these meetings, gathered evidence, and

   21    interviewed folks from L&T; is that correct?

   22    A.    Yes.

   23    Q.    In Mr. Schwartz's second interview by DLA Piper did he

   24    make reference to the fact that he was dealing with eye surgery

   25    on the week of the two calls that are at issue in the
                           United States District Court
                                 Newark, New Jersey
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                                Last-Cross-Fayer                                223

    1    indictment?

    2    A.    Yes.

    3    Q.    And those calls took place on April 21st and April 22nd,

    4    2014, right?

    5    A.    Correct.

    6    Q.    Did the government take any investigative steps to

    7    investigate Mr. Schwartz's claim that he was concerned about

    8    his eye surgery during that week?

    9    A.    Yeah.   So we interviewed -- there were three doctors.          We

   10    interviewed one of the doctors.       Two of the others testified

   11    before the grand jury.      And then we obtained medical records

   12    from all three.

   13    Q.    Did the prosecution team also learn that on April 22nd,

   14    2014, Mr. Schwartz attended a Mets game?

   15    A.    Yes.

   16    Q.    And that was on the day when Mr. Schwartz had one of the

   17    calls described in the indictment?

   18    A.    Yes.

   19    Q.    And on one of the days Mr. Schwartz claimed to be

   20    concerned about his eye surgery?

   21    A.    Yes.    And we also obtained video footage of him at the

   22    game from, I think, a television station.         And then we verified

   23    through StubHub that he'd purchased the tickets.

   24    Q.    Did DLA Piper tell you they obtained footage of

   25    Mr. Schwartz at the Mets game?
                           United States District Court
                                 Newark, New Jersey
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                                Last-Cross-Fayer                                224

    1    A.    No.

    2    Q.    Did Cognizant encourage you to do that?

    3    A.    Not that I'm aware of, no.

    4    Q.    So the prosecution independently took these investigative

    5    steps; is that right?

    6    A.    Yes.

    7    Q.    Okay.   As part of the investigation, did the prosecution

    8    team issue more than 25 grand jury subpoenas?

    9    A.    That sounds right.

   10    Q.    The first subpoena was issued in around November 2016?

   11    A.    Yes.

   12    Q.    And did you issue subpoenas all the way up to

   13    January 2019?

   14    A.    Yes.

   15    Q.    Did the prosecution team subpoena third parties other than

   16    Cognizant?

   17    A.    Yes.

   18    Q.    Credit card companies?

   19    A.    Yes.

   20    Q.    Phone companies?

   21    A.    Yes.

   22    Q.    Financial institutions?

   23    A.    Yes.

   24    Q.    DLA Piper have any role in the prosecution team seeking

   25    these records?
                           United States District Court
                                 Newark, New Jersey
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    1    A.    No.

    2    Q.    Prosecution team -- did the prosecution team obtain an

    3    order pursuant to 18 United States Code Section 2703(d) to

    4    obtain records from Yahoo for an email account in this case?

    5    A.    Yes.

    6    Q.    Did DLA Piper or Cognizant have any role in the

    7    prosecution team seeking this court order?

    8    A.    Not that I'm aware of, no.

    9    Q.    Over the course of the investigation, the prosecution team

   10    received a lot of documents; is that right?

   11    A.    Yes.

   12    Q.    Was there a system in place to review documents?

   13    A.    Yeah.   So when we receive document productions in this

   14    case or any case in the unit -- this is common, I think, in

   15    white collar cases generally -- we put them into a system

   16    called Relativity where we can review documents in that type of

   17    platform.

   18                 In this particular case, we also used third-party

   19    document reviewers that reviewed documents for us.           And then as

   20    part of the team, certainly once I joined the case, but I have

   21    every reason to think the prior team did this and I think

   22    Mr. Gingras testified to this earlier, that we as a team also

   23    review the documents.      And so we sort of parse out, you know,

   24    through various methods of sort of analyzing the documents and

   25    trying to determine what's there and really get our arms around
                           United States District Court
                                 Newark, New Jersey
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    1    what's there and what's the most relevant based on our own

    2    review.

    3    Q.    So you undertook your own investigation of the documents

    4    that Cognizant provided; is that right?

    5    A.    Correct.

    6    Q.    Did you ever direct Cognizant to perform interviews of its

    7    witnesses?

    8    A.    No.

    9    Q.    Did you ever tell Cognizant who to interview and when?

   10    A.    No.

   11    Q.    Did you ever tell Cognizant how it should interview a

   12    witness?

   13    A.    No.

   14    Q.    Did you ever tell a lawyer at DLA Piper to grill a witness

   15    like a prosecutor?

   16    A.    No, definitely not.

   17    Q.    Have you ever, in the course of your career, directed a

   18    company to perform an interview of a witness?

   19    A.    No.   I've been a prosecutor for 17 years.        I've never done

   20    that.

   21    Q.    Did you ever hear of anybody else on the prosecution team

   22    directing Cognizant to perform an interview of a witness?

   23    A.    No.

   24    Q.    So I think you testified a moment ago that Cognizant

   25    provided a lot of information to the prosecution team in this
                           United States District Court
                                 Newark, New Jersey
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                                Last-Cross-Fayer                                227

    1    case, right?

    2    A.    Yes.

    3    Q.    And did the prosecution team use the information that

    4    Cognizant provided derivatively to perform its own

    5    investigation?

    6    A.    Yes, just like we would with any cooperator.          Just like we

    7    would -- when I was an AUSA in Washington, DC, where I was ten

    8    years, I had cooperators in cases.        A cooperator provides

    9    information, you take the information and you use it for

   10    follow-on investigation.      That's exactly what was done here.

   11    Q.    Does a corporate cooperator that provides exculpatory

   12    information receive any less credit for their cooperation?

   13    A.    No.

   14    Q.    Did the prosecution team ever control Cognizant?

   15    A.    No.

   16    Q.    Did the prosecution team ever use DLA Piper's offices?

   17    A.    No.

   18    Q.    Did the prosecution team ever use DLA Piper's computers?

   19    A.    No.

   20    Q.    Was Cognizant or DLA Piper part of the prosecution team?

   21    A.    No, absolutely not.

   22    Q.    Did you trust Cognizant or DLA Piper like you would an FBI

   23    agent?

   24    A.    No.    The FBI agents and the prosecutors, we're part of our

   25    investigative team.     We're law enforcement.       We work together
                           United States District Court
                                 Newark, New Jersey
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                                Last-Cross-Fayer                                228

    1    as our team.

    2                 A company that's cooperating has very different

    3    interests and divergent interests from us.         When a company is

    4    cooperating, again just like an individual cooperator, there's

    5    a certain healthy amount of skepticism when they're providing

    6    information.

    7                 And so I think Mr. Gingras also testified to this

    8    earlier as well, like, if you have cooperator that's providing

    9    information, you pressure-test it through other aspects of the

   10    investigation.    We always conduct our own investigation, make

   11    our own assessments of the evidence.

   12    Q.    The prosecution team conducted its own investigation in

   13    this case; is that right?

   14    A.    Yes.

   15    Q.    It did its own interviews; is that right?

   16    A.    Yes.

   17    Q.    Made its own determination as to which witness was

   18    credible; is that right?

   19    A.    Yes.

   20    Q.    And who made the ultimate decision to charge the case?

   21    A.    We did as the prosecution team.

   22                 MR. FAYER:   One moment, Your Honor.

   23                 Thank you.

   24                 THE COURT:   Okay.   There was some new material there.

   25    So I'll hear you.
                           United States District Court
                                 Newark, New Jersey
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                               Last-Redirect-Finzi                              229

    1                 MR. FINZI:    Yes.

    2                              (REDIRECT EXAMINATION)

    3    BY MR. FINZI:

    4    Q.    Can you hear me okay?

    5    A.    Yes.

    6    Q.    Mr. Last, you testified -- there was a long string

    7    questions about work that the DOJ did early in the

    8    investigation, but you weren't there for that, correct?

    9    A.    Correct.   I joined in April 2018.

   10    Q.    So anything you're telling us about pre-April 2018 is just

   11    based on what you've heard from others?

   12    A.    And what I've seen in the case file.

   13    Q.    Okay.   Fair.

   14                 There was some discussion about inviting the defense

   15    to provide exculpatory material or evidence -- I think --

   16    sorry.   Withdrawn.

   17                 You were asked some questions by Mr. Fayer, I think,

   18    about whether the defense had been invited to produce material

   19    and provide information to substantiate that there was

   20    exculpatory material behind the privilege, correct?

   21    A.    Mr. Fayer was asking and I think my answer was whether

   22    Mr. Schwartz's counsel -- after making those allegations, we

   23    had asked you all, respectfully, to point to either that

   24    evidence or to any information related to that evidence, and

   25    you and Mr. Schwartz's other counsel declined.
                           United States District Court
                                 Newark, New Jersey
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                              Last-Redirect-Finzi                               230

    1                 MR. FINZI:   Can we take a look at -- I think it's a

    2    new GX number.    I forget what our last number is.         We can

    3    just -- let's set the stage here.

    4    BY MR. FINZI:

    5    Q.    Do you recall that we were supposed to come in for a

    6    meeting on Friday, November 2nd?

    7    A.    Yes.

    8    Q.    And that was the meeting you were referring to where

    9    Mr. Wells, myself, and some others were going to come in to

   10    talk about the case?

   11    A.    Yes.

   12    Q.    And before we could even get there, you sent us an email,

   13    correct?

   14    A.    Yes.

   15    Q.    And it attaches a letter relating to that very meeting?

   16    A.    Correct.

   17                 MR. FINZI:   Can we look at the letter?

   18                 THE WITNESS:   Is this an exhibit in the binder?

   19                 MR. FINZI:   No, it's a new exhibit.

   20                 Your Honor, I'll mark it later, if it's okay.         I just

   21    don't have a number.

   22                 THE COURT:   Does anybody have handy what the last

   23    number was?

   24                 MS. COLLART:   138.

   25                 MR. FINZI:   138, Your Honor.
                           United States District Court
                                 Newark, New Jersey
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                              Last-Redirect-Finzi                               231

    1               THE COURT:     We're going to call this 138?       Go ahead.

    2    BY MR. FINZI:

    3    Q.    Isn't it true that, rather than invite us to provide

    4    information, you warned us not to provide information and

    5    threatened that, if we disclosed information that might be

    6    privileged -- not threatened; threatened is too strong a

    7    word -- you reminded us of obligations under the New Jersey

    8    professional rules and trust you will not disclose any

    9    potential privileged information during our meeting?

   10    A.    What we wrote is we assumed that you have complied with

   11    your ethical obligations.      I assume you would.

   12    Q.    Okay.   So when you said a few minutes ago that you invited

   13    us to give you information, in fact, you were telling us, be

   14    careful what information you give me because it might be

   15    privileged and you might be violating your ethical rules?

   16    A.    So these weren't the letters I was speaking with.           This is

   17    the letter that came before that meeting.

   18               At the meeting you all made the allegation that

   19    there's this information that Cognizant was withholding as

   20    privileged but that you said was exculpatory.

   21               We then sent follow-on letters and exchanged a number

   22    of letters -- I don't know if it was two or three iterations

   23    between the two sides -- about this issue where we said, if

   24    you're aware of information, please identify it for us, even at

   25    a minimum by just identifying the date, subject matter, just
                           United States District Court
                                 Newark, New Jersey
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                              Last-Redirect-Finzi                               232

    1    anything that would be a clue as to what it was.          And you

    2    continuously refused to do that.        And I think our final letter

    3    was quite clear on this point.

    4    Q.    Whose obligation is it?

    5    A.    To do what?

    6    Q.    To find exculpatory material.       Mine or yours?

    7    A.    The government identifies exculpatory information.

    8    However -- excuse me -- if I had defense counsel's claim

    9    that --

   10                (Reporter admonishment.)

   11                THE WITNESS:    I speak very fast.     I apologize.

   12    A.    In my career, when other defense counsel have raised this

   13    when there has been exculpatory information, they have been at

   14    least willing to provide some indication as to what it is to

   15    point in the correct direction.       You were not willing to do

   16    that.

   17                It's not your obligation to do that, if that's your

   18    question.    It is not your obligation.       However, if you are

   19    suggesting that this existed and that we were blind to it and

   20    we weren't able to find it and it was being hidden from us,

   21    providing some indication, some clue as to what it was, if it

   22    really did exist, would have seemed reasonable.          But you

   23    declined to do that.

   24    Q.    I'm not suggesting, Mr. Last, that you saw it and didn't

   25    give it.    I'm suggesting that you don't know what's behind the
                           United States District Court
                                 Newark, New Jersey
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                              Last-Redirect-Finzi                               233

    1    curtain and you don't know how long or wide the curtain is.

    2    They have not told you what the scope of their waiver is or

    3    what the scope of the crime fraud exception is.          How can you

    4    possibly know whether or not there's material that should be

    5    turned over that hasn't been if you don't know that?

    6    A.    My point, Mr. Finzi, is that, if you are alleging that

    7    this existed, providing some indication as to what it was

    8    seemed reasonable.     You declined.     And that's your prerogative

    9    to do.

   10    Q.    In the 17 years that you've been a federal prosecutor have

   11    you ever come across a case where you have asked a company to

   12    define the scope of their waiver and they have said no, even

   13    just the definition of the scope of my waiver is privileged?

   14    In your 17 years, has that happened?

   15    A.    I don't know that I've asked a company to identify the

   16    scope of --

   17               (Simultaneous crosstalk.)

   18    Q.    In the 17 years that you've been a prosecutor have you

   19    ever had a situation involving a crime fraud exception where

   20    you don't know what the scope of the crime fraud exception is?

   21    A.    I don't follow your question.

   22    Q.    So if something is nonprivileged because of crime fraud --

   23    take, for example, the phone call that Mr. Schwartz and

   24    Mr. Coburn are alleged to have participated in.          You said

   25    earlier that that may have fallen under the crime fraud
                           United States District Court
                                 Newark, New Jersey
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                                                                                234

    1    exception, correct?

    2    A.    Correct.

    3    Q.    That crime fraud exception suggests a subject, there is

    4    some subject over which crime fraud applies?

    5    A.    Agree.

    6    Q.    You don't know the scope of that subject in this case

    7    because Cognizant wouldn't tell you?

    8    A.    Correct.

    9                MR. FINZI:    I have nothing further, Your Honor.

   10                MR. FAYER:    Nothing further from the government.

   11                THE COURT:    Nothing further from the government?

   12                You may step down, sir.      Thank you.

   13                THE WITNESS:    Thank you, Your Honor.

   14                THE COURT:    This would be a good time for a 15-minute

   15    break.

   16                (Recess taken 4:05 through 4:20 p.m.)

   17                THE COURT:    Everybody ready?     Let's resume.

   18                MR. LUSTBERG:    Defense calls Karl Buch.

   19                THE COURT:    Bring Mr. Buch up.

   20                         KARL BUCH, DEFENSE WITNESS,

   21             having been duly affirmed, testifies as follows:

   22                THE WITNESS:    I do.

   23                THE COURTROOM DEPUTY:     Thank you.     Please have a

   24    seat.    Keep the mic close to your mouth, speak loud and

   25    clearly.   State your name for the record and spell it, please.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               235

    1                THE WITNESS:    Sure.   My name is Karl Buch, K-A-R-L,

    2    last name B-U-C-H.

    3                             (DIRECT EXAMINATION)

    4    BY MR. LUSTBERG:

    5    Q.    So it's Buch?

    6    A.    Buch.

    7    Q.    I get that wrong all the time.       Thank you for coming

    8    today, Mr. Buch.

    9                How are you currently employed?

   10    A.    I'm a partner at DLA Piper.

   11    Q.    Any other employment?

   12    A.    No.

   13    Q.    And before you were -- how long have you been at

   14    DLA Piper?

   15    A.    About nine years.

   16    Q.    What did you do before that?

   17    A.    I worked in-house for a company.

   18    Q.    So that's all public.      So it was Pfizer?

   19    A.    Correct, Pfizer.

   20    Q.    And before that?

   21    A.    I was in-house -- sorry.      I was at a law firm, Chadbourne

   22    & Parke.

   23    Q.    I take it, then, before that you were at the

   24    U.S. Attorney's Office in New Jersey, right?

   25    A.    Correct.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               236

    1    Q.    And from when to when were you an assistant U.S. attorney?

    2    A.    2003 to 2008.

    3    Q.    And I take it that -- what did you do at the

    4    U.S. Attorney's Office?      What was your area?

    5    A.    I was in several different units, including

    6    counterterrorism, securities, healthcare fraud, general -- you

    7    know, general crimes.

    8    Q.    I'm sorry.    For how long were you at the U.S. Attorney's

    9    Office?

   10    A.    Well, I think 2003 to 2008.

   11    Q.    Okay.   Five years.

   12               I take it that you developed close relationships with

   13    people at the U.S. Attorney's Office when you were there?

   14    A.    Sure.

   15    Q.    And, in fact, some of the alumni of that office are people

   16    who represent other employees of Cognizant in this matter,

   17    right?

   18    A.    Correct.

   19    Q.    Were those people brought into this case by you?

   20    A.    Their clients decided to bring them in.

   21    Q.    Were they recommended -- did you make recommendations?

   22    I'll be specific, the ones I know about.         Carlos Ortiz?

   23    A.    True.

   24    Q.    You recommended Mr. Ortiz, and I can't remember who his

   25    client is.    Who's that?
                            United States District Court
                                  Newark, New Jersey
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                              Buch-Direct-Lustberg                              237

    1    A.    I don't remember.

    2    Q.    John Kearny?

    3    A.    Yeah.   Typically, my practice would be to recommend

    4    multiple lawyers to a client or to, you know, an employee of

    5    the company and sort of let them make a decision to choose

    6    either one of those or anybody else that they might have in

    7    mind.

    8    Q.    Of course, the decision is theirs.        But I'm just asking

    9    who you referred.

   10                 And with regard to Mr. Ortiz and Mr. Kearny, those

   11    are people to whom you referred various Cognizant employees; is

   12    that right?

   13    A.    Yeah.   I think, Mr. Lustberg, we also, you know,

   14    recommended at one point two attorneys from Gibbons to people

   15    within the company as well.

   16    Q.    Good thing that didn't happen.

   17                 And the last one was Matt Beck.      Was he a person that

   18    you recommended to anybody, to Mani in particular, with regard

   19    to this --

   20    A.    I actually didn't recommend him.        I recommended his

   21    partner, Jeff Chiesa.

   22    Q.    Got it.   Have you had cases other than this one involving

   23    the U.S. Attorney's Office for the District of New Jersey while

   24    you've been -- well, first let's start with DLA.

   25    A.    Yes.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               238

    1    Q.    How about when you were at Chadbourne & Parke?

    2    A.    I don't remember.     I just don't remember.

    3    Q.    Did you interact with that office at all in your

    4    capacity -- in-house capacity at Pfizer?

    5    A.    I don't remember.

    6    Q.    Okay.   I want to just discuss briefly with you the facts

    7    underlying your becoming involved in this matter.           How did that

    8    happen?

    9    A.    Sometime in late April of 2016, I received a call about a

   10    matter for Cognizant involving certain claims.

   11    Q.    I'm sorry.    You said you received a call?

   12    A.    Correct.

   13    Q.    Who did that call come from?

   14               MS. KRAMER:     Your Honor, I'm just going to

   15    preemptively object to the extent that the answer to these

   16    questions relate to anything that's privileged, whoever the

   17    call was from and what was discussed during that call.

   18               THE COURT:     Well, let's take it one at a time.

   19               Are we going to be talking about calls seeking legal

   20    advice?

   21               MR. LUSTBERG:     I was just asking how he -- how he got

   22    involved in the case.      So, no, I won't be asking about legal

   23    advice.   I promise.

   24    BY MR. LUSTBERG:

   25    Q.    Who called you?
                            United States District Court
                                  Newark, New Jersey
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                             Buch-Direct-Lustberg                               239

    1    A.    My partner.

    2    Q.    And which partner was that?

    3    A.    Mike Hynes.

    4    Q.    My question -- I want to understand why -- so why did he

    5    call you?

    6    A.    I don't know.

    7    Q.    There was no discussion of why he decided that you were a

    8    good person to work with on this case?

    9    A.    I don't remember.

   10    Q.    Okay.   Well, let me ask you this:       Was there any

   11    discussion about the fact that this might be a good case for

   12    you to become involved in because it might be in the

   13    U.S. Attorney's Office for the District of New Jersey?

   14    A.    I don't remember that conversation ever occurring.

   15    Q.    So when you say you don't remember, are you saying that

   16    that didn't happen or you just don't remember whether there was

   17    a discussion like that?

   18    A.    I don't think that ever happened.

   19    Q.    Okay.   How about the fact that you had particular

   20    experience with the Foreign Corrupt Practices Act?           I'm not

   21    going to ask about legal advice you gave; I'm just asking

   22    whether that was a reason why you were asked to become involved

   23    in this case.

   24    A.    I don't think so.     I don't remember that anyway.

   25    Q.    Pardon me?
                            United States District Court
                                  Newark, New Jersey
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                                Buch-Direct-Lustberg                            240

    1    A.     I don't remember that discussion.

    2    Q.     Well, you did, in fact, have FCPA experience at that

    3    point, didn't you?

    4    A.     Correct.

    5    Q.     And come to the FCPA experience you had at Pfizer, but did

    6    you have other FCPA experience beyond Pfizer?

    7    A.     Yes.

    8    Q.     What was the other FCPA experience that you had?

    9                  You don't have to talk about specific cases, but had

   10    you had cases at the U.S. Attorney's Office?          Had you had cases

   11    at Chadbourne & Parke?       What was your FCPA experience?

   12    A.     I remember having one matter involving the FCPA while I

   13    was an assistant U.S. attorney.       I certainly had cases

   14    involving the FCPA at Chadbourne & Parke and at Pfizer.

   15    Q.     So had you had any prior FCPA cases at DLA before this

   16    one?

   17    A.     Yes.

   18    Q.     Okay.   Many?    A few?   How many?    Can you quantify that at

   19    all?

   20    A.     So is your question did I have many FCPA cases before --

   21    Q.     Can you estimate --

   22    A.     -- while -- sorry -- while I was at DLA?

   23    Q.     Yes.

   24    A.     No.

   25    Q.     Let's --
                            United States District Court
                                  Newark, New Jersey
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                              Buch-Direct-Lustberg                              241

    1    A.    Or maybe you can define "many."       I certainly had some,

    2    Larry -- Mr. Lustberg.

    3    Q.    That's okay.

    4               So the FCPA -- okay.      So you had a few less than

    5    five? less than ten?      Can you say?    I'm just trying to gauge

    6    why it was that you were brought into this matter.           I'm trying

    7    to really get at that issue.

    8    A.    So I -- so to try to answer that question, I think -- I

    9    was living in Hong Kong at the time, conducting an

   10    international investigation while I was in that office, and

   11    maybe the proximity to the allegations being in India was the

   12    reason why.

   13    Q.    That's helpful.     So at the time of this case you were

   14    living in Hong Kong?

   15    A.    Correct.

   16    Q.    And working in a DLA office there?

   17    A.    Correct.

   18    Q.    How long were you in Hong Kong?

   19    A.    I think approximately a year.

   20    Q.    So I wanted to just talk about -- just briefly about your

   21    FCPA experience at Pfizer.       Just reading from your DLA bio, it

   22    says, "Most immediately, Karl joined DLA Piper from Pfizer,

   23    where he was an assistant general counsel in the government

   24    investigations group.      At Pfizer, Karl's responsibilities

   25    included managing government and regulatory investigations
                           United States District Court
                                 Newark, New Jersey
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                               Buch-Direct-Lustberg                             242

    1    across the company's global operations.         He interacted with

    2    prosecutors' offices in the United States and abroad regarding

    3    a variety of areas of law, among them the Foreign Corrupt

    4    Practices Act and tax and environmental matters."

    5                  Would you view that as an accurate description of

    6    what you did at Pfizer?

    7    A.     Yes.

    8    Q.     Thank you.

    9                  With regard to the specific FCA experience that you

   10    had at Pfizer, am I right that that specific experience was one

   11    in which Pfizer had self-reported to the Department of Justice?

   12    Am I right about that?

   13    A.     So, Mr. Lustberg, you said FCA.       So are you talking about

   14    the False Claims Act?

   15    Q.     I said FCPA.

   16    A.     No, no.   I heard FCA.

   17    Q.     Sorry.    I do FCA stuff; so maybe I got them confused.        I'm

   18    focused completely on the FCPA.

   19    A.     Okay.

   20    Q.     So the Foreign Corrupt Practices Act, not the False Claims

   21    Act.

   22                  So with regard to that False Claims Act, am I right

   23    that your experience --

   24    A.     You just said False Claims Act again.

   25    Q.     So this is really -- I mean, it is entertaining.
                             United States District Court
                                   Newark, New Jersey
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                             Buch-Direct-Lustberg                               243

    1                With regard to the Foreign Corrupt Practices Act, am

    2    I right that your specific experience at Pfizer involved

    3    self-reporting to DOJ?

    4    A.    No.

    5    Q.    Okay.   That's not what happened?

    6    A.    Well, your question was whether that was my experience,

    7    and I think your question was ambiguous.         That's why I answered

    8    no.

    9    Q.    So I'm going to just -- rather than try to direct you in

   10    the right place, tell me why my question was ambiguous on what

   11    occurred with regard to Pfizer -- well --

   12    A.    It wasn't clear to me, Mr. Lustberg, with whether you were

   13    asking about the initial decision to self-report or subsequent,

   14    you know, to that decision.

   15    Q.    I was taking a look at the DOJ's press release with regard

   16    to that self-report, and it was clear that Pfizer had

   17    self-reported, had done a thorough and wide-reaching

   18    self-investigation of the underlying and related conduct.            And

   19    not to be opaque here, I'm reading from the press release.

   20                Talks about the significant cooperation provided by

   21    the company to the department and the SEC and the early and

   22    extensive remedial efforts and the substantial and continuing

   23    improvements Pfizer, Inc., has made to its global

   24    anticorruption compliance procedures.

   25                My question is were those things that you were
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               244

    1    involved in, any of those things, when you were at Pfizer?

    2    A.    Yes.

    3    Q.    Explain what it is that -- what your role was with regard

    4    to Pfizer's self-report.

    5                 MS. KRAMER:    Your Honor, apologies.     Appreciate we're

    6    here to represent Cognizant's interests, but to the extent

    7    Mr. Lustberg is asking Mr. Buch about the substance and scope

    8    of his prior representation of Pfizer, who counsel is not here,

    9    we wanted to object to that basis.

   10                 MR. LUSTBERG:   Respectfully, Judge, I mean,

   11    Ms. Kramer represents Cognizant.         How is she offering an

   12    objection on behalf of Pfizer?

   13                 THE WITNESS:    I still represent Pfizer, and I'm not

   14    comfortable answering that question either.          I would like to

   15    lodge a similar objection.       So...

   16                 THE COURT:    Yes, listen, we have some attorney

   17    witnesses here who can take care of themselves, but we -- let

   18    me make a more global comment, which is we don't need too much

   19    on his background at Pfizer, do we?

   20                 MR. LUSTBERG:   This is the last question I was going

   21    to ask.

   22                 And all I wanted to ask about was what role he played

   23    with regard to the self-reporting.        And I'm not sure I

   24    understand why that's privileged, confidential, or otherwise --

   25    I mean, the fact that he was there was public, the fact that
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                                 245

    1    Pfizer self-reported was public, and I just wanted to know what

    2    his role was.    And I'm not sure I understand what the objection

    3    to that is.

    4               THE COURT:     I think he can generally describe his

    5    role without talking about any advice he gave or anything like

    6    that, just "I was in charge" or "I obeyed orders" or whatever

    7    it was.

    8               MR. LUSTBERG:     That's fine.

    9    BY MR. LUSTBERG:

   10    Q.    So you heard the Court's question.

   11    A.    Can you repeat the question, Larry -- Mr. Lustberg.

   12    Q.    So the question is -- the question I asked was, without

   13    providing any attorney-client privileged information that you

   14    provided while in that capacity, just generally, what was the

   15    role you played with regard to Pfizer's determination to

   16    self-report and the actions they took in self-reporting?

   17    A.    I would have been responsible for directing investigations

   18    which included outside counsel involving potential -- you know,

   19    potential issues under the Foreign Corrupt Practices Act.            I

   20    had --

   21    Q.    Not under the False Claims Act?

   22    A.    Not the False Claims Act.

   23    Q.    Sorry.   Couldn't resist.

   24               THE COURT:     I think that's about as far as you can go

   25    with that one.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               246

    1                MR. LUSTBERG:    I think it's still pretty funny.

    2                THE COURT:    No, I didn't mean that joke; I meant that

    3    issue.

    4    BY MR. LUSTBERG:

    5    Q.    Beginning in the approximately 2017 time period, after the

    6    Yates Memo and after the Foreign Corrupt Practices Act Pilot

    7    Program, it seems that you've written a number of articles with

    8    regard to those two pieces of DOJ guidance; is that right?

    9    A.    Correct.

   10    Q.    I'm just going to point you to a few.        And if you need to

   11    look at them, they're in the binder; but maybe we can save some

   12    time by not doing that.

   13                There was an article dated November 30th, 2017 --

   14    it's Exhibit 50 in your binder if you want to look at it --

   15    entitled "New FCPA enforcement policy presumes declination for

   16    companies that voluntarily disclose, cooperate, and remediate."

   17                Do you see that?

   18                And, by the way, there's also screens and that kind

   19    of thing.

   20    A.    I'm sorry.    I just didn't hear the last bit.

   21    Q.    I just said that if you want to look at -- oh, actually --

   22    okay.

   23    A.    Thank you.

   24                Yeah, I'm familiar with this.

   25    Q.    That was an article that you wrote, right?
                            United States District Court
                                  Newark, New Jersey
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                             Buch-Direct-Lustberg                               247

    1    A.    I was one of the authors on it, correct.

    2    Q.    And the article says that the new policy provides greater

    3    incentives for companies to self-disclose potential FCPA

    4    misconduct and cooperate with federal prosecutors.

    5               And then it goes on to advise companies how to get

    6    those benefits, including with regard to providing information

    7    about high-level corporate individuals.

    8               And my question is what was your purpose in writing

    9    that article?

   10    A.    Providing information about the new policy to people who

   11    were interested in the topic.

   12    Q.    Okay.   Again, just to be clear, so the new policy was

   13    what?

   14               What was the new policy that you were writing about?

   15    A.    This is the -- let's see.

   16               It says new FCPA enforcement policy.

   17    Q.    Am I right that that new FCPA enforcement policy did at

   18    least two things; one is that it made it more possible to get

   19    lenient treatment, up to and including declinations, by virtue

   20    of self-reporting?

   21    A.    I think that's correct.

   22    Q.    And it also focused, as the Yates Memo had -- and you're

   23    familiar with the Yates Memo, right?

   24    A.    A lot of these memos come and go; so I'm generally

   25    familiar with it, yeah.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               248

    1    Q.    And your general familiarity with it teaches that it

    2    encourages individual accountability.         It encourages

    3    corporations to not only cooperate in the way they might have

    4    before but to point the finger at individuals in the corporate

    5    setting; is that fair?

    6    A.    I'd like to see a copy of that.

    7    Q.    Of the Yates Memo?

    8    A.    Yes.

    9    Q.    Oh, sure.

   10    A.    When you say "point the finger at that," can you just sort

   11    of explain to me what you mean by that?

   12    Q.    Sure.   So the Yates Memo is, I believe, exhibit -- it is

   13    Exhibit 47.

   14    A.    Is there a particular piece of this you want me to look

   15    at?

   16    Q.    Sure.   I'm just going to ask the question again.

   17                 The subject of the Yates Memo, Exhibit 47, is

   18    individual accountability for corporate wrongdoing, right?

   19    A.    Correct.

   20    Q.    And what does that mean?

   21    A.    Focusing on the individual actors who are responsible for

   22    the corporate wrongdoing.

   23    Q.    And one of the things that the Yates Memo sets forth is

   24    that if corporations do that -- in fact, corporations have to

   25    do that if they're to qualify for more lenient treatment by
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 250 of 267 PageID: 25352
                             Buch-Direct-Lustberg                               249

    1    DOJ; is that right?

    2    A.    Correct.

    3    Q.    So I was talking about your articles and the question --

    4    let me just continue to talk about a few others of them.

    5               There's an article -- and this is Exhibit 45 in your

    6    binder -- dated July 10th, 2018, entitled "Declinations for

    7    self-reporting on the rise under FCPA Pilot Program and

    8    corporate enforcement policy."

    9               And that makes clear, right, that this great result,

   10    which is a declination -- and just for the record, what's a

   11    declination?

   12    A.    That's a decision by the department not to bring charges

   13    against an individual or corporation.

   14    Q.    And that a declination is more possible -- I'm sorry -- is

   15    more possible than ever with full cooperation.          And your

   16    article advises companies -- and you can take a look at it if

   17    you want and tell me if this is a mischaracterization.            It

   18    advises companies how to effect such cooperation, right?

   19    A.    The document speaks for itself.

   20    Q.    It may, but I'm asking you if you think that's a fair

   21    description of it.

   22    A.    Let me take a look.

   23               I think that's right.

   24    Q.    Thank you.

   25               And you've written some more articles more recently,
                            United States District Court
                                  Newark, New Jersey
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                               Buch-Direct-Lustberg                             250

    1    because there have been some policies this year with the Monaco

    2    Memorandum and with the Southern District of New York guidance

    3    that -- which we don't have to go over, but if you want to look

    4    at them, you can.      They're Exhibits 51 and 52.

    5                But they stick with the themes that voluntary

    6    self-disclosure can really reap enormous benefits for

    7    corporations.    And they instruct companies how to do that,

    8    right?    Or advise -- advise -- you're advising colleagues about

    9    how to realize those benefits; is that fair?

   10    A.    Could you just ask that again.       I'm a little confused by

   11    your question.

   12    Q.    Sure.   Sure.

   13                So I was just looking at your more recent articles.

   14    And those articles also emphasize the benefits to corporations

   15    of self-disclosure and of cooperation with the authorities.

   16    And you provide sort of a primer or advice in those articles

   17    with regard to how companies should go about doing that and

   18    their counsel?

   19    A.    I think we, in the articles, sort of summarize what the

   20    policy is and what the takeaways are.         I don't think it

   21    provides any particular advice.

   22    Q.    Okay.   Let me make sure that's true.

   23                So just, if you would, take a look at Exhibit 51,

   24    page 5.

   25                For the record, page 51 -- I'm sorry -- Exhibit 51,
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               251

    1    DX-51, is an article written by you and others -- and tell me

    2    if I misdescribe this -- that says "DOJ announces policy

    3    changes and enhanced guidance for corporate compliance

    4    programs:     Key takeaways."

    5                That's what you were saying?

    6    A.    Correct.   Correct.

    7    Q.    And if we look at the key takeaways which is on page 5, it

    8    talks about what companies should consider doing, right?

    9    A.    Correct.

   10    Q.    And it talks about revising policies and training

   11    employees and reviewing metrics and holding remedial trainings

   12    and the like, right?

   13    A.    Correct.   That's what the document says.

   14    Q.    Okay.   So with all that background and your expertise in

   15    this area, what do you view as the real advantages to a company

   16    of self-reporting to the authorities when they see an issue?

   17    A.    Well, I think there's the potential benefits that are set

   18    forth in the various documents and memos that you just

   19    described.

   20    Q.    Is that it?

   21    A.    Maybe you could be more specific.

   22    Q.    Sure.   So one of the advantages, right, is that it helps

   23    companies that are facing potential problems get those problems

   24    resolved on what might be the best possible terms; is that

   25    fair?
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               252

    1    A.    When you say "best possible terms," what do you mean by

    2    that?

    3    Q.    If that's incorrect, just tell me.        Aren't there

    4    advantages in terms of a way a case will go that -- if the

    5    company cooperates?

    6    A.    I think there's pros and cons to the decision to

    7    self-disclose.    And the policy sets forth the potential

    8    benefits, including a declination or a reduction in a fine.            So

    9    those are potential benefits of self-reporting.

   10    Q.    Okay.   Thank you.

   11               And isn't it also true that one of the advantages of

   12    self-reporting and of doing an internal investigation is to

   13    essentially engage in the investigative process yourself as

   14    opposed to having FBI agents crawling all over the company

   15    doing an investigation?

   16               Do you view that as an advantage of -- you don't?

   17    A.    I think it's just going to depend on the facts of the

   18    case, the circumstances the company finds itself in.

   19    Q.    But based on your experience, isn't it the case that one

   20    reason why companies tend to self-report, to do their -- let me

   21    stop.   Let me back up.

   22               One of the reasons why companies tend to do their own

   23    internal investigation is so that they can gather the facts,

   24    present them to the government, and hopefully not go through

   25    the difficult process that occurs when the government is doing
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 254 of 267 PageID: 25356
                             Buch-Direct-Lustberg                               253

    1    an investigation.

    2               Do you think that's fair?

    3    A.    Again, I think it's going to depend on the facts and

    4    circumstances the company finds itself in.         And there's a lot

    5    of -- depending on those facts and circumstances, there's lots

    6    of decisions that a company can make about self-disclosure.

    7    Q.    I understand.    But what I'm asking is, is one of the

    8    potential advantages of self-reporting -- and I understand that

    9    sometimes that advantage will be there and sometimes it won't

   10    be.

   11               But one of the advantages of doing an internal

   12    investigation of its own is that the company may avoid a

   13    longer, more intrusive investigation by federal law enforcement

   14    or state law enforcement, for that matter?

   15    A.    My experience, it's a pretty rare event for a company to

   16    self-disclose.    So I'm sort of having trouble with your

   17    question because I just don't understand -- I'm just having

   18    trouble following.     I'm sorry.

   19    Q.    Okay.   I am not going to belabor this, but I want to try

   20    it just one more time.

   21               You've discussed how one of the advantages of

   22    self-disclosure is that there can be a more lenient penalty,

   23    maybe even no penalty at the end of the day; is that fair?

   24    A.    Under the government's policies that we talked about, yes.

   25    Q.    And my question is aren't there other advantages in terms
                           United States District Court
                                 Newark, New Jersey
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                              Buch-Direct-Lustberg                              254

    1    of the company getting to the facts, presenting them in a

    2    certain way, and potentially heading off more intrusive

    3    investigation?

    4    A.    I think where I'm struggling is you're talking about a

    5    situation where a company does an internal investigation and

    6    then decides to self-disclose as opposed to the more typical

    7    case where a company does an internal investigation and decides

    8    not to disclose.

    9    Q.    Fair enough.

   10    A.    So you're limited to the former situation, right?

   11    Q.    Right.

   12    A.    Right.   The answer is yes.

   13    Q.    So when did Cognizant determine to self-report in this

   14    case?

   15    A.    Sometime in August, late August of 2016.

   16    Q.    And was -- let me ask it this way.        I want to check on

   17    this document.

   18               MR. LUSTBERG:     Can you guys tell me is Exhibit 53 on

   19    your list of things that have redactions?

   20               MS. COLLART:     53 of the hearing exhibits is a

   21    different motion.

   22               MR. LUSTBERG:     Sorry.   Exhibit 53 on the list that

   23    you just got, which I can probably tell you what that is to our

   24    motion.   Actually, it was Exhibit 4.

   25    A.    You want me to look at Exhibit 53?
                           United States District Court
                                 Newark, New Jersey
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                              Buch-Direct-Lustberg                              255

    1    BY MR. LUSTBERG:

    2    Q.    Just wait until we iron out this issue.

    3    A.    All right.

    4               MS. KRAMER:     Larry, it's redacted.

    5               MR. LUSTBERG:     Okay.   We'll come back to it because I

    6    just don't want to go there.

    7    BY MR. LUSTBERG:

    8    Q.    So what I've tried to stay away from, potentially

    9    privileged stuff right now, we may revisit it tomorrow when we

   10    finish it up.    And we'll have you out of here for sure because

   11    I know you have a vacation starting at noon.          I promise.

   12               So from the time of the beginning of this -- of your

   13    work with Cognizant, you did a good amount of investigating,

   14    correct?

   15    A.    Correct.   You mean -- just to be clear, investigations in

   16    general, not specific as to this matter?

   17    Q.    So now let's talk about this matter.

   18    A.    Okay.   Because I wasn't sure of your question.

   19    Q.    Fair enough.

   20               With regard to this matter when you first -- I think

   21    you said it was late April that you first became involved?

   22    A.    Correct.

   23    Q.    And did you -- and you had a team that worked with you to

   24    do an internal investigation of the issues that had been

   25    raised?
                            United States District Court
                                  Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 257 of 267 PageID: 25359
                             Buch-Direct-Lustberg                               256

    1               And I'm not asking you what those issues are, but you

    2    had a team?

    3    A.    Uh-huh.

    4    Q.    Tell me how big that team was.       How many people worked

    5    with you on this?     Ballpark.

    6    A.    It was a very small team.      At the beginning it was me and

    7    probably two associates.

    8    Q.    Okay.   And you were still in Hong Kong at that time?

    9    A.    I said correct.     I'm sorry.

   10               MR. LUSTBERG:     Thanks, Rhéa.

   11    BY MR. LUSTBERG:

   12    Q.    According -- let me just see.       When eventually this matter

   13    was self-reported, as of that time, I want to ask you about

   14    some of what had been done.       Is it a fact that, by then, you

   15    had collected documentary and electronic evidence totaling in

   16    excess of 6.59 terabytes of information?

   17    A.    I don't know.

   18    Q.    So you don't know.     Take a look if you would --

   19               MR. LUSTBERG:     Don't publish this, please.

   20    BY MR. LUSTBERG:

   21    Q.    -- DX -- Defendant Exhibit 56.

   22               MR. LUSTBERG:     Can you guys let me know if that

   23    one -- what the status is on that one?

   24    BY MR. LUSTBERG:

   25    Q.    For your -- to assist you here, I'm looking at page 3 of
                           United States District Court
                                 Newark, New Jersey
Case 2:19-cr-00120-MEF Document 500-23 Filed 08/03/23 Page 258 of 267 PageID: 25360
                             Buch-Direct-Lustberg                               257

    1    4.

    2    A.    Page 3?

    3    Q.    Yeah.

    4               MS. KRAMER:     It's redacted.

    5               MR. LUSTBERG:     That section is redacted?

    6               MS. KRAMER:     Which section?

    7               MR. LUSTBERG:     II.D.   It's not?

    8               MS. KRAMER:     No.

    9               MR. LUSTBERG:     Thank you.

   10               So if we could just put up II.D on the screen, just

   11    make sure that's all you have.       Just blow up II.D, please.

   12    Thank you.

   13    BY MR. LUSTBERG:

   14    Q.    So this document is talking points that were prepared for

   15    when you were going to report this to the government; is that

   16    correct?

   17               If you look at the first page.

   18    A.    So these were talking points that were used for a

   19    particular meeting, but your question wasn't clear as to

   20    whether this was the initial report to the government or at

   21    some other point in time.

   22    Q.    Well, what was it?

   23    A.    So this was at some other point in time, I believe in

   24    October of 2016.

   25    Q.    It says, "Draft, August 31st, 2016," on the first page.
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               258

    1    A.    Okay.   So then this is a script for the first call.

    2    Q.    So I just want to -- again, I'm trying to just pin down

    3    what you had done by the time of that first call.

    4    A.    Okay.

    5    Q.    By the time of that first call, you had issued multiple

    6    litigation holds.     Do you know what those were?       What the

    7    litigation holds --

    8    A.    What a litigation hold is?

    9    Q.    Sure.   Start there.

   10    A.    It's a document that's presented to employees or other

   11    custodians to maintain their records and not destroy anything.

   12    Q.    And without saying who got them here, this was -- when you

   13    say you issued multiple litigation holds, you sent it around to

   14    a number of people in the company, that sort of document to

   15    assure that documents were not destroyed on purpose or

   16    inadvertently --

   17    A.    I think the company issued the holds, actually; but

   18    correct.

   19    Q.    And it said, "We have collected documentary electronic

   20    evidence currently totaling in excess of 6.59 terabytes of

   21    information."

   22               Is that a lot?

   23    A.    That's what it says.     I'm not an IT guy; so I don't know

   24    if that's a lot or not, but it sounds like it is.

   25    Q.    And "have interviewed over 25 witnesses in India and the
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               259

    1    United States (including the president, general counsel, and

    2    chief financial officer)," right?

    3    A.    I don't see that.

    4    Q.    So that's the third bullet where -- there's a solid bullet

    5    and then there's three hollow bullets.         And those --

    6    A.    Is that page 2 or 3?

    7    Q.    This is page 3 of 4 under the "What is the current status

    8    of the investigation?"

    9    A.    Okay.   I see that.    It does say that.

   10    Q.    So do you recall when you first contacted the government?

   11    Was it August 31st?     I can show you a document if it would

   12    help.

   13    A.    I think it was either August 31st or September 1st.           That

   14    was the first time we contacted --

   15    Q.    So let's take a look at Exhibit 55.

   16               MR. LUSTBERG:     This one's definitely not privileged.

   17               I'm sorry.     That was 55.    Yes, Exhibit 55.

   18    BY MR. LUSTBERG:

   19    Q.    So this is an email from Jonathan Haray.         Who's Jonathan

   20    Haray?

   21    A.    He was a partner of mine at DLA Piper at the time.

   22    Q.    And he worked on this matter with you?

   23    A.    He did.

   24    Q.    And he emailed somebody name Kara Brockmeyer at the SEC;

   25    is that right?
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               260

    1    A.    Correct.

    2    Q.    First of all, why her?

    3    A.    My recollection is at the time she was either the FCPA

    4    unit chief or some -- in some supervisory role, and she was the

    5    person to whom disclosures were typically made.

    6    Q.    The email starts, "Hi, Kara."       Was she a person that

    7    Mr. Haray knew?

    8    A.    I don't know.

    9    Q.    And why did he go to the SEC first as opposed to DOJ

   10    first?

   11               MS. KRAMER:     Objection, Your Honor.      The answer to

   12    this question possibly calls for privileged information

   13    regarding strategy calls between Mr. Buch and his then-partner.

   14               MR. LUSTBERG:     Your Honor, I don't see how -- I'm not

   15    asking for a particular --

   16               THE COURT:     I'll permit that.     There's a question

   17    after that that could --

   18               MR. LUSTBERG:     I'm not going to ask the question.

   19               THE COURT:     -- that could involve privilege, but that

   20    question doesn't, I don't think.

   21    A.    I don't remember.

   22    BY MR. LUSTBERG:

   23    Q.    So let me ask this question, then.        And take a look at

   24    Exhibit 54.

   25               So this is the next day, September 1st.          Do you see
                           United States District Court
                                 Newark, New Jersey
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                             Buch-Direct-Lustberg                               261

    1    that?

    2    A.    I do.

    3    Q.    And this is -- by the way, both the last exhibit and this

    4    exhibit are ones where you're copied, right?

    5    A.    Correct.

    6    Q.    And this one says -- this is from Jonathan to Daniel Kahn.

    7    Do you know who Daniel Kahn is?

    8    A.    I do.

    9    Q.    Who is he?

   10    A.    He is an attorney who I think at the time was the head of

   11    the FCPA unit for the Department of Justice.

   12    Q.    Okay.   And do you know if Jonathan Haray knew him?

   13    A.    I don't know.

   14    Q.    And do you know why Mr. Kahn was the person that Jonathan

   15    reached out for?

   16    A.    I think, like Ms. Brockmeyer, Mr. Kahn, as the head of the

   17    unit, was typically the person to whom disclosures -- you know,

   18    these initial disclosures were made.

   19    Q.    Okay.   Do you know what was discussed between Mr. Kahn

   20    from the Department of Justice and you and Mr. Haray when you

   21    eventually spoke?

   22    A.    I think we had a discussion about the fact that Cognizant

   23    had identified or hadn't received -- or put it differently.            A

   24    whistleblower had raised concerns about potential improper

   25    payment, and the company wanted to disclose that to the Justice
                            United States District Court
                                  Newark, New Jersey
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    1    Department.

    2    Q.    Do you recall whether you or Mr. Haray -- or anybody else,

    3    for that matter -- mentioned the Yates Memo or the FCPA Pilot

    4    Program on that September 1st call?

    5    A.    I don't remember that, but I know we prepared some talking

    6    points in advance of that which may help refresh my

    7    recollection.

    8    Q.    Well, let's take a look at those.        That's exhibit -- that

    9    is Exhibit 56.    It's the one we looked at earlier.

   10                If I can direct your attention to page 2.         Let me

   11    just check with my colleagues.

   12                MR. LUSTBERG:    The third bullet point on the second

   13    page, is that redacted?

   14                MS. KRAMER:    That's okay, the third bullet point.

   15    There are redactions underneath that.

   16                MR. LUSTBERG:    Yeah.   The fourth bullet point is

   17    redacted?

   18                MS. KRAMER:    Fourth is okay as well.

   19    BY MR. LUSTBERG:

   20    Q.    So I want to just -- if you look at the third and fourth

   21    bullet points on the top of page 2 -- and by tomorrow, we'll

   22    have all this ironed out so I don't have to keep asking

   23    Ms. Kramer for -- and her team.

   24                It says, "The company is not aware of any disclosure

   25    obligations in this or any other jurisdiction relating to the
                           United States District Court
                                 Newark, New Jersey
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    1    facts under review.     This disclosure is voluntary, and we would

    2    ultimately like to be considered for inclusion in the FCPA

    3    Pilot Program."

    4               So just to unpack that a bit, why is it important

    5    that there's no disclosure obligations in this or any other

    6    jurisdiction?    Why is that part of that talking point?

    7    A.    My recollection is that that's a requirement under the

    8    pilot program.

    9    Q.    So I understand, that idea that you are attempting to

   10    be -- get the benefit of the FCPA Pilot Program was something

   11    that the board at Cognizant had already -- had urged you to

   12    request, no?

   13               MS. KRAMER:     Objection, Your Honor.      Calls for

   14    privileged information, discussions between counsel and the

   15    board.

   16               THE COURT:     If the board is telling him to tell DOJ

   17    and the SEC, why is that not --

   18               MS. KRAMER:     To the extent a conversation, Your

   19    Honor, with the board involved legal advice or guidance as to

   20    whether that was a good idea or not, that would be privileged

   21    information.

   22               THE COURT:     Okay.    But I think he was asking just a

   23    yes-or-no question.     Did the board ask you to do that?         And we

   24    can take it that far.

   25               MS. KRAMER:     Okay.
                           United States District Court
                                 Newark, New Jersey
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    1    BY MR. LUSTBERG:

    2    Q.    Just in this very same document, Exhibit 56, page 4, the

    3    second or third bullet point down it says, "On Wednesday

    4    august 31st, the board charged DLA with voluntarily reporting

    5    this matter to the DOJ and SEC along with its stated

    6    intention" --

    7                MS. KRAMER:    Mr. Lustberg, this is redacted.

    8                MR. LUSTBERG:    Okay.   We'll just let the Court look

    9    at it, then.

   10    BY MR. LUSTBERG:

   11    Q.    In response to your call on September 1st that we've been

   12    talking about with DOJ, what was the government's response?

   13    A.    I think they listened to the points that we made, and it

   14    was very -- it was a very minimal response.          I don't remember

   15    exactly what they said, but there wasn't -- nothing sort of

   16    stands out about their response.

   17    Q.    Do you remember whether they asked any questions or made

   18    any requests at that time?

   19    A.    They must have asked some questions.

   20    Q.    Why do you say that?

   21    A.    About the company.     You know, where they were located,

   22    things like that.     But I don't ask -- don't remember them

   23    asking for -- or asking us to do anything, if that was your

   24    question.

   25    Q.    So take a look, if you would, at Defendants' Exhibit 2 and
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    1    in particular at the bottom of that page.         This is an email

    2    dated Thursday, September 8th, from Mr. Haray to DOJ, and

    3    you're copied on it, right?

    4    A.    Uh-huh.

    5    Q.    It says, "Dan, I left you a voice message a moment ago to

    6    follow up on a question you asked us last week.          Is there a

    7    good time to reach you this afternoon?"

    8               Do you recall what that question was?

    9    A.    I don't recall the question being asked, but based on

   10    this, the full email, it appears that there may have been a

   11    request relating to personal email addresses.

   12               MR. LUSTBERG:     Your Honor, it's 5:12 or so.       I'm

   13    about to get into a particular area that I'm not going to be

   14    able to finish up by 5:30.

   15               THE COURT:     If you're starting a new chunk of

   16    material, we might as well break now rather than have to recap

   17    in the morning.

   18               MR. LUSTBERG:     Okay.

   19               THE COURT:     Okay.   We're going to break for the day.

   20    We will start at 9:00 sharp tomorrow, and I'll see you all

   21    there.

   22               Anything we need to take up, take care of?

   23               MR. LUSTBERG:     I don't think so.     We'll work with the

   24    Cognizant lawyers to try to avoid some of that back-and-forth.

   25               THE COURT:     With my prior rulings in mind, I saw some
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    1    areas for concern there.

    2               MR. LUSTBERG:     Yeah.

    3               THE COURT:     I'm sure you'll talk it over.

    4               MR. LUSTBERG:     What we're going to is just substitute

    5    redacted exhibits so that we don't have that problem.

    6               THE COURT:     Sure.   And whatever disputes remain,

    7    we'll deal with.

    8               MR. LUSTBERG:     Thank you, Judge.

    9               THE COURT:     Thank you, everyone.     We're adjourned.

   10               MR. LUSTBERG:     9:00, right?

   11               THE COURT:     9:00.

   12               (Proceedings conclude 5:15 p.m.)

   13            ------------------------------------------------

   14            I certify that the foregoing is a correct transcript

   15    from the record of proceedings in the above-entitled matter.

   16

   17

   18    /S/Rhéa C. Villanti, CCR, CRCR, RMR                   4/18/2023

   19    Court Reporter/Transcriber

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                           United States District Court
                                 Newark, New Jersey
